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                    Appeal No. 20-1058


    IN THE UNITED STATES COURT OF APPEALS
            FOR THE THIRD CIRCUIT


                    JESSICA RAMSAY,

                                              Plaintiff-Appellee,

                                v.

    NATIONAL BOARD OF MEDICAL EXAMINERS,

                                           Defendant-Appellant.



  On Appeal from the United States District Court for the
  Eastern District of Pennsylvania, Case No. 19-CV-2002


                    JOINT APPENDIX
                 VOLUME V: APPX1367‐1683


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                                     MEDICAL EXAMINERS
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                  CERTIFICATE OF SERVICE
   I certify that on March 23, 2020, I electronically filed this
Appendix with the Clerk of Court for the United States

Court of Appeals for the Third Circuit using the CM/ECF

system. I further certify that all participants in the case are
registered CM/ECF users and that service will be

accomplished through the CM/ECF system.


                                         /s/ Robert A. Burgoyne
                                         Robert A. Burgoyne




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                                              Confidential
                                  Confirmation of Test Accommodations
September 11, 2018



Via E-mail to jessica.ramsay@med.wmich.edu
Jessica E. Ramsay
6862 Tall Oaks Dr
Apt 3B
Kalamazoo, MI 49009

RE: USMLE Step 1                               USMLE ID#: 5-366-431-4

Dear Ms. Ramsay:

We have thoroughly reviewed the documentation provided in support of your request for test
accommodations for the United States Medical Licensing Examination (USMLE) Step 1. We conducted
an individualized review of your request in accordance with the guidelines set forth in the amended
Americans with Disabilities Act (ADA).

You report the basis of your request for double testing time, additional break time, and a private testing
room to be Learning Disabilities in Reading and Writing (with abnormal Scanning and Processing
Speed) diagnosed in 2017, Attention-Deficit/Hyperactivity Disorder (ADHD) diagnosed in 2009,
Migraines with aura, without status migrainosus diagnosed in 1997, and Clotting disorder with recent
deep vein thrombosis and Post-thrombotic syndrome diagnosed in 2016. In your personal statement you
write, “During my undergraduate studies at Ohio State University, the demands of school, work and life
finally began outweighing my ability to self-accommodate, requiring more time and energy than I
had…In 2009, at the suggestion of a professor, I sought help from my primary care physician, Dr. Allen
Smiy, who diagnosed me with ADD, inattentive type, for which he began medical management…Once I
started receiving accommodations, I was able to perform better on my exams because I had more time
to read, write, and work through questions…In medical school, I received more accommodations to
meet the increased curricular demands. Most notably, I was granted 100% additional testing time,
unlimited free printing, and Kurzweil 3000 text-to-speech software…In the context of the USMLE Step
exams, without appropriate accommodations, I will not have the opportunity to get through as many
questions or as much content as everyone else taking the tests, and I will not be able to accurately
demonstrate all that I have learned thus far.”

In a June 4, 2018 letter addressed To Whom It May Concern, Bruce Ruekberg, M.D. writes to support
your request for accommodations for Step 1. Dr. Ruekbert writes, “After conferring with Jessica and
reviewing her clinical history, collateral information, and neuropsychology testing, I recommend the
following accommodations to address her needs for USMLE Step 1 exam: 100% additional testing
time…Additional break time…A private, quiet room…In my professional opinion, due to her functional
limitations due to Attention Deficit and Hyperactivity Disorder, Combined Type(DSM-5 314.01; ICD-10
F90.2) and specific learning disorder of ‘abnormal scanning and processing speed’ (ICD-10 F81.9)

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Jessica E. Ramsay                                                              September 11, 2018
USMLE ID#: 5-366-431-4                                                                Page 2 of 3

with impairments in reading (DSM-5 315.00; ICD-10 F81.0) and written expression (DSM-5 315.2;
ICD-10 F81.81), Jessica, without question, is a qualified person with disabilities under the ADA...”

In an October 2017 report of Neurocognitive Consultation and December 2017 report Neurocognitive
Examination conducted when you were a 27-year-old medical student, Alan Lewandowski, Ph.D.
writes, “The patient describes a chronic academic disability without progressive pattern for a number
of years that has compromised her ability for educational success. She describes a history of ADD for
which she was able to self-accommodate for many years, and reports being evaluated for ADD and
dyslexia in 2014 by a therapist (credentials unknown)...As a result, she reports she was provided
accommodations throughout medical school but was denied accommodations for the United States
Medical License Examination (USMLE) Step 1. The patient presents today requesting a more
comprehensive assessment in order to obtain accommodations similar to that which she was allowed
throughout medical school…The patient describes herself as having a ‘unique learning style.’” Dr.
Lewandowski provides his clinical impression of Attention deficit disorder and learning difficulties
affecting ability to pass standardized testing by history and Attention deficit disorder, hyperactive,
moderate (F90.1) and Learning disability, nonverbal (abnormal scanning and processing speed) (F81.9)
by diagnostic testing. Your evaluator’s conclusions notwithstanding, he reports that your performances
on a computerized measure of attention-related problems, the Conners Continuous Performance Test,
Third Edition (CPT-3), are normal. He does not describe how you meet diagnostic criteria for any
Diagnostic and Statistical Manual of Mental Disorders, Fifth Edition (DSM-5) disorder.

The ICD-10 code F81.9 that Dr. Lewandowski assigned as a result of his 2017 evaluation is described
by the publisher as Developmental disorder of scholastic skills, unspecified. However, your evaluator
notes that your reading, spelling and arithmetic are normal to above normal and consistent with past
education. Furthermore, your documentation does not demonstrate a developmental history of impaired
scholastic skills. Dr. Lewandowski writes that you reported earning a high school GPA of 3.8 and an
ACT Score between 27 and 30. The records provided show that you earned an MCAT score of 30M
under standard conditions in 2011, better than 79% of a highly select group of medical school
applicants. These data do not demonstrate a developmental history of impaired cognitive or academic
functioning or that standard testing time is a barrier to your access to the USMLE.

You write, “Because of my clotting disorder and DVT, I must take frequent breaks throughout the day,
and briefly during the exam blocks, to move and walk around in order to maintain adequate circulation
in my legs, reduce swelling and pain, and decrease the risk of forming another DVT as a result of my
clotting disorder…Because my migraines are triggered by excessive fatigue from trying to focus, read,
and process the questions, having frequent breaks with adequate time to recuperate between blocks
reduces the likelihood that I will get a migraine during the exam.

In a May 29, 2018 letter addressed To Who It May Concern, Jennifer N. Houtman, M.D. reports that
additional break time will allow you to relax and refocus between sections, avoid a migraine headache
from prolonged focus, and prevent lower extremity pain, swelling, and development of another blood
clot.

Accommodations are intended to provide access to the USMLE testing program for individuals with a
documented disability as defined by the ADA. A diagnostic label, in and of itself, does not establish
coverage under the ADA, nor does prior receipt of accommodations for a particular activity guarantee
that identical accommodations are indicated or will be available in all future settings and circumstances.
The ADA defines disability as a physical or mental impairment that substantially limits one or more
major life activities compared to most people in the general population.



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Jessica E. Ramsay                                                            September 11, 2018
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Accommodations are provided when there is clear documentation of functional impairment and a
rationale to demonstrate that the requested accommodation is appropriate to the setting and
circumstance. Your documentation does not demonstrate that 100% additional testing time is an
appropriate modification of your USMLE Step 1 administration.

Based on a thorough review of all of your documentation, including documentation of a history of DVT
and migraines, we will provide the following accommodation(s) for the USMLE Step 1 for which you
are currently registered:

x   Additional break time - testing over two days: The exam will be administered over two days.
    Day one will be 5 hours in length and will include a 15 minute tutorial and 7 blocks with
    approximately 20 questions per block. Day two will be 4 hours 45 minutes in length and will
    include 7 blocks with approximately 20 questions per block. You will have up to 30 minutes to
    complete each block. You will receive 75 minutes of break time each day, including lunch. You
    may use break time as needed between blocks. If you complete the tutorial or an examination block
    in less time than allotted, the unused time will be added to your available break time.

x   Separate testing room in which you may stand, walk or stretch during exam

x   Permission to read aloud

You will receive an electronic permit containing the information needed to schedule your exam
appointment. Please call Prometric at the number listed on your scheduling permit as soon as you
receive it to schedule your appointment.

These accommodations may not be changed at the test center on your scheduled exam day. If you
choose not to use these accommodations, please notify Disability Services immediately at
disabilityservices@nbme.org or by calling 215-590-9700 for instructions.


Information About Requesting Test Accommodations For Subsequent Step Examinations

You must notify the USMLE in writing each time you apply for a Step examination for which you
require test accommodations. Information and forms to request test accommodations on subsequent
USMLE administrations are available at www.usmle.org/test-accommodations/forms.html.
Follow the instructions on the request form to submit your request for test accommodations at the same
time you submit your Step exam application to your registration agency.

Sincerely,



Catherine Farmer, Psy.D.
Director, Disability Services
ADA Compliance Officer, Testing Programs

C: Lawrence D. Berger, Esquire to larry@rcglawoffices.com




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                             NEUROPSYCHOLOGICAL EVALUATION
                                        For Learning Problems

NAME:                  Jessica E. Ramsay
AGE:                   28 years, 0 months
SEX:                   Female
DATE OF BIRTH:         8/29/1990
EXAMINATION DATE:      9/25/2018
REPORT DATE:           11/6/2018
EXAMINER:              Robert D. Smith, PhD
LICENSE:               6301003249

Sources of Information:
  Interview with Ms. Ramsay and her mother, Jerri Shold
  TEST OF MEMORY MALINGERING (TOMM)
  ADULT ADHD-Rating Scale-IV with Adult Prompts
  NELSON-DENNY READING TEST
  WECHSLER INDIVIDUAL ACHIEVEMENT TEST-THIRD EDITION (WIAT-III)
  WOODCOCK-JOHNSON IV TESTS OF ACHIEVEMENT (WJ-4) (Selected subtests)
  GRAY ORAL READING TESTS-FIFTH EDITION (GORT-5)
  SYMPTOM CHECKLIST-90-REVISED (SCL-90-R)
  INTEGRATED VISUAL & AUDITORY CONTINUOUS PERFORMANCE TEST (IVA+PLUS)

  Records Reviewed
  The following records were made available at the time of this examination:
  Alan Lewandowski, PhD, FACPN Neurocognitive Consultation (10/25/2017)
  Alan Lewandowski, PhD, FACPN Neurocognitive Examination (12/7/2017)
  Alan Lewandowski, PhD, FACPN Graphs and Raw Data for Neurocognitive Examination (12/7/2017)
  Bruce Ruekberg, MD, letter supporting accommodations application (6/4/2018)
  Genesis Family Health Center summary of medical history and status (5/17/2010)
  The Ohio State University ADD/ADHD Verification Form (8/13/2010)
  Decision letters of Essential Abilities Committee Request for Reasonable Accommodations (2014-2017)
  USMLE Certification of Prior Test Accommodations (6/1/2018)
  Alan Lewandowski, PhD, FACPN ADDENDUM response for additional information requested by USMLE and
  NBME (9/2/2016)




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  David Overton, MD, letter supporting request for accommodations (4/12/2018)
  Personal Statement regarding need for accommodations (6/6/2018)
  NBME letter from Catherine Farmer, PsyD, regarding offered accommodations (9/11/2018)
  MCAT Score Report for exams taken (11/4/2011)
  Charles Livingston, MA, WAIS-IV score report (9/12/2014), report (9/22/2014), Addendum (9/12/2014)
  ACT Score Report (3/2007 & 10/2007)
  USMLE Step 1 Score Report (7/017)
  Review of report cards for grades K, 2, 3, 4, 5, 6
  Review of high school transcript
  Review of undergraduate college transcript
  Review of letters from Dr. Mary Alice Tanguay, Therapeutic Optometrist (1/27/2000 & 12/1997)

Reason for Referral

Ms. Ramsay is currently on academic leave from her fourth year of medical school because she failed her
initial United States Medical Licensing Exam (USMLE) Step 1, which is a requirement for continuing and
completing her medical degree. She has formally been granted accommodations, such as extended time for
tests and testing in a private room, during her undergraduate years at Ohio State University and at the
Western Michigan University Homer Stryker, MD School of Medicine. Ms. Ramsay applied for the same
accommodations from the National Board of Medical Examiners (NBME), which administers the USMLE, but
was denied accommodations. She attempted the USMLE Step 1 without accommodations, but failed. She is
appealing the NBME denial and sought this evaluation as part of her appeal.

History and Interview Information

Ms. Ramsay is currently living with her fiancé with whom she has lived for the past two years. She described
her health as fair. She has several health conditions which are being appropriately medically managed. She
had a deep vein thrombosis (DVT) the full length of her leg in 2016 and was later diagnosed with a clotting
disorder. The DVT damaged the circulation in her legs, and sitting or standing for long periods causes painful
swelling in her legs. Her vision is normal and was screened in August 2014. No hearing problems were
reported and her hearing was evaluated in 2015. Ms. Ramsay was born in Texas. Her family moved to
Michigan when she was 10 years of age. Her father is 57 years old, employed in sales, with a bachelor’s
degree. Her mother is 68 years old and is a retired art educator with a bachelor’s degree in art education and a
master’s degree in education. She has two adopted brothers, ages 24 and 20. There is no history of substance
abuse or severe psychological problems. Ms. Ramsay has had frequent headaches since she was very young,
which her mother described as occurring during and after school as early as kindergarten. Beginning in third
grade, she started having daily migraine headaches with blind spots, nausea, and hypersensitivity to light,
sound and temperature, which was attributable to the mental strain from reading and writing for extended
periods of time. Subsequent treatment over that next year reduced the frequency of migraines, but she has
continued to experience migraine symptoms throughout her academic career.


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Ms. Ramsay's mother had no problems or complications during pregnancy and Ms. Ramsay had no birth
complications when born. There were no problems during her infancy/toddler period. Ms. Ramsay is
ambidextrous, but was originally left handed. Her kindergarten teacher made her use her right hand, which
was common practice at that time. When home she would use her left hand, but gradually switched to
primarily using her right hand for writing tasks. She does many activities with her left hand and frequently
switches back and forth.

For leisure activities Ms. Ramsay socializes with friends and family, plays sports and works out. She enjoys
camping, hiking, art, hunting, archery, soccer, running, volleyball, watching football, dance, yoga, and weight
training.

Ms. Ramsay reported that she tries very hard to succeed at schoolwork. She generally likes herself, though she
indicated she is anxious and worried about her future because of having to suspend medical school. She has
difficulty falling asleep, but sleeps six to eight hours a night. Her appetite is normal. She has several close
friends she can confide in. She is often restless or fidgety and restless. She typically avoids anything that
involves waiting. She often makes careless mistakes. Ms. Ramsay often has difficulty getting organized and
finishing what she starts. She often has difficulty concentrating on one thing for very long. She is often easily
distracted; she tends to forget what she is supposed to do and often loses her personal belongings.

Ms. Ramsay stated that she has marked difficulty sustaining attention, especially for extended periods, is very
easily distracted by sounds, movement, and flashes of light, as well as her own thoughts and sensations. These
distractions make it difficult to complete tasks that require sustained mental effort, such as thinking,
maintaining conversation, remembering obligations and assignments, getting organized, staying on track, and
completing tasks and projects. For example, she reported that when voting in an election she has difficulty
reading and comprehending proposals she is trying to vote on. She often forgets where she put things such as
her wallet, keys, assignments, phone, and legal documents. She also indicated that she is impulsive, has
difficulty waiting, including for her turn in conversations. She unintentionally interrupts others, or blurts out
her thoughts before fully thinking them through or appropriately filtering them for the situation. It is very
difficult for her to focus on one idea at a time and she jumps quickly from one thought to another. She
frequently forgets things she needs to do, forgets instruction, forgets what someone just said to her, and loses
her train of thought when talking.

During exams and when reading, she will get lost in unrelated thoughts and loses track of what the questions
are asking. She often unintentionally completes only part of the question in an exam. Consequently, she tries
to compensate by reading and rereading the question aloud and double checking her answer selections. She
also is very restless when sitting is required and constantly needs to be moving around or doing something.
When expected or required to sit for prolonged periods, she becomes very restless and fidgety, doodles on
papers, picks at her hair or clothes, and messes with objects within reach, which can be disruptive to others
around her and has caused others at school to complain. Not being able to sit still for extended periods
interferes with her ability to study, work on assignments, maintain professional behavior at work, and watch
television to relax at home. Consequently, she typically needs to take frequent breaks from these activities to
walk around and do something else to help manage her restlessness. Having to perform tasks that require

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sustained mental effort often results in migraine headaches and associated blind spots, which affect her ability
to see and read. The headache itself, along with the associated nausea and hypersensitivity to light, sound,
and temperature, exacerbates her difficulty sustaining attention and ability to read, think, process, and answer
questions.

School History
Ms. Ramsay (Jessica) has a history of academic struggle that began from her first days in school and has
consistently required accommodations such as extended time on tests and assignments, altered grading
schemes, frequent breaks, and a private space for testing and completing classwork in order to compensate
for distractibility, impaired attention and concentration, impaired reading comprehension, impaired reading
speed, and hyperactivity.

Jessica’s mother, Jerri Shold, recalled having difficulty learning to read when she was in kindergarten (in 1955)
and early elementary school and was concerned that Jessica may have similar difficulties. The parenting books
Ms. Shold read all recommended beginning sight words early, so Ms. Shold started working with Jessica during
her preschool years up until it was time to start kindergarten. When Ms. Shold applied the sight word
programs at home, Jessica could correctly identify letters if her mother pointed at specific letters within a sight
word. She could repeat the word correctly when first read aloud by her mother, and could use the word
correctly in a sentence. However, when later presented with the same sight words, Jessica could not
recognize the sight words she had been previously exposed to no matter how many times her mother went
through the words with her. Ms. Shold tried all the different methods suggested by these sight word
programs, but the words didn't mean anything to Jessica. When Jessica was about four years old, the pre-
school she was enrolled in (Prince of Peace) did some developmental and IQ testing to assess whether she was
ready to start kindergarten. The evaluation showed that she was intelligent and was mentally ready to start
kindergarten, but noted that when shown simple images she had trouble copying them correctly. It was
concluded that Jessica’s fine motor skills were not at the level of a five year old. Ms. Shold and her preschool
teachers thought her fine motor skills were advanced for her age. Based on the testing, Jessica was put into
kindergarten for half the day, and then went back to preschool for the remainder of the day, five days a week.
Her teachers reported that Jessica still was not really grasping the sight words at that point, though she was
doing fine in everything else.

Ms. Shold recalled that when she had her own difficulty learning to read she was sent home with packets to
help her work on phonics and reading. Ms. Shold believed that this extra help with phonics made a big
difference for her, so she wanted Jessica to have the foundation of phonics so that she would be able to break
words down and sound them out if she didn’t recognize them. None of the public schools in her area used a
phonetic reading program to teach reading. Consequently, Jessica’s mother identified a private school that
used a phonics-based reading program (Sunset Oaks Academy) and transferred Jessica there, where she was
enrolled in fulltime Kindergarten. Ms. Shold believed the phonetic reading program was important for Jessica
to progress and also thought the smaller class sizes would allow Jessica to receive more one-on-one reading,
spelling and writing instruction than Jessica would receive in the public school system.



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Jessica attended the Sunset Oaks Academy and received extensive individual instruction in reading, spelling
and writing through the phonics-based program from Kindergarten through the second grade. Jessica
received informal accommodations of a separate quiet space and extra time to complete tests and
assignments. In third grade she transferred to the Carrollton-Farmers Branch Public School System when the
family moved. Jessica attended the Carrollton-Farmers Branch Public Schools through the fifth grade. Jessica
still struggled with reading, writing, and spelling when compared to her peers and her mother informed her
teachers about her history and what prior teachers had done to help Jessica.

Jessica and her mother, Jerri Shold, also reported that beginning in her earliest school years and continuing
through elementary school and beyond, Jessica had severe problems in the following areas: making many
mistakes in her schoolwork, sustaining attention during tasks or activities, finishing schoolwork and tasks at
home, organizing tasks, disliking or procrastinating on tasks that required sustained mental effort, losing
things needed for task completion, being easily distractible, being forgetful in daily activities, fidgeting, not
staying seated when expected, and not waiting or taking turns. Throughout elementary school, Jessica’s
teachers verbally commented to Ms. Should that Jessica was very bright, but a slow reader who often forgot
to turn in completed assignments.

It has always taken Jessica significantly more time and effort to study and complete assignments than other
students. For example, she recalled that friends would become frustrated with her when she would not join
them for recreational activities because she would typically be working on homework until bedtime (often
past midnight), while her friends completed their homework in the early evening and were free for leisure
activities. Ms. Shold confirmed that this was typical of Jessica’s evenings from early elementary school through
graduation from high school. Her first, second, third and fourth grade teachers noticed that Jessica had
difficulty with reading, spelling and writing, and each teacher provided extra individual but informal remedial
reading, spelling, and writing instruction during those grades.

Jessica’s second grade teacher was concerned enough to recommend that her vision be tested. Jessica was
referred to Dr. Mary Alice A. Tanguay, a therapeutic optometrist, who performed visual-perceptual skills testing
and found significant deficits in Jessica's visual spatial relationships, visual discrimination, and visual memory.
Jessica subsequently received visual perceptual skills training from Dr. Tanguay, though Jessica’s school
functioning did not improve. Ms. Should, who has a master’s degree in education, also worked nightly to
remediate Jessica’s reading, writing and spelling problems throughout elementary school. She regularly
reviewed Jessica’s work in middle and high school, as well as her essays throughout college and for medical
school applications. Jessica’s parents did not pursue an evaluation for her learning problems because her hard
work in the evenings and the informal accommodations she received masked the degree of academic struggle
she experienced.

Jessica managed to get good grades during her elementary, middle and high school years with the aid of these
accommodations, which were provided on an informal basis. While Jessica’s elementary, middle school and
high school records do not reflect the struggle she reported, the early onset and chronic struggle that
necessitated the accommodations, her teachers’ verbal descriptions of Jessica’s difficulty, and her mother’s
remedial efforts were corroborated by her mother.

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Jessica graduated from high school in 2008 with a 3.75 grade point average. Because she did not have any
type of formal diagnosis or accommodations, she did not know about the possibility of accommodations such
as extended time and did not apply for or receive any type of accommodations when she took the ACT
entrance exam for college.

During her freshman undergraduate year at Ohio State University, her compensatory strategies were
overwhelmed by academic demands and her personal life. She experienced pronounced difficulty maintaining
attention during tasks and activities, repeatedly misplaced things, lost track of completed assignments, made
seemingly careless mistakes in her work, often misunderstood test questions and assignment directions and
could not organize her tasks and activities. She spent increasingly more time on her schoolwork trying to
compensate for these difficulties and neglected other important tasks, such as paying bills, cooking, cleaning,
or engaging in leisure, recreational, social activities and sleep.

Jessica subsequently consulted her primary care physician, Dr. Allen Smiy, who diagnosed her with ADHD on
March 24, 2009, and began pharmacological treatment. Jessica applied to the college’s Office of Disability
Services (ODS) and Dr. Smiy completed the Ohio State University ADD/ADHD Verification Form on August 13,
2010, which identified a DSM-IV diagnosis of ADHD, Inattentive Type and stated that Jessica often exhibited
the DSM-IV inattention symptoms of having difficulty sustaining attention in tasks or other activities, having
difficulty organizing tasks and activities, avoiding or disliking tasks that required sustained mental effort, being
easily distracted by extraneous stimuli and being forgetful in daily activities. Jessica was approved by Ohio
State University (OSU) to formally receive the accommodations of priority class scheduling, access to an
assigned Office of Disabilities Services advisor, 50% additional testing time, a distraction reduced testing
space, ear plugs for all quizzes or tests, supportive materials such as scrap paper for notetaking, colored
pencils and highlighters to reword and draw diagrams on test questions for better understanding.

Jessica graduated from Ohio State University in 2012 with a 3.56 grade point average. With these formal
accommodations, Jessica was better able to compensate for her inattention, distractibility, hyperactivity, and
difficulties in reading and writing. However, there were still many tests that required a large amount of
reading and/or writing that Jessica was unable to complete because there was still not adequate time for her
to read all of the questions and/or write sufficient responses, though she understood the material being
tested. In these instances, Jessica reached out to her professors about this continued struggle, and often her
professors provided additional informal accommodations such as altered grading schemes or more time to
complete unattempt portions, to allow Jessica to achieve a grade that better represented her competency.

Jessica did not find out that applying for accommodations for the MCAT was even a possibility until, near the
end of her MCAT prep course through Princeton Review, one of the course instructors mentioned it while
discussing Jessica’s difficulty with reading. Jessica was advised not to apply or take the MCAT with
accommodations unless she was unable to achieve an acceptable score after multiple attempts because her
score report would show that she had received accommodations and that would hurt her chances of getting
offered interviews. Jessica then made an appointment with her advisor at the OSU Office of Disability Services
(ODS) to verify the possibility of receiving accommodations and the affect it would have on her application.
Jessica’s ODS advisor cautioned against taking the MCAT with accommodations for the same reason and also

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explained that, while Jessica had adequate documentation from her initial diagnosis by Dr. Smiy to qualify for
accommodations through OSU, the AAMC would likely require a full neuropsychology evaluation which would
be expensive and was unlikely to be completed in time to apply for accommodations before her scheduled
MCAT exam.

Because Jessica receive advice against receiving appropriate accommodation from multiple informed sources,
she decided to try the MCAT without accommodations. When she took the exam, she relied on strategies
suggested by her Princeton Review instructors in addition to her own established methods to compensate for
her ADHD and difficulties with reading and writing. Like she had done for prior standardized tests, her
Princeton Review instructors suggested that Jessica not read the passages until she had first answered all the
questions she could without reading the passage. Only then with any remaining time, she could go back and
try to answer the passage-dependent questions starting with the shortest passages. Finally, with the last
minute, it was recommended that she randomly fill in answers to any questions she wasn’t able to get to.
Using this strategy, Jessica was able to obtain a good score in the 79th percentile (30M) of students who take
the exam. This, however, was not the exceptional MCAT scores that would have been expected with her
intelligence and understanding of the material. Jessica’s performance on the MCAT component sections
reflected her relative weakness specific to reading tasks with a Verbal Reasoning score at the 67 th percentile, a
Physical Sciences score at the 79th percentile and a Biological Sciences score at the 88th percentile.

Jessica applied to fourteen medical schools the first year after taking the MCAT and was only offered one
interview, but was not accepted. The next year she again applied to twenty-five schools and received only two
interviews. She was placed on a wait list for two schools, one of which, Western Michigan University,
ultimately accepted her. Jessica believes that because she took the MCAT under standard time and with no
accommodations for her ADHD, her modest MCAT score did not reflect how much she knew in the three
component areas of Physical Sciences, Biological Sciences and Verbal Reasoning. If Jessica had been able to
take the MCAT with appropriate accommodations, she likely would have achieved a much higher score that
more accurately represented her intelligence, understanding of the material, and ability to apply the
information.

Once accepted, Jessica requested accommodations from Western Michigan University Homer Stryker MD
School of Medicine because of her ADHD and symptoms of dyslexia when she first began taking classes. She
was referred to Charles Livingston, MA, for an evaluation to support her application for accommodations.
Western Michigan University Homer Stryker MD School of Medicine approved her application and she was
formally granted the accommodations of double exam time and a separate room to minimize distractions for
all standardized NBME CBSE, Shelf exams and other exams written and administered by the school. Jessica
applied for the same accommodations for the USMLE Step 1 exam, administered by the National Board of
Medical Examiners (NBME) in 2016, but was denied accommodations. She attempted the USMLE without any
accommodations and failed. Jessica is currently on academic leave from medical school because she failed her
initial United States Medical Licensing Exam (USMLE) Step 1 exam, which is required to continue her fourth
year rotations and complete her medical degree.



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MENTAL STATUS & OBSERVATIONS: Jessica was neat in appearance and her demeanor was friendly and
cooperative throughout the evaluation. She made good eye contact and her speech was at a normal rate,
expressed in a normal manner and readily understood. Jessica did not have difficulty understanding directions
and in the infrequent instances in which she appeared uncertain, she requested directions to be repeated or
clarified. She persisted answering questions and completing tasks for an appropriate amount of time. Her
answers to this examiner’s questions were clear with appropriate, unguarded elaboration. Her mood and
attitude were normal and her affect was appropriate. Her thought process and content were normal. Jessica
was oriented to person, place, time and date. Jessica made a consistently high level of exertion on all tasks
and the test results and self-report are an accurate measure of her functioning. Jessica did not take any of her
ADHD medication on the day of the testing so that the results would more accurately reflect her functioning
without the mitigating effects of the medications.

                                            ASSESSMENT RESULTS

Symptom Validity

Test of Memory Malingering (TOMM)

The TOMM was administered midway through the exam. Jessica was told that the TOMM measured
important memory skills needed for efficient reading. Jessica’s performance on the TOMM resulted in 50 of
50 items correct on Trial 2 and after a delay of 15 minutes she correctly answered 50 of the 50 items on the
Retention Trial. This pattern of TOMM scores does not reflect suboptimal effort. Her overall pattern of test
scores and behavioral performance reflected strong effort on all tests administered to her.

Intellectual Functioning

The following interpretation is based on the Wechsler Adult Intelligence Scale–Fourth Edition (WAIS-IV) scores
obtained by Alan Lewandowski, PhD, as part of a neuropsychological evaluation conducted on November 9,
2017. The Wechsler Adult Intelligence Scale–Fourth Edition (WAIS-IV) provides a general overview of Jessica’s
overall thinking and reasoning skills, encompassing four broad domains: Verbal, Perceptual, Working
Memory, and Processing Speed. The Verbal Comprehension Index (VCI) provides a measure of how well she
did on tasks that required her to listen to questions and give oral responses to them. The Perceptual
Reasoning Index (PRI) indicates how well she did on tasks that required her to examine and think about
designs, pictures, and puzzles, and to solve problems without using words. Her ability to attend to
information, to hold and process it in memory, and to give a response is measured by the Working Memory
Index (WMI). The last index, Processing Speed Index (PSI), provides information regarding her ability to
process simple visual information quickly and efficiently. When the Index scores are markedly different from
each other, the Full-Scale IQ score is not the best summary of an individual’s performance. Alternate scores or
the separate index scores should be used.

The scores show how well Jessica performed compared to a group of individuals of the same age from across
the United States. An individual may have WAIS-IV scores that fall within a wide range from Extremely Low to

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Very Superior. Most individuals, however, perform within the Average range. A percentile rank is also
reported. This shows where the individual’s scores rank relative to the national comparison group. For
example, if Jessica’s percentile rank (PR) was 45, it would mean that she scored higher than approximately 45
out of 100 individuals her age.

General Intellectual Ability
The Full-Scale IQ (FSIQ) composite score is derived from ten subtest scores and is usually considered the most
representative estimate of global intellectual functioning. Jessica’s FSIQ score is within the high average range
and exceeds those of approximately 87% of individuals her age (FSIQ=117; 95% confidence interval=113-121).
She performed slightly better on nonverbal than on verbal reasoning tasks, but there is no meaningful
difference between Jessica’s ability to reason with and without the use of words. However, her Processing
Speed Index score of 79 is significantly and uncommonly below the Verbal Comprehension Index and the
Perceptual Reasoning Index scores. Consequently, her FSIQ score does not accurately reflect her optimum
intellectual ability. Jessica’s optimum intellectual capacity is most accurately reflected in the General Ability
Index (GAI), which is calculated from the VCI and PRI subtests and does not include the attention-related
Working Memory Index and Processing Speed Index subtest scores. Jessica’s GAI score is significantly higher
than her FSIQ score by a very uncommon margin estimated to occur in only 0.4% of the general population.
Her GAI score of 132 is in the very superior range and is higher than 98% of other adults her age.

Verbal Comprehension
Jessica’s verbal reasoning abilities as measured by the Verbal Comprehension Index (VCI) are in the superior
range and above those of approximately 95% of her peers (VCI=125; 95% confidence interval=118-130). The
VCI is designed to measure verbal reasoning and concept formation. Jessica’s performance on the verbal
subtests contributing to the VCI presents a diverse set of verbal abilities; she performed much better on some
verbal tasks than others. The degree of variability is unusual and may be noticeable to those who know her
well. Examination of Jessica’s performance on individual subtests provides additional information regarding
her specific verbal abilities.

Jessica achieved her best performance among the verbal reasoning tasks on the Information subtest. Her
strong performance on the Information subtest was much better than that of most of her peers. The
Information subtest required Jessica to respond orally to questions about common events, objects, places, and
people. The subtest is primarily a measure of her fund of general knowledge. Performance on this subtest also
may be influenced by cultural experience and quality of education as well as her ability to retrieve information
from long-term memory (Information scaled score=16).

Perceptual Reasoning
Jessica’s nonverbal reasoning abilities as measured by the Perceptual Reasoning Index (PRI) are in the very
superior range and above those of approximately 98% of her peers (PRI=131; 95% confidence interval=123-
136). The PRI is designed to measure fluid reasoning in the perceptual domain with tasks that assess nonverbal
concept formation, visual perception and organization, visual-motor coordination, learning, and the ability to
separate figure and ground in visual stimuli. Jessica performed comparably on the perceptual reasoning


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subtests contributing to the PRI, suggesting that her visual-spatial reasoning and perceptual-organizational
skills are similarly developed.

Working Memory
Jessica’s ability to sustain attention, concentrate, and exert mental control is in the high average range. She
performed better than approximately 77% of her peers in this area (Working Memory Index [WMI]=111; 95%
confidence interval=104-117). Jessica’s abilities to sustain attention, concentrate, and exert mental control
are a weakness relative to her nonverbal reasoning abilities. At her level of ability, a relative weakness in
mental control likely makes the processing of complex information more time consuming for Jessica, draining
her mental energies more quickly as compared to others.

Processing Speed
Processing speed is an indication of the rapidity with which Jessica can mentally process simple or routine
information without making errors. Jessica’s ability in processing simple or routine visual material without
making errors is in the borderline range when compared to her peers. She performed better than
approximately 8% of her peers on the processing speed tasks (Processing Speed Index [PSI]=79; 95%
confidence interval=73-89). Processing visual material quickly is an ability that Jessica performs poorly when
compared to her verbal and nonverbal reasoning ability.

Composite Score Summary
                                                                                           95%
                                 Sum of          Composite             Percentile       Confidence      Qualitative
         Scale                Scaled Scores        Score                 Rank            Interval       Description
Verbal Comprehension               43             VCI 125                 95             118-130       Superior
Perceptual Reasoning               46             PRI 131                 98             123-136       Very Superior
Working Memory                     24            WMI 111                  77             104-117       High Average
Processing Speed                     12            PSI      79             8              73-89         Borderline
Full Scale                           125          FSIQ     117            87             113-121       High Average
General Ability                      89            GAI     132            98             126-136       Very Superior


Index Level Discrepancy Comparisons
                                                                             Critical    Significant
                                                                             Value       Difference     Base Rate
     Comparison               Score 1         Score 2      Difference          .05          Y/N        Ability Level
VCI - PRI                       125             131             -6            8.32            N            34.3
VCI - WMI                       125             111            14             8.81            Y            18.4
VCI - PSI                       125             79             46            10.99            Y             2.7
PRI - WMI                      131             111               20            8.81          Y              9
PRI - PSI                      131             79                52            10.99         Y             1.3
WMI - PSI                      111             79                32            11.38         Y             3.7
FSIQ - GAI                     117             132               -15           3.51          Y             0.4
Base rate by ability level.


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Statistical significance (critical value) at the .05 level.
Verbal Comprehension Subtests Summary
                                Scaled                Percentile
             Subtest            Score                   Rank
 Similarities                     13                     84
 Vocabulary                       14                     91
 Information                      16                     98
 (Comprehension)                  15                     95

Perceptual Reasoning Subtests Summary
                                 Scaled               Percentile
           Subtest               Score                  Rank
 Block Design                      15                    95
 Matrix Reasoning                         16                  98
 Visual Puzzles                           15                  95
 (Figure Weights)                         15                  95
 (Picture Completion)                     14                  91

Working Memory Subtests Summary
                               Scaled                  Percentile
           Subtest             Score                     Rank
Digit Span                       12                       75
Arithmetic                       12                       75

Processing Speed Subtests Summary
                                         Scaled         Percentile
             Subtest                     Score            Rank
 Symbol Search                             7               16
 Coding                                    5                5
 (Cancellation)                            9               37



Sustained Attention

The IVA+Plus CPT (Integrated Visual & Auditory Continuous Performance Test) is a test of attention that
measures responses to 500 intermixed auditory and visual stimuli spaced 1.5 seconds apart. The task is to
click the mouse when the stimulus is an auditory or visual "1" and to refrain from clicking when the stimulus is
an auditory or visual "2." A correct response is defined as exactly one click to a target stimulus. The individual
taking the test must be able to discriminate between 1s and 2s, switch between sensory modalities, and
maintain attention for about thirteen minutes. The targets ("1") occur frequently during some sections of the
test and rarely during other sections, thus testing attention under both high and low demand conditions. The
high demand condition is defined as a "block" of 50 trials when the 1s are frequent. The first two target
presentations are excluded from the measurement of performance under high demand conditions and are
categorized as being part of the previous low demand conditions block. The reason that these first two


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targets are categorized in this way is that they are still pulling for errors of inattention as the test-taker has not
yet made the transition to the mode of rapid clicking that is characteristic of the high demand block.

The quotient scores for all of the IVA+Plus scales are reported as standard scores. Standard scores have a
mean of 100 and a standard deviation of 15. The Wechsler Intelligence tests, which are commonly used in
schools to assess Full Scale, Verbal and Performance IQ, also use standard scores (i.e., Mean=100, SD=15).

In addition to reporting standard scores for the IVA+Plus scales, the narrative report below also provides
percentile rank. A person with a standard score of 100 has a percentile rank of 50, meaning that about half
the people taking the test scored higher on that scale, and about half scored lower. In this narrative report,
percentile rank is given in the format "(PR=50)" immediately following each standard score that is reported.
For example, "John's Auditory Vigilance Score of 80 (PR=9) fell in the mildly impaired range."

Jessica was administered the IVA+Plus twice, approximately one hour apart, as a check on the consistency of
her responses.

1st Administration

                                          VALIDITY OF TEST RESULTS
Jessica demonstrated sufficient understanding of the task for the test results to be considered valid in both
the auditory and visual modalities for the Global, Primary and Attribute scales. The validity of the IVA+Plus
CPT is assessed by determining whether an individual's responses are characteristic of random responding.
The test is considered valid only when the individual's decision to click to targets and inhibit clicking to non-
targets is based on self-directed responses in accordance with the test rules. Statistically, the test results for a
specific sensory modality are considered invalid when the probability of the individual's response pattern
being self-directed in accordance with the test rules is less than 1 in 1000.

                                IVA+Plus DIAGNOSTIC INTERPRETIVE GUIDELINES
A working diagnosis of Attention-Deficit/Hyperactivity Disorder, combined presentation was supported by the
IVA+Plus test data. Jessica’s global Response Control quotient scale score indicated an extreme impairment.
In addition, her global Attention quotient scale score fell in the extremely impaired range. These impairments
on the IVA+Plus test indicate that her pattern of responding is likely to impair her functioning and
performance in the home or work environment.


                       SUMMARY OF TEST RESULTS FOR THE IVA+Plus GLOBAL SCALES
The Full-Scale Response Control Quotient is a global measure of the overall ability for Jessica to regulate her
responses and respond appropriately. Factors that load on this scale include the ability to inhibit responses to
non-targets, the consistency of recognition reaction times and the person's ability to maintain her mental
processing speed during the IVA+Plus test. Jessica's overall global quotient scale score for the Full-Scale
Response Control scale was 44 (PR=1). This score fell in the extremely impaired range. Her Auditory Response
Control quotient scale score was 38 (PR=1). This global scale score fell in the extremely impaired range.

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Jessica's Visual Response Control quotient scale score was 65 (PR=1). This global scale score fell in the
severely impaired range.

The Full-Scale Attention Quotient provides a measure of an individual’s overall ability to make accurate
responses, stay focused and sustain her attention. This global scale's factors include the ability to be attentive
and accurately respond under low demand conditions, remain focused and stay reliably "on task," and, at the
same time, respond quickly when appropriate. Jessica's overall quotient score on the Full-Scale Attention scale
was 50 (PR=1). This global scale score fell in the extremely impaired range. Her Auditory Attention quotient
scale score was 65 (PR=1) and this global scale score fell in the severely impaired range. Jessica’s Visual
Attention quotient scale score was 44 (PR=1). This global scale score was classified as falling in the extremely
impaired range.

The Combined Sustained Attention quotient scale score provides a global measure of a person's ability to
accurately and quickly respond in a reliable manner to stimuli under low demand conditions. In addition, it
includes the ability to sustain attention and be flexible when things change under high demand conditions.
Jessica's global quotient score on the Combined Sustained Attention scale was 58 (PR=1). This score fell in the
extremely impaired range. Her global Auditory Sustained Attention quotient scale score was 65 (PR=1) and it
fell in the severely impaired range. Jessica's global Visual Sustained Attention quotient scale score was 59
(PR=1). This score was found to fall in the extremely impaired range.

2nd Administration

                                           VALIDITY OF TEST RESULTS
Jessica demonstrated sufficient understanding of the task for the test results to be considered valid in both
the auditory and visual modalities for the Global, Primary and Attribute scales.

                                IVA+Plus DIAGNOSTIC INTERPRETIVE GUIDELINES
A working diagnosis of Attention-Deficit/Hyperactivity Disorder, combined presentation was supported by the
IVA+Plus test data. Jessica’s global Response Control quotient scale score indicated an extreme impairment.
In addition, her global Attention quotient scale score fell in the extremely impaired range. These impairments
on the IVA+Plus test indicate that her pattern of responding is likely to impair her functioning and
performance in the home or work environment.

                         SUMMARY OF TEST RESULTS FOR THE IVA+Plus GLOBAL SCALES
The Full-Scale Response Control Quotient is a global measure of the overall ability for this individual to
regulate her responses and respond appropriately. Factors that load on this scale include the ability to inhibit
responses to non-targets, the consistency of recognition reaction times and the person's ability to maintain
her mental processing speed during the IVA+Plus test. Jessica's overall global quotient scale score for the Full-
Scale Response Control scale was 37 (PR=1). This score fell in the extremely impaired range. Her Auditory
Response Control quotient scale score was 48 (PR=1). This global scale score fell in the extremely impaired
range. Jessica's Visual Response Control quotient scale score was 44 (PR=1). This global scale score fell in the
severely impaired range.

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The Full-Scale Attention Quotient provides a measure of an individual’s overall ability to make accurate
responses, stay focused and sustain attention. This global scale's factors include the ability to be attentive and
accurately respond under low demand conditions, remain focused and stay reliably "on task," and, at the
same time, respond quickly when appropriate. Jessica's overall quotient score on the Full-Scale Attention scale
was 58 (PR=1). This global scale score fell in the extremely impaired range. Her Auditory Attention quotient
scale score was 72 (PR=3) and this global scale score fell in the severely impaired range. Jessica’s Visual
Attention quotient scale score was 50 (PR=1). This global scale score was classified as falling in the extremely
impaired range.

The Combined Sustained Attention quotient scale score provides a global measure of a person's ability to
accurately and quickly respond in a reliable manner to stimuli under low demand conditions. In addition, it
includes the ability to sustain attention and be flexible when things change under high demand conditions.
Jessica's global quotient score on the Combined Sustained Attention scale was 58 (PR=1). This score fell in the
extremely impaired range. Her global Auditory Sustained Attention quotient scale score was 73 (PR=4) and it
fell in the severely impaired range. Jessica's global Visual Sustained Attention quotient scale score was 51
(PR=1). This score was found to fall in the extremely impaired range.

Behavioral-Psychological Functioning

During the diagnostic interview, Jessica indicated that she has exhibited nine of the nine criteria associated
with attention-deficit hyperactivity disorder, predominantly inattentive presentation, and eight of the nine
criteria of ADHD, predominantly hyperactive-impulsive presentation. Jessica endorsed the following
symptoms:
• Fails to pay close attention to details or makes careless mistakes
• Has difficulty sustaining attention
• Often does not listen when spoken to directly
• Has trouble following through on instructions and often fails to finish school work, chores or work duties
• Has difficulty organizing tasks and activities
• Avoids tasks that require sustained mental effort
• Loses things needed to finish tasks
• Is easily distracted
• Is forgetful in daily activities
• Often fidgets or squirms in seat
• Has difficulty remaining seated when expected
• Feels very restless most of the time
• Talks excessively
• Has difficulty waiting for her turn
• Interrupts and intrudes on others



Jessica’s mother endorsed eight of the inattentive symptoms and six of the hyperactive/impulsive symptoms,
which corroborated many of the difficulties Jessica described. The ratings provided by Jessica’s fiancé also

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confirms that these symptoms are frequently in evidence. Her fiancé endorsed seven of the inattentive
symptoms and five of the hyperactive-impulsive symptoms.

Symptom Checklist-90-Revised (SCL-90-R)

Overall, Jessica’s SCL-90-R symptom profile is not of a nature or magnitude to be considered in the clinical
range. General symptomatic distress levels are average to low-average for her, suggesting good psychological
integration, and little global psychological distress. Jessica’s report reflects little evidence of psychological
distress associated with somatic symptoms, or psychosomatic problems. Levels of obsessive-compulsive
symptoms are clearly in the clinical range. However, the symptoms she rated as involving significant distress
are all behaviors she described as either difficulty concentrating or behaviors used to compensate for her
ADHD symptoms. The other behaviors from this scale that directly related to obsessive-compulsive symptoms
were rated as involving no distress. Depressive symptoms are somewhat above average in this individual's
record, but do not appear clinically noteworthy. There are several isolated signs or symptoms of anxiety in the
respondent's test protocol. However, they do not appear to represent clinically significant experiences. There
is little or no evidence of paranoid thinking in this respondent's record.

                      SOM    O-C   I-S   DEP    ANX    HOS PHOB     PAR   PSY   GSI   PSDI      PST


Nonpatient T Score:    41     66   50     56     52     40     44   41    44    55    66        49

Raw Score:            0.08   1.50 0.22   0.54   0.30   0.00   0.00 0.00   0.00 0.38 2.13        16

Outpatient T Score:    34     51   35     36     36     32     38   33    30    35    48        32

Inpatient T Score:     35     51   37     37     38     36     37   33    31    37    48        34



Primary Symptom Dimensions
SOM Somatization
O-C Obsessive-Compulsive
I-S Interpersonal Sensitivity
DEP Depression
ANX Anxiety
HOS Hostility
PHOB Phobic Anxiety
PAR Paranoid Ideation
PSY Psychoticism
General Indices
GSI Global Severity Index
PSDI Positive Symptom Distress Index
PST Positive Symptom Total

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Academic Skills

The Wechsler Individual Achievement Test--Third Edition (WIAT-III) is an individually administered instrument
designed to measure academic achievement skills in individuals from age 4 through 50. Descriptive
statements are provided, ranging from Far Below Average to Far Above Average, based on the standard score.
The scores and statements below are primarily based on age-based norms. A percentile rank is also reported
in the table of scores, which shows where the clients score rank compared to a group of clients of the same
age from across the United States. For example, if the percentile rank was 45, it would mean that the
individual scored higher than approximately 45% of individuals her age.

The Total Reading Composite (TRC) is an overall measure of basic reading, fluency and reading
comprehension. It is derived from the Word Reading, Pseudoword Decoding, Reading Comprehension and
Oral Reading Fluency subtests. Jessica’s Total Reading Composite score of 85 is at the bottom of the low
average range and is higher than 16% of individuals her age.

The Basic Reading Composite (BRC) is a measure of applying phonemic knowledge and single word decoding.
It is derived from the Word Reading and Pseudoword Decoding subtests. Jessica's Basic Reading Composite
score of 96 is average and is higher than 39% of other individuals her age. The Word Reading subtest
measures speed and accuracy of single word reading. The individual is asked to read aloud from a list of words
which yields a score for accuracy and a score for speed. Jessica’s Word Reading score of 100 is average and is
higher than 50% of other individuals her age. The Pseudoword Decoding subtest measures speed and
accuracy in applying phonemic knowledge to decode pseudowords. Jessica's Pseudoword Decoding score of
95 is average, which is the percentile rank of 37. The supplemental scores for speed of performing subtests
were also calculated. The Word Reading Speed score is the same as or higher than the scores obtained by
only 2% of individuals in the normative sample. Ninety-eight percent of students in the normative sample
scored higher than Jessica in the Word Reading Speed score. The Pseudoword Decoding Speed score is the
same as or higher than the scores obtained by only 5% of students in the normative sample; 95% of individuals
in the normative sample scored higher than her Pseudoword Decoding Speed score.

 Jessica’s Reading Comprehension and Fluency Composite score of 74 is in the well below average range and is
higher than only 4% of other individuals her age. The Reading Comprehension subtest is untimed and
measures literal and influential reading comprehension skills using paragraph passages in which she was
verbally asked open-ended questions by the examiner and was allowed to verbally give her answers. The
examiner was allowed and asked for elaboration or clarification of her answers as needed. Jessica's Reading
Comprehension score of 94 is in the average and is higher than 34% of other individuals her age. The Oral
Reading Fluency subtest measures oral reading fluency of narrative passages and yields separate scores for
overall oral reading accuracy and component scores for oral reading rate and oral reading fluency. Her overall
Oral Reading Fluency score of 67 is far below average and is higher than 1% of other individuals her age. Her
Oral Reading Rate score of 65 is far below average and is higher than 1% of other individuals her age. Her Oral
Reading Accuracy score of 102 is average and is higher than 55% of other individuals her age.



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The Written Expression Composite (WEC) is a measure of overall writing skills. It is derived from the Spelling,
Sentence Composition, and Essay Composition subtests. The Spelling subtest measures written spelling of
single words from dictation. The Sentence Composition subtest includes sentence combining and sentence
building components, which measure sentence formulation skills including grammar, syntax, semantics and
mechanics. Jessica's Written Expression Composite score of 100 is average and is higher than 50% of other
individuals her age. Her Spelling score of 108 is average and is higher than 70% of other individuals her age.
Jessica's Sentence Composition score of 104 is average and is higher than 61% of other individuals her age.

The Essay Composition subtest measures spontaneous written expression, which involves productivity, theme
development, text organization, grammar and mechanics. The individual listens to instructions about general
content the essay is to contain and then must plan, write and finalize an essay within a ten-minute time limit.
The Essay Composition required Jessica to write an essay about her favorite game and include at least three
reasons for liking it. The Essay Composition score is significantly influenced by the number of words produced,
regardless of spelling, though theme development and organization contribute to the score. A separate
supplemental component, Theme Development and Text Organization, reflects theme development and
organization. Another supplemental subtest, Grammar and Mechanics, reflects grammar, punctuation,
spelling and capitalization. Jessica’s Essay Composition score of 91 is average and is higher than 27% of other
individuals her age. Her Word Count score of 92 is average and higher than 30% of other individuals her age.
Jessica’s Theme & Text Organization score of 94 is average and is higher than 34% of other individuals her age.
Her Grammar & Mechanics score of 91 is average and higher than 27% of other individuals her age.

The Mathematics Composite (MC) is an overall measure of ability to calculate a variety of different math
procedures and apply math procedures in tasks that require math reasoning. It is derived from the Numerical
Operations and the Math Problem Solving subtests. The Numerical Operations subtest measures math skills
under untimed conditions. The Math Problem Solving subtest measures mathematics reasoning in solving
math problems that are read to the individual. Jessica’s Mathematics Composite score of 133 is far above
average and higher than 99% of other individuals her age. Jessica’s Numerical Operations score of 125 is well
above average and is higher than 95% of other individuals her age. Her Math Problem Solving score of 136 is
far above average and is higher than 99% of other individuals her age.




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WIAT-III                                                           Age Based Scores: age at testing 28 years, 0 months


Composite Score Summary
                                         90%
                          Standard    Confidence Percentile          Qualitative
Composite                   Score      Interval    Rank              Description
Total Reading               85          81-89          16           Low Average
Basic Reading               96          92-100         39              Average
Reading Comprehension
                            74          67-81           4        Well Below Average
and Fluency
Written Expression          100         94-106         50              Average
Mathematics                 133        129-137         99        Far Above Average

Subtest Score Summary
                                         90%
                          Standard    Confidence Percentile          Qualitative
Composite                   Score      Interval    Rank              Description
Reading Comprehension       94          84-104         34              Average
Math Problem Solving        136        130-142         99        Far Above Average
Sentence Composition        104         96-112         61              Average
Word Reading                100         94-106         50              Average
Essay Composition           91          82-100         27              Average
Pseudoword Decoding         95          89-101         37              Average
Numerical Operations        125        120-130         95        Well Above Average
Oral Reading Fluency        67          61-73           1        Far Below Average
Spelling                    108        103-113         70              Average



Cumulative Percentages
                                  The score is the same as or higher than the scores obtained by 2% of students in the normative
Word Reading Speed
                                  sample; 98% of students in the normative sample scored higher than this score.
                                  The score is the same as or higher than the scores obtained by 5% of students in the normative
Pseudoword Decoding Speed
                                  sample; 95% of students in the normative sample scored higher than this score.




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Subtest Component Score Summary
                                                Standard     Percentile       Qualitative
Subtest Component                                 Score        Rank           Description
Oral Reading Fluency
Oral Reading Accuracy                             102            55                Average
Oral Reading Rate                                 65             1         Far Below Average
Essay Composition
Grammar and Mechanics                             91             27                Average

Subtest Component Score Summary
                                           Standard        Percentile     Qualitative
Subtest Component                          Score           Rank           Description
Sentence Composition
Sentence Combining                         105             63             Average
Sentence Building                          104             61             Average
Essay Composition
Word Count                                 92              30             Average
Theme Development and
                                           94              34             Average
Text Organization



Differences Between Composite Standard Scores
                                                                                             Critical Value   Significant
                                                                                             (Significance    Difference
Comparison                                                                Difference           Level .05)         Y/N          Base Rate
Total Reading vs. Basic Reading                                              -11                 5.88              Y              <=5%
Total Reading vs. Reading Comprehension and Fluency                          11                  7.93              Y              <=10%
Total Reading vs. Written Expression                                         -15                 6.83              Y               >15%
Total Reading vs. Mathematics                                                -48                 5.70              Y              <=1%
Basic Reading vs. Reading Comprehension and Fluency                          22                  8.06              Y              <=10%
Basic Reading vs. Written Expression                                          -4                 6.98              N              >15%
Basic Reading vs. Mathematics                                                -37                 5.88              Y              <=1%
Reading Comprehension and Fluency vs. Written Expression                     -26                 8.77              Y              <=5%
Reading Comprehension and Fluency vs. Mathematics                            -59                 7.93              Y              <=1%
Written Expression vs. Mathematics                                           -33                 6.83              Y              <=1%
Note. A negative difference indicates that the second composite has a higher score than the first composite listed in the comparison.




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                                           ABILITY-ACHIEVEMENT DISCREPANCY ANALYSIS

Ability Score:    WAIS-IV FSIQ: 117

Predicted Difference Method
                               Predicted      Actual                   Critical    Significant
                                WIAT-III      WIAT-III                 Value       Difference     Base
                                 Score         Score     Difference      .05           Y/N        Rate
WIAT-III Composite
Total Reading                        112         85          27          5.89          Y          <=1%
Basic Reading                        110         96          14          4.83          Y         <=15%
Reading Comprehension and
                                     112         74          38          9.26          Y          <=1%
Fluency
Written Expression                   111        100          11          7.12          Y          >15%
Mathematics                          112        133         -21          5.87          Y*          N/A
Note. Base rates and standard deviation discrepancies are not reported when the actual achievement score equals or
exceeds the predicted achievement score.
*Indicates that the actual achievement score exceeds the predicted achievement score.



                                           ABILITY-ACHIEVEMENT DISCREPANCY ANALYSIS

Ability Score:    WAIS-IV GAI: 132

Predicted Difference Method
                               Predicted      Actual                   Critical    Significant
                                WIAT-III      WIAT-III                 Value       Difference     Base
                                 Score         Score     Difference      .05           Y/N        Rate
WIAT-III Composite
Total Reading                        121         85          36          6.10          Y          <=1%
Basic Reading                        118         96          22          5.01          Y          <=5%
Reading Comprehension and
                                     120         74          46          9.40          Y          <=1%
Fluency
Written Expression                   119        100          19          7.25          Y         <=10%
Mathematics                          120        133         -13          6.05          Y*          N/A
Note. Base rates and standard deviation discrepancies are not reported when the actual achievement score equals or
exceeds the predicted achievement score.
*Indicates that the actual achievement score exceeds the predicted achievement score.




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Woodcock/Johnson IV (WJ-4) Tests of Achievement
The Woodcock/Johnson IV (WJ-4) Tests of Achievement are untimed, with the exception of the fluency tests,
and reflect a person's ability to perform tasks when they are able to use any strategies they have developed to
compensate for any weaknesses they may have in information processing. Descriptive statements are
provided, ranging from far below average to very superior, based on the standard score. Jessica was
compared to other adults her age in the general population.

The Reading Rate Cluster provides a measure of automaticity when reading single words and single sentences.
It is derived from the Sentence Reading Fluency and Word Reading Fluency subtests. The Word Reading
Fluency subtest allows three minutes for the examinee to read rows of four words and mark two words in
each row that are either synonyms, antonyms or members of the same category. The Sentence Reading
Fluency subtest allows three minutes for the examinee to read sentences and mark them as true or false.
Jessica’s Reading Rate Cluster score of 66 is in the Far Below Average range, which is higher than 1% of other
individuals her age. Her Word Reading Fluency score of 58 is in the Far Below Average range, which is higher
than 0.2% of other individuals her age. Her Sentence Reading Fluency score of 78 is in the Well Below Average
range, which is higher than 7% of other individuals her age.

TABLE OF SCORES
Woodcock-Johnson IV Tests of Achievement Form B and Extended (Norms based on age 28-1)
CLUSTER/Test                       GE RPI        Proficiency      SS (95% Band)       SS Classification PR
READING RATE                       3.9 1/90 Extremely Limited        66 (57-75)     Far Below Average 1
 Sentence Reading Fluency          5.2 5/90     Very Limited         78 (67-88)     Well Below Average 7
 Word Reading Fluency              3.0 0/90 Extremely Limited        58 (45-71)     Far Below Average 0.2

GRAY-ORAL READING TESTS-FIFTH EDITION
The Gray-Oral Reading Tests-Fifth Edition (GORT-5) is a comprehensive measure of reading fluency with
separate measures for speed, accuracy, overall fluency of combined speed and accuracy, and comprehension.
Jessica’s performance was compared to a group of individuals aged 19 through 23 years, which is the oldest
group available for comparison. The GORT-5 was administered because it is the most comprehensive and
robust measure available that reflects functioning when oral reading fluency and reading comprehension are
simultaneously required. The GORT-5 passages reflect a broader range of complex reading than other
measures of oral reading fluency such as the WIAT-III Oral Reading Fluency subtest.

The GORT-5 provides separate measurements of speed, accuracy, comprehension, and an overall measure
reflecting the three components combined. The oldest normative age group available for comparison is a
group of 19-year-old to 23 year-11-month-old adults. The GORT-5 scores of Rate, Accuracy, Fluency and
Comprehension were demonstrated to have a strong correlation with age in the normative sample until age
13, with the progression of raw score gains getting smaller with each year of age until plateauing in the ages of
the oldest normative age group.

Jessica’s Rate score of 3 is far below average and is higher than 1% of other individuals in the comparison
group. The Accuracy score reflects the number of decoding errors, omitted words, inserted words and
repetitions. Her Accuracy score of 5 is well below average and is higher than 5% of other individuals in the

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comparison group. The Fluency measure is derived from combining the Rate and Accuracy scores and is a
measure of overall oral reading fluency. Jessica’s Fluency score of 4 is well below average and is higher than
2% of other individuals in the comparison group. She was able to correctly read most of the words, but her
reading was slow. Jessica read in short two-to-four words phrases and her oral reading was very halting with
many repetition of words and self-corrections. The Comprehension measure is derived from open-ended
questions about the content of each passage. Jessica’s Comprehension score of 3 is extremely below average
and is higher than 1% of other individuals in the comparison group. The Oral Reading Index (ORI) is derived
from the Fluency and Comprehension subtests. The ORI is an overall measure of oral automaticity and reading
comprehension. Jessica’s Oral Reading Index score of 65 is extremely below average and is higher than 1% of
other individuals in the comparison group.

Nelson-Denny Reading Test
The Nelson-Denny Form H was administered with the standard time administration to Jessica and includes
three subtests (Vocabulary, Comprehension and Rate). The questions are presented in multiple-choice answer
options. Four scores are calculated: Rate, Vocabulary, Comprehension and Total Reading. The first subtest,
Rate, is calculated from the number of words read silently during the first sixty seconds of the Comprehension
subtest. The Vocabulary subtest has a standard time limit of fifteen minutes and consists of 80 multiple-
choice items, each with five response options. The words were drawn from high school and college textbooks
and vary in difficulty. The second subtest, Comprehension, has a standard time limit of twenty minutes and
requires examinees to read as many of the seven passages as they can (also drawn from high school and
college textbooks) and to respond to as many of the total of 38 multiple-choice questions about the contents
of these passages. The Total Reading score is derived by summing the Vocabulary raw score with the
Comprehension raw score.

Jessica completed Form H and her performance was compared to second semester grade-16 university
students. Jessica's Rate score is far below average, at the 1st percentile rank. She correctly answered 49 of the
52 Vocabulary items (94%) she was able to attempt during the standard time limit. Her Vocabulary score is
below average, at the 11th percentile rank and is a 13.1 grade-equivalent score. She correctly answered 17 of
the 18 Comprehension items (94%) she was able to attempt during the standard time limit. Jessica's
Comprehension score is far below average, at the 2nd percentile rank and is an 8.7 grade-equivalent score. Her
Total Reading score is well below average, at the 4th percentile rank and is a 10.6 grade-equivalent score.

Jessica’s performance was also compared with second semester grade-12 high school students. This
comparison resulted in a Rate score that is far below average, at the 1st percentile rank. Her Vocabulary score
is average, at the 54th percentile rank compared to high school seniors. Jessica's Comprehension score is low
average, at the 18th percentile rank compared to high school seniors. Her Total Reading score is average, at the
33rd percentile rank compared to high school seniors.

The Nelson-Denny was originally normed to allow for the individual's performance to be compared to other
individuals in grades 9 through 16. Additional norms for healthcare professionals were developed in 2001.
These norms were developed from a group of 635 medical students, 269 dental students, 176 physical therapy
students and 42 interns (Haught, P.A., & Walls, R.T. Adult Learners: New Norms on the Nelson-Denny Reading

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Test For Healthcare Professionals. Reading Psychology 2002, 23, 217-238). Jessica’s performance was
compared to this group. Her Rate score is in the Far Below Average range, at the 1st percentile rank. Her
Vocabulary score is in the Far Below Average range, at the 1st percentile rank. Jessica's Comprehension score
is also in the Far Below Average range, at the 1st percentile rank. Her Total Reading score is in the Far Below
Average range, at the 1st percentile rank.

Discussion and Summary

The Test of Memory Malingering (TOMM) measure is a symptom validity measure and was administered to
detect whether Jessica was making suboptimal effort, either consciously or unconsciously. The examinee is
not informed as to the purpose of this measure and in fact was told that it measured an important memory
component underlying reading skill. The absence of indication of suboptimal effort on the TOMM is an
indication that Jessica’s effort was not suboptimal. Her performances on reading and writing tests was also
highly variable, ranging from average to below average. In the context of her request for accommodations
due to a reading impairment, the reading and writing scores that are within the average range are inconsistent
with poor effort from either conscious or unconscious intent. Jessica’s overall demeanor and pattern of test
scores reflect maximum effort on her part and it is concluded that her current test scores are an accurate
measure of her functioning.

The Full-Scale IQ (FSIQ) composite score is derived from ten subtest scores and is usually considered the most
representative estimate of global intellectual functioning. Jessica’s FSIQ score is within the high average range
and exceeds those of approximately 87% of individuals her age (FSIQ=117; 95% confidence interval=113-121).
She performed slightly better on nonverbal than on verbal reasoning tasks, but there is no meaningful
difference between Jessica’s ability to reason with and without the use of words. However, her Processing
Speed Index score of 79 is significantly and uncommonly below the Verbal Comprehension Index and the
Perceptual Reasoning Index scores. Consequently, her FSIQ score does not accurately reflect her optimum
intellectual ability. Jessica’s optimum intellectual capacity is most accurately reflected in the General Ability
Index (GAI), which is calculated from the VCI and PRI subtests and does not include the attention related
Working Memory Index and Processing Speed Index subtest score. Jessica’s GAI score is significantly higher
than her FSIQ score by a very uncommon margin estimated to occur in only 0.4% of the general population.
Jessica’s GAI score of 132 is in the very superior range and is higher than 98% of other adults her age.

Current diagnostic criteria for a diagnosis of a specific learning disorder in the DSM-5 requires that reading,
writing or math scores be substantially below average compared to other individuals Jessica’s age and cause a
significant interference with academic performance. However, the designation of “average” and “below
average” is acknowledged to be arbitrary with no clear cut-off score to indicate what is below average and
causes significant interference with academic performance. A standard score of 78 or less, which is below the
7th percentile, offers the greatest diagnostic certainty. However, scores vary because of test imprecision, and
clinical judgment is allowed. A more lenient threshold of scores of below one standard deviation (standard
score 84 or lower) is applicable when learning difficulties are supported by converging evidence from
assessment, academic history and school reports. While learning difficulties are generally exhibited during the
early school years, they may not become evident until later school years when demands on academic skills

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exceed the individual’s restricted capacities. Some individuals with impaired functioning may obtain average
or better grades that are achieved through extraordinarily high levels of effort and support until the pace of
completing tasks and assessment mechanisms that rely on the impaired skill exceeds the individual’s
compensatory strategies. Consequently, the individual with specific impairments is unable to complete tasks
that rely on the impaired skills or demonstrate what she has actually learned through assessment mechanisms
that rely on these specific skills. A discrepancy between aptitude and academic achievement scores is no
longer a DSM-5 diagnostic criteria indicating a specific learning disorder; however, the presence of substantial
discrepancies between aptitude and achievement skill provide important information reflecting an abnormal
degree of struggle that persists despite compensatory efforts.

Jessica’s Mathematics Composite (MC) score of 133 is in the far above average range and above those of 99%
of other adults her age. Consequently, a specific learning disorder with impairment in mathematics is not
indicated.

The specific learning disorder of developmental dyslexia is a neurologically-based condition that results in an
unexpected difficulty acquiring an understanding of letter-phoneme relationships, acquiring a capacity for
efficiently processing phonological information, or developing rapid, automatic reading fluency (either oral or
silent). A persistent weakness in phonological processing significantly impedes developing accurate word
recognition, automatic, effortless word recognition-fluency and reading comprehension. Reading fluency is
considered to be a complex capacity to read passages rapidly, smoothly, and automatically, with little effort or
conscious attention to the mechanics of reading, which then allows the majority of mental capacity to be
directed to reading comprehension. Dyslexic readers may be able to acquire the capacity to accurately identify
or decode words through remedial efforts, but typically have difficult acquiring automatic oral reading fluency
or rapid silent reading rate. Some dyslexic readers may develop the capacity for rapid oral reading fluency or
rapid silent reading, but typically at the expense of reading comprehension. The dyslexic reader lags behind
the non-dyslexic reader in developing automatic word recognition capacity and must use more of his or her
attention and working memory capacity to the task of identifying words than the non-dyslexic reader, which
interferes with comprehension.

Many dyslexic readers compensate for the limitations in automatic word recognition through over-relying on
the use of the context. The reliance on context results in the reader being hesitant and pausing in order to
infer the identity of words from the surrounding words they can identify. They may make an “educated guess”
when they reach an unknown word or correct a word they realize they have misread because of their
restricted automaticity. They may also misread a word only to read on and realize their mistake from the
context and then reread the phrase or sentence with the correct word (although sometimes a still incorrect
word) inserted. The result of such an overreliance on context is a monotone prosody that is characterized by
short, choppy word groupings, some word-by-word reading, pauses, omissions, added words, rereading or
self-corrections. By contrast, non-dyslexic readers’ phonological skills increase with practice and they become
automatic in their word recognition with little need to rely on the context of the words previously identified.
Automaticity occurs without conscious thought or effort and leaves more cognitive resources available for
attention, comprehension and retention.


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Dyslexic readers may score well on a test of reading comprehension by using context, but they are spending
more of their mental energy to do so than the non-dyslexic reader. The dyslexic reader’s comprehension
capacity is therefore fragile and prone to errors. They may manage to function at seemingly adequate levels
during a relatively brief test of reading, but still have difficulty sustaining such comprehension levels because
of mental fatigue. Therefore, reading performance can be erratic.

Impaired dyslexic readers frequently encounters words in print that are within their vocabulary and that they
have seen before, but remain unfamiliar when presented in print. In place of oral reading fluency that results
from effortless automatic word recognition, the impaired dyslexic reader has to rely on compensatory
strategies such as overreliance on the context of the passage and/or repeatedly reading the same passage to
identify unrecognized words through inference from surrounding words. As a result, the dyslexic reader may
achieve accurate word reading through very slow, careful reading and rereading of passages. Alternatively,
when reading rapidly, uncertainty and impaired oral reading fluency will be revealed through limited voice
inflection (prosody), halting two-to-four word phrases, repetitions, omitted words, added words and
mispronounced words, which often results in inconsistent reading comprehension.

Jessica exhibited a pattern of reading scores typical of the dyslexic reader described above. The previous
evaluation utilized an instrument that did not provide a comprehensive assessment of the component skills
involved in efficient practical reading exhibited by the non-impaired reader, which encompasses most people
in the general population. Jessica’s basic reading skills are within the average range when not limited by time
restrictions as measured by the WIAT-III Basic Reading Composite score of 96, which is higher than 39% of
other adults her age. Jessica’s grasp of basic phonics is in the average range as measured by the WIAT-III
Pseudoword Decoding score of 95 that is higher than 37% of other adults her age. Jessica’s WIAT-III Word
Reading score of 100 is in the average range and she was able to read single words fairly accurately.

The WIAT-III Word Reading and Pseudoword Decoding subtests also have an additional separate component
measure of the speed at which she read the list of words. The examinee is covertly timed on the WIAT-III
Basic Reading subtests. The examinee is instructed to read the lists as well as they can, but the instructions
specifically avoid any mention of speed, or that they are being timed, and no timing device was visible to
Jessica. The efficiency and speed at which she read these pseudowords was slower than 95% of other adults
her age and the efficiency at which she read these real words was slower than 98% of other adults her age.

Jessica’s reading rate and level of oral reading fluency was further assessed through four different measures.
The WIAT-III Oral Reading Fluency subtest and the Gray-Oral Reading Tests-Fifth Edition measure speed and
accuracy of word decoding in passages with conceptually connected content, which allow for observations of
her degree of automatic oral word recognition and decoding. The WJ-4 Reading Rate Cluster and the Nelson-
Denny Reading Test are measures of silent reading fluency, which rely on how many reading comprehension
tasks are correctly completed within a set time limit. Overall, measures of her reading fluency encompassing
reading speed resulted in performances that were well below average and far below average compared to
other individuals her age and grade level. Jessica obtained a WIAT-III Oral Reading Fluency score of 67, which
is in the far below average range and reflects a relative weakness with oral reading fluency. Her GORT-5 oral
reading was very slow and replete with many accuracy errors. Her GORT-5 Rate scaled score of 3 is higher than

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1% of other individuals from a group of individuals age 19 years through 23 years, and her Accuracy scaled
score of 5 is higher than 5% of other individuals from that group. Her Fluency scaled score of 4, which is a
combination of the Rate and Accuracy performance, is in the well below average range and is higher than only
2% of the comparison group.

The WJ-4 Reading Rate Cluster and the Nelson-Denny Reading Test are measures of silent reading fluency that
rely on the number of correct responses to reading comprehension items completed within a time limit. The
WJ-4 Reading Rate Cluster measures reading speed by way of the number of correct responses completed and
is derived from the time-limited Sentence Reading Fluency and time-limited Word Reading Fluency subtests.
Jessica’s Reading Rate Cluster score of 66 is in the Far Below Average range and is higher than 1% of other
adults her age. Jessica was only able to read three of the seven NDRT passages and attempted only 47% of the
38 Comprehension items on the standard-time Comprehension administration. She correctly answered 94%
of the Comprehension items she attempted. A majority of high school seniors were found to be able to read
all seven passages and attempt all 38 Comprehension items. In addition, Jessica’s Nelson-Denny Rate score
was lower than 99% of high school seniors.

Jessica’s reading comprehension was measured both by means that were not influenced by being required to
read quickly or restricted by time limits and by measures that required her to read quickly or were restricted
by time limits. Her reading comprehension performance was in the average range when not impacted by
speed or time limits. Her reading comprehension performance was in the below average range when
impacted by speed or time limits. The WIAT-III Reading Comprehension subtest reflects reading
comprehension under conditions when reading is untimed. She obtained a WIAT-III Reading Comprehension
subtest score of 94 that is in the Average range and is higher than 34% of other individuals her age.

The GORT-5 Comprehension subtest and the Nelson-Denny Reading Test reflects reading comprehension
under conditions when speed is emphasized or time is restricted. On the GORT-5, Jessica was specifically
instructed to read passages out loud “as carefully and as quickly as you can.” The GORT-5 passage was then
removed from sight after she completed the passage and she was asked five open-ended questions about the
content of the passage. Her GORT-5 Comprehension scaled score of 3 is in the far below average range and is
higher than only 1% of the comparison group. The Nelson-Denny Reading Test (NDRT) measured her
performance on a timed test. She correctly answered 94% of the Comprehension items she was able to
attempt during the standard twenty-minute time limit. Jessica's NDRT Comprehension score is near the
bottom of the low average range at the 18th percentile compared to grade-12 students, in the Far Below range
at the 2nd percentile compared to grade-16 university students, and in the Far Below Average range at the 1st
percentile compared to medical and healthcare students.

Jessica’s pattern of reading scores is consistent with the pattern typically exhibited by dyslexic readers who
have developed strategies to compensate for their reading impairment. Jessica’s overall basic reading skills
are in the average range as measured by the WIAT-III Basic Reading Composite score of 96, which reflects
word decoding skills under untimed conditions. She has been able to acquire an average level of reading
comprehension skills when allowed sufficient time to employ compensatory strategies, but exhibits


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persistently impaired reading rate and reading fluency compared to other adults her age, as reflected in WJ-4
Reading Rate Cluster, the GORT-5 Fluency and the Nelson-Denny Rate and Comprehension scores.

Although discrepancies between reading scores and aptitude scores are no longer one of the diagnostic
criteria, such discrepancies reflect the frequency of the degree of unexpected struggle that occurs in the
general population. Jessica’s WIAT-III Total Reading Composite score of 85 is significantly below her
Mathematics Composite score of 133 by a very uncommon margin estimated to occur in less than 1% of other
individuals in the general population, which is a reflection of the difficulty she has experienced specific to
acquiring reading skills. Her WIAT-III Mathematics Composite score of 133 is commensurate with an expected
score of 120 predicted by her GAI score. However, all of her WIAT-III reading composite scores are
significantly below expectation whether the expectation is measured with the FSIQ or the GAI score. Jessica is
expected to have a WIAT-III Reading Comprehension and Fluency Composite score of 112 predicted from her
FSIQ score but her actual Reading Comprehension and Fluency Composite score is 74. This is a very
uncommon discrepancy of 38 points estimated to occur in 1% or less of other adults. Similar very uncommon
discrepancy margins can be seen between her predicted scores and her actual WIAT-III Basic Reading
Composite and Reading Comprehension-Fluency Composites with even larger discrepancies based on her GAI
score. Jessica’s history and pattern of reading scores indicate and warrant a diagnosis of Specific Learning
Disorder with impairment in reading that involves reading rate, reading fluency and reading comprehension.
Her impairment in reading is exacerbated by the effects of ADHD. The severity of her impairment in reading is
severe.

Double the usual time for any timed test is recommended because of Jessica’s very slow reading speed and
difficulty comprehending the content of passages. The letter of September 11, 2018, from Dr. Farmer denying
extended time stated that the 2017 evaluation by Dr. Lewandowski reported that “your reading, spelling and
arithmetic are normal to above normal.”          However, the only test of her reading skills used by Dr.
Lewandowski was the Wide Range Achievement Test-4th Edition (WRAT-4), which does not measure reading
speed, reading fluency or the impact of these on comprehension. The WRAT-4 is considered to be an
insufficient instrument as the primary assessment of reading, writing, or math skills. The USMLE Guidelines
for Testing Accommodations specifically states, “The Nelson-Denny Reading Test (NDRT) and Wide Range
Achievement Test (WRAT) are not comprehensive diagnostic measures of achievement and therefore neither
is considered acceptable if used as the sole measure of reading ability or academic skills.”

Dr. Farmer also stated that “documentation does not demonstrate a developmental history of impaired
scholastic skills.” Although not formally identified in her academic records, the records she provided this
examiner reflect specific statements by her (and referred to in Dr. Lewandowski’s report) about the difficulty
she experienced from her earliest elementary years in acquiring reading and writing skills. Dr. Farmer cited
her high school grade point average as proof that she did not reflect developmental history of impaired
academic functioning when in fact she stated that she achieved her high grades because of the inordinate
amount of time she had to devote to school work when compared to other students, as well as the informal
accommodations she received. Dr. Farmer further cited her scores on the ACT and MCAT as proof that her
academic functioning was not impaired. The ACT and MCAT are not comprehensive diagnostic measures of
reading or other academic skills any more than the WRAT is, and the scores she managed to attain are as

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much a reflection of the compensatory effects of her superior intellect rather than an absence of reading
impairment. While her scores on the ACT and the MCAT were good, she may have scored significantly higher
if she had taken these tests with accommodations of a separate room and extended time. Consequently, the
ACT and MCAT scores do not provide an indication of the negative impact of her reading disability.

It is noteworthy that recent students with her MCAT score, while good at the 79th percentile combined with
her college GPA, only had an acceptance rate of 38% according to the Association of American Medical
Colleges. Dr. Farmer also stated in reference to Dr. Lewandowski’s evaluation that “Your evaluator’s
conclusions not withstanding, he reports that her performances on a computerized measure of attention-
related problems, the Conners Continuous Performance Test Third Edition (CPT-3) are normal.” However,
according to a leading ADHD researcher and specialist, “… a sizable minority of adults with ADHD can perform
these tests sufficiently well to make for an unacceptable level of false negatives for these tests.”1 The DSM-5
specifically states that, “Inattentive behavior is associated with various underlying cognitive problems on tests
of attention, executive function, or memory, although these tests are not sufficiently sensitive or specific to
serve as diagnostic indices.” Consequently, neuropsychological tests including continuous performance tests,
can provide supplementary evidence for ADHD, but seemingly normal performance cannot be used to rule out
the condition.

Jessica’s writing skills are in the middle of the average range compared to other adults her age as measured by
the WIAT-III Written Expression Composite score of 100, which is as high or higher than 50% of other adults
her age. The subtests and component scores are also within the average range for her age. Consequently, a
specific learning disorder with impairment in written expression is not indicated. However, Jessica’s WIAT-III
Written Expression Composite score of 100 is significantly below an expected score of 119 predicted by her
GAI score of 132 and by an uncommon margin estimated to occur in 10% or less of the general population.
This pattern represents a significant relative weakness performing writing tasks, which is presumed to be a
consequence of her reading disorder and the ADHD. Jessica can be expected to be relatively slow at organizing
and expressing her thoughts in writing at a level commensurate with her intelligence, which is reflected in the
distinct weakness she exhibited with general processing speed as measured by the WAIS-IV. Consequently,
additional time is needed on writing tasks in order to perform at a level commensurate with her intelligence.

Jessica Ramsay is a 28-year-old, single female medical student with superior intelligence who has a long
history of inattention, distractibility and hyperactivity that have significantly interfered with academic
functioning since early childhood. Jessica has been able to perform well academically, but has had to rely on
extraordinary compensatory strategies in order to do so. Jessica’s academic and behavioral history reflect
DSM-5 diagnostic criteria indicating ADHD, Combined Presentation.

Jessica reported often experiencing 17 of the 18 DSM-5 criteria symptoms associated with ADHD that have
persisted for at least the past six months with most having been present since her earliest years in school. The
persistently frequent manifestation of these symptoms was corroborated by her mother and her fiancé. On a
1
 Barkley, R., Murphy, K., Fischer, M. (2008). ADHD IN ADULTS: What The Science Says (p. 433). New York, NY: The Guilford
Press.


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systematic rating score of the frequency of occurrence of the DSM-5 ADHD symptoms, Jessica endorsed 17
(her mother, 14 and fiancé, 11) of the 18 criteria that are associated with a diagnosis of ADHD. Only 5
inattention or 5 hyperactive-impulsive symptoms are required to be frequently and persistently present over
the previous six months. The ADHD symptoms described or endorsed by Jessica, her mother and fiancé are
prominently exhibited at school, at her home and with her interpersonal relationships. These symptoms were
reported by Jessica and corroborated by her mother to have interfered with and reduced the quality of her
academic functioning and her daily adaptive functioning since her earliest school years.

The available school records do not clearly reflect academic struggles in elementary, middle or high school,
but this is a result of the family obtaining help on an informal basis, which was very successful in preventing
poor academic grades, and therefore masked the degree of struggle Jessica experienced during these years.
In addition, the specificity of Jessica’s descriptions, which are corroborated by her mother, attest to the
presence of such struggle. Although Jessica has worked hard at compensating for her deficits, her symptoms
have continued to significantly interfere with her life. Results of the IVA+Plus, a computerized test of
sustained attention and distractibility, reflect a severe impairment compared to other adults her age. In
addition, her WAIS-IV Processing Speed Index score at only the 8th percentile for her age reflects a weak
cognitive efficiency highly associated with ADHD. Jessica’s symptoms are not better explained by any other
psychiatric or medical condition. Her medical exams with her physician do not indicate a physical disorder or
disease other than ADHD and a Specific Learning Disorder with impaired reading that would account for her
ADHD symptoms or academic difficulties. Jessica’s mental status and the magnitude of her psychological
symptoms do not indicate a psychological condition severe enough to account for her ADHD symptoms or her
academic difficulty. Jessica has also experienced longstanding feelings of discouragement, frustration, and
anxiety which are best understood to be a direct secondary consequence of her underlying ADHD symptoms.
Consequently, a diagnosis of ADHD, Combined Presentation is warranted in addition to a Specific Learning
Disorder with impairment in reading.



Diagnosis: DSM-5 criteria synchronized with ICD-10-CM numerical coding

   1. Specific Learning Disorder with impairment in reading (developmental dyslexia): reading
      comprehension, severely impaired reading rate and fluent word recognition, 315.00 (F81.0)

   2. Attention-Deficit/Hyperactivity Disorder Combined Presentation 314.01 (F90.2)




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Recommendations:

  1. Jessica’s pattern of reading and writing scores is typical of the intelligent dyslexic reader who struggles
     with efficient decoding and processing of the printed words, but can use her intelligence to
     substantially compensate and extract seemingly adequate comprehension from passages. However,
     the intelligent dyslexic reader’s reading comprehension is fragile and susceptible to abrupt lapses and
     failure that interferes with academic achievement commensurate with her intelligence. Jessica’s level
     of reading impairment is severe and can be expected to significantly and substantially interfere with
     educational efforts without accommodations such as extended time. Her impaired reading skills
     significantly interfered with her performance on the Nelson-Denny Reading Test because of the
     standard time limit. Jessica correctly answered most of the items she attempted on Nelson-Denny
     Reading Test, but she indicated this required her to reread passages multiple times in order to gain
     adequate comprehension. Consequently, her percentile rank scores were severely limited because of
     the time constraints. Jessica correctly completed 94% of the Comprehension items she attempted, but
     was only able to attempt 47% of the Nelson-Denny Comprehension items during the standard time
     limit.

     Consequently, it is recommended that Jessica receive at least double the standard time allowed for
     tests and exams. Any classroom test or standardized test administered without the accommodation of
     extended time (double) will not be an accurate and valid measure of Jessica’s knowledge in a given
     area. Likewise, Jessica's weakness in writing can be expected to significantly and substantially interfere
     with educational and assessment efforts without accommodations such as extended time. Any tests
     administered without extended time (at least double) should be regarded a significant and substantial
     under-representation of Jessica’s actual abilities and knowledge, which impairs her access to the exam.
     Therefore, it is also recommended that at a minimum she be allowed extended time (double the
     standard time) for any classroom tests, standardized tests and classroom assignments.

  2. At least 100% additional test time (double time) is also recommended because of her inattention,
     distractibility, and slow information processing. This should be used in conjunction with a private, quiet
     room and additional break time to address basic needs and to adequately manage ADHD symptoms
     and her medical disorders. Any test administered without these accommodations will not be an
     accurate measure of what she knows about the subject being assessed.

  3. The use of a computer, computer word-processing software with spell-check, and extended time is
     recommended for any classroom tests or standardized tests that involves writing. The extended time
     is also necessary to adequately utilize any assistive technology for reading and writing.

  4. Reading material should also be provided to Jessica in audio recorded format. An online certification
     has been completed to allow her to apply for a Learning Ally (learningally.org) membership.



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   5. Tutorial support and assistance from the college academic support services for her reading and writing
      problems is recommended as needed to help Jessica function at a level commensurate with her
      intellectual abilities.

   6. Remedial reading instruction following the Orton-Gillingham approach may be beneficial for her
      dyslexia and is recommended for consideration. This is available through MDI. However, this is a slow
      process and unlikely to benefit her while she is in medical school. Also, improvement of reading
      fluency is uncertain and it is unknown what benefit, if any, she may obtain from such instruction.

   7. Continue treatment through her physician for ADHD with medications such as Concerta, Adderall,
      Intuniv, Strattera, Vyvanse, Wellbutrin or Provigil.




Robert D. Smith, PhD
Licensed Psychologist
Neuropsychologist




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                                                                    DEFENDANT’S
                                                                      EXHIBIT

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                                                    December 12, 2018


           Catherine Farmer, Psy.D.
           Director, Disability Services
           National Board of Medical Examiners
           3750 Market Street                                                                                                         RECEiVEI)
           Philadelphia, PA 19104-3102
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           Re:      Appeal of Jessica Ramsay
                                                                                                                               Disability Services
                    USMLE Step 1
                    USMLE ID#: 5-366-431-4


           Dear Dr. Farmer:

                  I represent Jessica Ramsay and I am submitting this letter and additional enclosures on
           her behalf to request that the National Board of Medical Examiners ("NBME") reconsider your
           September 11, 2018 letter ("NBME Letter"), to the extent you denied Ms. Ramsay's request for
           extended testing time.

                  In the NBME letter, you granted Ms. Ramsay's request for additional break time, and a
          separate testing room, and also granted permission to read aloud. However, you denied the
          request for additional test time (double time), and we request reconsideration of this decision, for
          the reasons stated in this letter.

                 The request for reconsideration is based on an additional evaluation by Robert D. Smith,
          Ph.D. ("Smith Report"), which is enclosed and which further supports the diagnoses of Specific
          Leaming Disorder with impairment in reading, and Attention-Deficit/ Hyperactivity Disorder.




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                                 Summar of Dr. Smith's Re ort.

            Ms. Ramsay obtained an additional evaluation by Dr. Smith to address NBME's stated
    reasons for denying her request for extended testing time. Dr. Smith evaluated Ms. Ramsay's
    disabilities face-to-face. He interviewed Ms. Ramsay and her mother concerning her history. He
    reviewed the results of previous testing, and obtained additional testing. Based on all of this
    information, he arrived at a diagnosis of Specific Leaming Disorder with impairment in reading,
    and Attention-Deficit/ Hyperactivity Disorder Combined Presentation. In his report, Dr. Smith
    reviews the DSM-5 diagnostic criteria for these disorders, based on both the history and test
    results. He also addresses each of the reasons stated in the NBME Letter for denying
    Ms. Ramsay's request. Dr. Smith's report supports Ms. Ramsay's request for the
    accommodation of extended test time (double time).

           Some examples of the additional testing obtained by Dr. Smith, all of which are reported
    according to age-based norms except as noted, include the following:

             •      Ms. Ramsay's WIAT-IIl 1 word reading speed score is at the 2d percentile. (Smith
                    Report at p. 16.)

             •      Ms. Ramsay's WIAT-III pseudoword decoding speed score is at the 5th percentile
                    (Id)

)            •      Ms. Ramsay's WIAT-III reading comprehension and fluency composite score is
                    at the 4th percentile. (Id.)

             •      Ms. Ramsay's WIAT-III oral reading fluency score is at the 1st percentile. (Id)

             •      Ms. Ramsay's WIAT-III oral reading rate score is also at the 1st percentile. (Id.)

             •      Ms. Ramsay's WJ-4 2 reading rate cluster score is at the 1st percentile. (Smith
                    Report at p. 21.)

            •       Ms. Ramsay's WJ-4 word reading fluency score is at the 0.2 percentile. (Id.)

            •       Ms. Ramsay's WJ-4 sentence reading fluency score is at the 7th percentile. (Id.)




       1   Wechsler Individual Achievement Test, 3d edition.
       2   Woodcock-Johnson IV Tests of Achievement.




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          •     Ms. Ramsay's GORT-5 3 rate score is at the 1st percentile. (Smith Report, p. 21.)

          •     Ms. Ramsay's GORT-5 accuracy score is at the 5th percentile. (Id.)

          •     Ms. Ramsay's GORT-5 fluency score is at the 2d percentile. (Id. at 22.)

          •     Ms. Ramsay's GORT-5 comprehension score is at the 1st percentile. (Id.)

          •     Ms. Ramsay's GORT-5 oral reading index score is at the 1st percentile. (Id.)

          •     Ms. Ramsay's NDRT 4 Rate score is at the 1st percentile (Smith Report at p. 22.)

          •    Ms. Ramsay's NDRT Vocabulary score is at the 11th percentile (Id.)

          •    Ms. Ramsay's NDRT comprehension score is at the 2d percentile. (Id.)

          •     Ms. Ramsay's NDRT total reading score is at the 4th percentile. (Id.)

          •    The NDRT has also developed norms for healthcare professionals, and when
               analyzed on the basis of these norms, her rate score, vocabulary score,
               comprehension score and total reading score are all at the 1st percentile. (Smith
               Report at pp. 22-23.)

        The results of these tests support Dr. Smith's diagnosis of Specific Learning Disorder
with impairment in reading, and Attention Deficit/ Hyperactivity Disorder, Combined
Presentation, and the diagnostic criteria are discussed in Dr. Smith's report at pages 26-28, and
28-29, respectively.




     3 Gray-Oral Reading Tests, 5th edition, "the most comprehensive and robust measure
available that reflects functioning when oral reading fluency and reading comprehension are
simultaneously required." Smith Report at p. 21. As Dr. Smith explains, for the GORT-5, "The
oldest normative age group available for comparison is a group of 19-year-old to 23 year-11-
month-old adults. The GORT-5 scores of Rate, Accuracy, Fluency and Comprehension were
demonstrated to have a strong correlation with age in the normative sample until age 13, with the
progression of raw score gains getting smaller with each year of age until plateauing in the ages
of the oldest normative age group." Smith Report at p. 21. Therefore, the use of the 19-year old
to 23 year-11 month-old group is appropriate in this case.
     4 Nelson-Denny Reading Test, Form H. See Smith Report at p. 22. The NDRT is normed

based on school and university grades, and Ms. Ramsay's scores are compared to university
grade 16 (i.e. , college seniors), the closest available. As discussed below, Ms. Ramsay's scores
are also compared to the NDRT scores for healthcare professionals. Both of these comparisons
are appropriate. The comparisons are also congruent with the age-based comparisons for other
instruments.




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                   NBME Should Reconsider Its Prior Decision And Grant
                   The Extended Testin Time Re uested B Ms. Ramsa .

              1.     Dr. Smith's Face-to-Face Evaluation.

           Dr. Smith's face-to-face evaluation of Ms. Ramsay is entitled to preferential
    consideration. As the Department of Justice has stated in the publication "Testing
    Accommodations": 5

                     Reports from qualified professionals who have evaluated the candidate
                     should take precedence over reports from testing entity reviewers who
                     have never conducted the requisite assessment of the candidate for
                     diagnosis and treatment. This is especially important for individuals with
                     learning disabilities because face-toface interaction is a critical
                     component of an accurate evaluation, diagnosis, and determination of
                     appropriate testing accommodations.

    Testing Accommodations at 7 (italics added). See also Bartlett v. New York State Board ofLaw
    Examiners, 2001 U.S Dist. LEXIS 11926 (S.D.N.Y. 2001) at *68 ("learning disabilities cannot be
    captured by psychometric measures alone and ... clinical observations are essential to a
    diagnosis of learning disabilities") (italics added).

)            Thus, Dr. Smith's face-to-face evaluation should be given precedence.

             2.     Dr. Smith Has Addressed Each of NBME's Stated Reasons
                    For Den in Ms. Ramsa 's Re uest for Additional Testin Time.

          In his report, Dr. Smith has addressed each ofNBME's stated reasons for denying
    Ms. Ramsay's request for additional testing time:

             •      Referring to the prior evaluation by Dr. Lewandowski, you stated, "He does not
                    describe how [Ms. Ramsay] meet[ s] diagnostic criteria for any Diagnostic and
                    Statistical Manual of Mental Disorders, Fifth Edition (DSM-5) disorder."

    (NBME Letter at 2.) Dr. Smith does discuss the diagnostic criteria for both Specific Learning
    Disorder and Attention Deficit/ Hyperactivity Disorder in his report at pages 26-28, and 28-29,
    respectively. Dr. Smith states that Ms. Ramsay "exhibited a pattern of reading scores typical of
    the dyslexic reader described" in his report. Smith Report at 25. "Overall, measures of her
    reading fluency encompassing reading speed resulted in performances that were well below
    average and far below average compared to other individuals her age and grade level." Id.at 25.
    With respect to Attention Deficit/ Hyperactivity Disorder Combined Presentation, Dr. Smith's
    interviews with Ms. Ramsay, her mother and her fiance all confirmed the diagnostic criteria



        5   Found on the Internet at http://www.ada.gov/regs2014/testing accommodations.pdf




                                                Appx1467                                          NBME00038
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    specified in DSM-5. Smith Report at 14-15 and 29. In addition, "Results of the IVA+Plus, 6 a
    computerized test of sustained attention and distractibility, reflect a severe impairment compared
    to other adults her age. In adclition, her WAIS-IV 7 Processing Speed Index score at only the 8th
    percentile for her age reflects a weak cognitive efficiency highly associated with ADHD.
    Jessica's symptoms are not better explained by any other psychiatric or medical condition."
    Smith Report at 29.

             •     Referring again to Dr. Lewandowski's evaluation, you stated, "The ICD-10 code
                   F81.9 that Dr. Lewandowski assigned as a result of his 2017 evaluation is
                   described by the publisher as Developmental disorder of scholastic skills,
                   unspecified. However, your evaluator notes that your reading, spelling and
                   arithmetic are normal to above normal and consistent with past education."

    (NBME Letter, id.) Dr. Smith's report shows -to the contrary-that Ms. Ramsay's evaluation
    results are far below normal on numerous measures that are highly relevant to her ability to
    access the Step 1 examination (as well as subsequent Step examinations) including, for example,
    reading speed, decoding speed, reading fluency, and timed reading comprehension. See Smith
    Report at pp. 16, 21 and 22 and discussion above. Dr. Smith further explained:

                   Jessica's pattern ofreading scores is consistent with the pattern typically
                   exhibited by dyslexic readers who have developed strategies to
                   compensate for their reading impairment. Jessica's overall basic reading
)                  skills are in the average range as measured by the WIAT-III Basic
                   Reading Composite score of 96, which reflects word decoding skills under
                   untimed conditions. She has been able to acquire an average level of
                   reading comprehension skills when allowed sufficient time to employ
                   compensatory strategies, but exhibits persistently impaired reading rate
                   and reading fluency compared to other adults her age, as reflected in WJ-
                   4 Reading Rate Cluster, the GORT-5 Fluency and the Nelson-Denny Rate
                   and Comprehension scores.

    Smith Report at 26-27 (italics added) .

             •     Referring again to Dr. Lewandowski's evaluation, you stated, "Your evaluator's
                   conclusions notwithstanding, he reports that your performances on a
                   computerized measure of attention-related problems, the Conners Continuous
                   Performance Test, Third Edition (CPT-3), are normal."




        6Integrated Visual & Auditory Continuous Performance Test, discussed in Dr. Smith's
    Report at pp. 12-16 and 29.
         7 Wechsler Adult Intelligence Scale -Fourth Edition, discussed in Dr. Smith's Report at

    pp. 8-11 and 29.




                                              Appx1468                                           NBME00039
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(NBME Letter at 2.) Dr. Smith has responded in his Report at p. 28, explaining that tests like the
Conners frequently yield false negatives and cannot be used to rule out ADHD. As Dr. Smith
states:

               However, according to a leading ADHD researcher and specialist, " ... a
               sizable minority of adults with ADHD can perform these tests sufficiently
                                                 '                                         8
               well to make for an unacceptable level offalse negatives for these tests."
               The DSM-5 specifically states that, "Inattentive behavior is associated
               with various underlying cognitive problems on tests of attention, executive
               function, or memory, although these tests are not sufficiently sensitive or
               specific to serve as diagnostic indices." Consequently, neuropsychological
               tests including continuous performance tests, can provide supplementary
               evidence for ADHD, but seemingly normal performance [on tests like the
               Conners] cannot be used to rule out the condition."

Smith Report at p. 28 (italics added).

         •     Finally, you state: "Furthermore, your documentation does not demonstrate a
               developmental history of impaired scholastic skills. Dr. Lewandowski writes that
               you reported earning a high school GPA of 3.8 and an ACT Score between 27 and
               30. The records provided show that you earned an MCAT score of 30M under
               standard conditions in 2011, better than 79% of a highly select group of medical
               school applicants. These data do not demonstrate a developmental history of
               impaired cognitive or academic functioning or that standard testing time is a
               barrier to your access to the USMLE."

(NBME Letter at 2.) Dr. Smith has provided information in his report based on his interviews
with Ms. Ramsay and her mother, which does demonstrate such a history, and which supports his
conclusion that the standard testing time for the Step 1 examination is a barrier for Ms. Ramsay.

         Specifically, Dr. Smith reports that Ms. Ramsay experienced "17 of the 18 DSM-5
criteria symptoms associated with ADHD that have persisted for at least the past six months with
most having been present since her earliest years in school. The persistently frequent
manifestation of these symptoms was corroborated by her mother and her fiance." Smith Report
at 28. Dr. Smith continues:

               These symptoms were reported by Jessica and corroborated by her mother
               to have interfered with and reduced the quality of her academic
               functioning and her daily adaptive functioning since her earliest school
               years.




   [Smith Report at 28 n.1 :] Barkley, R., Murphy, K., Fischer, M. (2008). ADHD IN
    8

ADULTS: What The Science Says (p. 433). New York, NY: The Guilford Press




                                          Appx1469                                             NBME00040
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               The available school records do not clearly reflect academic struggles in
               elementary, middle or high school, but this is a result of the family
               obtaining help on an informal basis, which was very successful in
               preventing poor academic grades, and therefore masked the degree of
               struggle Jessica experienced during these years. In addition, the specificity
               of Jessica's descriptions, which are corroborated by her mother, attest to
               the presence of such struggle. Although Jessica has worked hard at
               compensating for her deficits, her symptoms have continued to
               significantly interfere with her life. Results of the IVA+Plus, a
               computerized test of sustained attention and distractibility, reflect a severe
               impairment compared to other adults her age. In addition, her WAIS-IV
               Processing Speed Index score at only the 8th percentile for her age reflects
               a weak cognitive efficiency highly associated with ADHD. Jessica's
               symptoms are not better explained by any other psychiatric or medical
               condition.

Id. at 29.

       Ms. Ramsay's prior academic success - less than would be predicted by her IQ- is not
inconsistent with the existence of a significant disability which now interferes with her accessing
exams like the Step 1 exam. Ms. Ramsay's Personal Statement, and the history taken by
Dr. Smith demonstrate that Ms. Ramsay was able to self-accommodate her disability prior to
medical school. Dr. Smith reports that Ms. Ramsay stated:

               that she achieved her high grades because of the inordinate amount of time
               she had to devote to school work when compared to other students, as well
               as the informal accommodations she received. Dr. Farmer further cited her
               scores on the ACT and MCAT as proof that her academic functioning was
               not impaired. The ACT and MCAT are not comprehensive diagnostic
               measures of reading or other academic skills any more than the WRAT is,
               and the scores she managed to attain are as much a reflection of the
               compensatory effects of her superior intellect rather than an absence of
               reading impairment. While her scores on the ACT and the MCAT were
               good, she may have scored significantly higher if she had taken these tests
               with accommodations of a separate room and extended time.
               Consequently, the ACT and MCAT scores do not provide an indication of
               the negative impact of her reading disability.

Smith Report at pp. 27-28.




                                           Appx1470                                             NBME00041
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      Moreover, under the Americans with Disabilities Act Amendments Act of2009
("ADAAA), P.L. 110-325, NBME is required to disregard the effect of such self-
accommodations.9 See also pages 10-11, below.

        In short: Ms. Ramsay has a disability which directly impacts her performance on
USMLE Step 1. Her Personal Statement, as well as Dr. Smith's report, confirm that in medical
school - unlike grade school, high school and college - she can no longer self-accommodate or
avoid the effects of her disability. Therefore, the ADA and the ADAAA require that NBME
provide her with the requested accommodation of extended testing time, in addition to the
accommodations that have been granted.

        3.     A History Of Passing Prior Examinations Without
               Accommodations Does Not Demonstrate That Accommodations
               Are Not Required Now.

        An additional reason to reconsider your conclusion, that extended testing time is not
required because of Ms. Ramsay's prior academic record, is stated in the decision of Judge, now
Justice, Sotomayor, in Bartlett v. New York State Board of Law Examiners, supra. Judge
Sotomayor stated that a decision about accommodations "must look at how [the student]
achieved these results." Id. at * 123. In Bartlett, for example, the Court observed:

               [P]laintiff's scores, without the accompanying clinical observations about
               how plaintiff went about achieving the scores, tell nothing about how
               plaintiff achieved those results, including whether she reads with
               automaticity, whether she reads slowly, and whether reading causes her
               fatigue.

Bartlett, supra, at *124. As Judge Sotomayor also remarked: "While many of these [self-
accommodating or mitigating] measures increase[d] plaintiffs decoding accuracy, they do so at
the cost of speed and cognitive energy." Id. at* 114.

      The ways in which plaintiff Bartlett self-accommodated were similar to the ways that
Ms. Ramsay self-accommodated prior to medical school. Like Ms. Bartlett, she avoided reading
as much as possible as she stated in her Personal Statement:

               Because reading and writing are such tedious and draining processes for
               me, I avoid both as much as possible. I was able to do this strategically
               for some prior standardized tests like the ACT and MCAT because the

    9 "The determination of whether an impairment substantially limits a major life activity shall
be made without regard to the ameliorative effects of mitigating measures such as-
                                                ****
    (IV) learned behavioral or adaptive neurological modifications."
42 U.S.C. §12102(4)(E)(i)(IV).




                                          Appx1471                                          NBME00042
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                tests were designed so that many of the questions could be answered
                without reading the whole question. For the ACT, I was not able to read
                all of the questions and could not accurately demonstrate my knowledge.
                Additionally, due to the guessing penalty, I had to leave the questions I
                was not able to read unanswered. However, because most of the questions
                required little reading to find the answers, I was able to answer enough
                questions to achieve an acceptable score. Likewise, for the MCAT, many of
                the questions could be answered without reading and gathering
                information.from the passages, so I knew to answer passage-independent
                questions first, and then used any time left to try to read the passages with
                the most unanswered questions remaining. Being able to skip much of the
                reading made it possible for me to correctly answer enough questions to
                achieve an acceptable score.

Personal Statement at 3 (italics added). But the USMLE is different, as Ms. Ramsay also stated,
and this self-mitigation strategy of avoiding reading is not possible:

                The NBME and USMLE exams are different from the standardized exams
                I took before medical school. For these exams [i.e., USMLE], I must read
                the entire prompt for each of the questions in order to gather all of the
                information necessary to correctly decide on an answer. This requires far
                more reading than either the ACT or the MCAT did. To have the same
                opportunity as the other students taking this exam to read and gather the
                necessary information from each prompt, I need the accommodations that
                I am requesting.

Id. (italics added).

        Ms. Ramsay has also utilized reading aloud as a self-accommodation, which NBME has
now specifically permitted by granting her the accommodations of a private testing room and
permission to read aloud. Reading aloud is a technique which inherently requires more time, and
therefore is an additional reason to grant Ms. Ramsay's request for additional time.

     As the Department of Justice, Civil Rights Division, has stated in its publication "Testing
Accommodations," supra:

                A person with a history of academic success may still be a person with
                a disability who is entitled to testing accommodations under the ADA.
                A history of academic success does not mean that a person does not have a
                disability that requires testing accommodations. For example, someone
                with a learning disability may achieve a high level of academic success,
                but may nevertheless be substantially limited in one or more of the major
                life activities of reading, writing, speaking, or learning, because of the
                additional time or effort he or she must spend to read, write, speak, or
                learn compared to most people in the general population.




                                           Appx1472                                             NBME00043
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                                                       ****
                    First Time Requests or Informal Classroom Testing Accommodations.
                    An absence of previous formal testing accommodations does not
                    preclude a candidate from receiving testing accommodations.
                    Candidates who are individuals with disabilities and have never previously
                    received testing accommodations may also be entitled to receive them for
                    a current standardized exam or high-stakes test. In the absence of
                    documentation of prior testing accommodations, testing entities should
                    consider the entirety of a candidate's history, including informal testing
                    accommodations, to determine whether that history indicates a current
                    need for testing accommodations.

     "Testing Accommodations," supra, at 3 and 6-7 (boldface in original).

             4.     NBME Failed To Give Any Consideration Or Weight To The
                    Accommodations Ms. Ramsay Received In College And Medical
                    School.

            Ms. Ramsay has received accommodations, both in college (at Ohio State University)
     and in medical school, as reflected in her original NBME application. Ms. Ramsay is requesting
     the same accommodations from NBME that she previously requested and received from her
     medical school, including for the Comprehensive Basic Science Examination and NBME-
 )   prepared shelf examinations. The Department of Justice guidance states that a candidate should
     generally receive the same accommodations as on prior standardized examinations:

                    If a candidate [who] requests the same testing accommodations he or she
                    previously received on a similar standardized exam or high-stakes test,
                    provides proof of having received the previous testing accommodations,
                    and certifies his or her current need for the testing accommodations due to
                    disability, then a testing entity should generally grant the same testing
                    accommodations for the current standardized exam or high-stakes test
                    without requesting further documentation from the candidate.

     "Testing Accommodations," supra, at 5 (italics added). Indeed, NBME is required to "give[]
     considerable weight to documentation of past modifications, accommodations, or auxiliary aids
     or services received in similar testing situations .... " 28 CFR §36.309(b)(l)(v) (italics added).

            NBME gave no weight at all to the accommodations received by Ms. Ramsay, and this is
     contrary to the Department of Justice guidance cited above.




_)




                                                Appx1473                                          NBME00044
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           5.      NBME Is Required To Disregard Mitigating Strategies Which
                   Allowed Ms. Ramsay To Pass Examinations Prior To Medical
                   School, And Mitigating Strategies That Are Not Effective For
                   The USMLE Step Exams.

            The ADA Amendments Act ("ADAAA"), and its implementing regulations, specifically
    provide that the "determination of whether an impairment substantially limits a major life
    activity shall be made without regard to the ameliorative effects of mitigating measures," such as
    "medication" and "learned behavioral or adaptive neurological modifications." ADAAA, 42
    U.S.C. §12102(4)(E)(i) (superseding Sutton v. United Air Lines, Inc., 527 U.S. 471 (1999)).
    Ms. Ramsay's prior academic success was achieved through use of such mitigating measures,
    and is therefore irrelevant.

                                              Conclusion

            For the reasons stated in this letter, in Dr. Smith's report, and Ms. Ramsay's original
    request, I request that NBME grant Ms. Ramsay's appeal, and provide her with the additional
    accommodation of extended test time (double time) which she has requested.




)
                                              c:~,/
                                                 Lawrence D. Berger



    Enclosed Exhibits:

    (A)    Neuropsychological Evaluation Report of Robert D. Smith, Ph.D. dated December 6,
           2018
    (B)    Robert D. Smith, Ph.D., curriculum vitae




                                              Appx1474                                          NBME00045
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                                                              NEUROPSYCHOLOGICAL EVALUATION
                                                                         For Learning Problems

NAME:                                          Jessica E. Ramsay
AGE:                                           28 yea rs, 0 months
SEX:                                           Female
DATE OF BIRTH:                                8/29/1990
EXAMINATION DATE :                            9/25/2018
REPORT DATE:                                  11/6/2018
EXAMINER:                                     Robert D. Smith, PhD
LICENSE:                                      6301003249

Sources of Information:
  Interview with Ms. Ramsay and her mother, Jerri Shold
  TEST OF MEMORY MALINGERING (TOMM}
  ADULT ADHD-Rating Scale-IV with Adult Prompts
   NELSON-DENNY READING TEST
   WECHSLER INDIVIDUAL ACHIEVEMENT TEST-THIRD EDITION (WIAT-11I}
   WOODCOCK-JOHNSON IV TESTS OF ACHIEVEMENT (WJ-4} (Selected subtests}
   GRAY ORAL READING TESTS-FIFTH EDITION (GORT-5}
   SYMPTOM CHECKLIST-90-REVISED (SCL-90-R}
   INTEGRATED VISUAL & AUDITORY CONTINUOUS PERFORMANCE TEST (IVA+PLUS}

    Records Reviewed
    The following records were made available at the time of this examination:
    Alan Lewandowski, PhD, FACPN Neurocognitive Consultation (10/25/2017}
    Alan Lewandowski, PhD, FACPN Neurocognitive Examination (12/7/2017}
    Alan Lewandowski, PhD, FACPN Graphs and Raw Data for Neurocognitive Examination (12/7/2017}
    Bruce Ruekberg, MD, letter supporting accommodations application (6/4/2018}
    Genesis Family Health Center summary of medical history and status (5/17/2010}
    The Ohio State University ADD/ADHD Verification Form (8/13/2010}
    Decision letters of Essential Abilities Committee Request for Reasonable Accommodations (2014-2017}
    USM LE Certification of Prior Test Accommodations (6/1/2018}
    Alan Lewandowski, PhD, FACPN ADDENDUM response for additional information requested by USM LE and
    NBME (9/2/2016}




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                                                                               Appx1475                                                                                                NBME00046
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                                                                                              page 2 of 31-Jessica E. Ramsay




       David Overton, MD, letter supporting request for accommodations (4/12/2018)
       Personal Statement regarding need for accommodations (6/6/2018)
       NBME letter from Catherine Farmer, PsyD, regarding offered accommodations (9/11/2018)
       MCAT Score Report for exams taken (11/4/2011)
       Charles Livingston, MA, WAIS-IV score report (9/12/2014), report (9/22/2014), Addendum (9/12/2014)
       ACT Score Report (3/2007 & 10/2007)
       USM LE Step 1 Score Report (7 /017)
       Review of report cards for grades K, 2, 3, 4, 5, 6
       Review of high school transcript
       Review of undergraduate college transcript
       Review of letters from Dr. Mary Alice Tanguay, Therapeutic Optometrist (1/27/2000 & 12/1997)


    Reason for Referral

    Ms. Ramsay is currently on academic leave from her fourth year of medical school because she failed her
    initial United States Medical Licensing Exam (USMLE) Step 1, which is a requirement for continuing and
    completing her medical degree. She has formally been granted accommodations, such as extended time for
    tests and testing in a private room, during her undergraduate years at Ohio State University and at the
    Western Michigan University Homer Stryker, MD School of Medicine. Ms. Ramsay applied for the same
1   accommodations from the National Board of Medical Examiners (NBME), which administers the USMLE, but
     vas denied accomm odations. She attempted the USMLE Step 1 with out accommodations, but failed. She is
    appealing the NBME denial and sought this evaluation as part of her appea l._

    History and Interview Information

    Ms. Ramsay is currently living with her fiance with whom she has lived for the past two years. She described
    her health as fair. She has several health conditions which are being appropriately medically managed. She
    had a deep vein thrombosis (DVT) the full length of her leg in 2016 and was later diagnosed with a clotting
    disorder. The DVT damaged the circulation in her legs, and sitting or standing for long periods causes painful
    swelling in her legs. Her vision is normal and was screened in August 2014. No hearing problems were
    reported and her hearing was evaluated in 2015. Ms. Ramsay was born in Texas. Her family moved to
    Michigan when she was 10 years of age. Her father is 57 years old, employed in sales, with a bachelor' s
    degree. Her mother is 68 years old and is a retired art educator with a bachelor's degree in art education and a
    master's degree in education. She has two adopted brothers, ages 24 and 20. There is no history of substance
    abuse or severe psychological problems. Ms. Ramsay has had frequent headaches since she was very young,
    which her mother described as occurring during and after school as early as kindergarten. Beginning in third
    grade, she started having daily migraine headaches with blind spots, nausea, and hypersensitivity to light,
    sound and temperature, which was attributable to the mental strain from reading and writing for extended
    periods of time. Subsequent treatment over that next year reduced the frequency of migraines, but she has
    continued to experience migraine symptoms throughout her academic career.




                                                       Appx1476                                             NBME00047
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                                                                                             page 3 of 31- Jessica E. Ramsay




r)s. Ramsay's mother had no problems or complications during pregnancy and Ms. Ramsay had no birth
  complications when born. There were no problems during her infancy/toddler period. Ms. Ramsay is
  ambidextrous, but was originally left handed. Her kindergarten teacher made her use her right hand, which
  was common practice at that time. When home she would use her left hand, but gradually switched to
  primarily using her right hand for writing tasks. She does many activities with her left hand and frequently
  switches back and forth.

  For leisure activities Ms. Ramsay socializes with friends and family, plays sports and works out. She enjoys
  camping, hiking, art, hunting, archery, soccer, running, volleyball, watching football, dance, yoga, and weight
  training.

  Ms. Ramsay reported that she tries very hard to succeed at schoolwork. She generally likes herself, though she
  indicated she is anxious and worried about her future because of having to suspend medical school. She has
  difficulty falling asleep, but sleeps six to eight hours a night. Her appetite is normal. She has several close
  friends she can confide in. She is often restless or fidgety and restless. She typically avoids anything that
  involves waiting. She often makes careless mistakes. Ms. Ramsay often has difficulty getting organized and
  finishing what she starts. She often has difficulty concentrating on one thing for very long. She is often easily
  distracted; she tends to forget what she is supposed to do and often loses her personal belongings.

   Ms. Ramsay stated that she has marked difficulty sustaining attention, especially for extended periods, is very
 , easily distracted by sounds, movement, and flashes of light, as well as her own thoughts and sensations. These
   \jistractions make it difficult to complete tasks that require sustained mental effo rt, such as thin king,
   fnai nta ining conversation, remem bering obligations and assignments, getting organized, staying on track, and
   completing tasks and projects. For example, she reported that when voting in an election she has difficulty
   reading and comprehending proposals she is trying to vote on. She often forgets where she put things such as
   her wallet, keys, assignments, phone, and legal documents. She also indicated that she is impulsive, has
   difficulty waiting, including for her turn in conversations. She unintentionally interrupts others, or blurts out
   her thoughts before fully thinking them through or appropriately filtering them for the situation. It is very
   difficult for her to focus on one idea at a time and she jumps quickly from one thought to another. She
   frequently forgets things she needs to do, forgets instruction, forgets what someone just said to her, and loses
   her train of thought when talking.

  During exams and when reading, she will get lost in unrelated thoughts and loses track of what the questions
  are asking. She often unintentionally completes only part of the question in an exam. Consequently, she tries
  to compensate by reading and rereading the question aloud and double checking her answer selections. She
  also is very restless when sitting is required and constantly needs to be moving around or doing something.
  When expected or required to sit for prolonged periods, she becomes very restless and fidgety, doodles on
  papers, picks at her hair or clothes, and messes with objects within reach, which can be disruptive to others
  around her and has caused others at school to complain . Not being able to sit still for extended periods
  interferes with her ability to study, work on assignments, maintain professional behavior at work, and watch
  television to relax at home. Consequently, she typically needs to take frequent breaks from these activities to
  walk around and do something else to help manage her restlessness. Having to perform tasks that require




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lustained mental effort often results in migraine headaches and associated blind spots, which affect her ability
   to see and read. The headache itself, along with the associated nausea and hypersensitivity to light, sound,
   and temperature, exacerbates her difficulty sustaining attention and ability to read, think, process, and answer
   questions.

   School History
   Ms. Ramsay (Jessica) has a history of academic struggle that began from her first days in school and has
   consistently required accommodations such as extended time on tests and assignments, altered grading
   schemes, frequent breaks, and a private space for testing and completing classwork in order to compensate
   for distractibility, impaired attention and concentration, impaired reading comprehension, impaired reading
   speed, and hyperactivity.

   Jessica's mother, Jerri Shold, recalled having difficulty learning to read when she was in kindergarten (in 1955)
   and early elementary school and was concerned that Jessica may have similar difficulties. The parenting books
    Ms. Shold read all recommended beginning sight words early, so Ms. Shold started working with Jessica during
   her preschool years up until it was time to start kindergarten. When Ms. Shold applied the sight word
   programs at home, Jessica could correctly identify letters if her mother pointed at specific letters within a sight
   word. She could repeat the word correctly when first read aloud by her mother, and could use the word
   correctly in a sentence. However, when later presented with the same sight words, Jessica could not
   recognize the sight words she had been previously exposed to no matter how many times her mother went
 , through the words with her. Ms. $hold tried all the different methods suggested by these sight word
     rograms, but the words didn't mean anything to Jessica. When Jessica was about four years old, the pre-
   school she was enrolled in (Prince of Pea ce) did some developmental and IQ testing to assess whether she was
   ready to start kindergarten. The evaluation showed that she was intelligent and was mentally ready to start
   kindergarten, but noted that when shown simple images she had trouble copying them correctly . It was
   concluded that Jessica's fine motor skills were not at the level of a five year old. Ms. Shold and her preschool
   teachers thought her fine motor skills were advanced for her age. Based on the testing, Jessica was put into
   kindergarten for half the day, and then went back to preschool for the remainder of the day, five days a week.
   Her teachers reported that Jessica still was not really grasping the sight words at that point, though she was
   doing fine in everything else.

   Ms. Shold recalled that when she had her own difficulty learning to read she was sent home with packets to
   help her work on phonics and reading. Ms. Shold believed that this extra help with phonics made a big
   difference for her, so she wanted Jessica to have the foundation of phonics so that she would be able to break
   words down and sound them out if she didn't recognize them. None of the public schools in her area used a
   phonetic reading program to teach reading. Consequently, Jessica's mother identified a private school that
   used a phonics-based reading program (Sunset Oaks Academy) and transferred Jessica there, where she was
   enrolled in fulltime Kindergarten. Ms. Shold believed the phonetic reading program was important for Jessica
   to progress and also thought the smaller class sizes would allow Jessica to receive more one-on-one reading,
   spelling and writing instruction than Jessica would receive in the public school system.




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/--~essica attended the Sunset Oaks Academy and received extensive individual instruction in reading, spelling
    and writing through the phonics-based program from Kindergarten through the second grade. Jessica
    received informal accommodations of a separate quiet space and extra time to complete tests and
    assignments. In third grade she transferred to the Carrollton-Farmers Branch Public School System when the
    family moved. Jessica attended the Carrollton-Farmers Branch Public Schools through the fifth grade. Jessica
    still struggled with reading, writing, and spelling when compared to her peers and her mother informed her
    teachers about her history and what prior teachers had done to help Jessica.

    Jessica and her mother, Jerri Shold, also reported that beginning in her earliest school years and continuing
    through elementary school and beyond, Jessica had severe problems in the following areas: making many
    mistakes in her schoolwork, sustaining attention during tasks or activities, finishing schoolwork and tasks at
    home, organizing tasks, disliking or procrastinating on tasks that required sustained mental effort, losing
    things needed for task completion, being easily distractible, being forgetful in daily activities, fidgeting, not
    staying seated when expected, and not waiting or taking turns. Throughout elementary school, Jessica's
    teachers verbally commented to Ms. Should that Jessica was very bright, but a slow reader who often forgot
    to turn in completed assignments.

    It has always taken Jessica significantly more time and effort to study and complete assignments than other
    students. For example, she recalled that friends would become frustrated with her when she would not join
   them for recreational activities because she would typically be working on homework until bedtime (often
    past midnight), while her friends completed their homework in the early evening and were free for leisure
   ) ctiviti es. Ms. Sho ld confirmed that this was typical of Jessica's evenings from early ele mentary school through
   graduat ion from high school. Her first, second, third and fourth gra de teachers noticed that Jessica had
    difficulty with reading, spelling and writing, and each teacher provided extra individual but informal remedial
   reading, spelling, and writing instruction during those grades.

   Jessica's second grade teacher was concerned enough to recommend that her vision be tested. Jessica was
   referred to Dr. Mary Alice A. Tanguay, a therapeutic optometrist, who performed visual-perceptual skills testing
   and found significant deficits in Jessica's visual spatial relationships, visual discrimination, and visual memory.
   Jessica subsequently received visual perceptual skills training from Dr. Tanguay, though Jessica's school
   functioning did not improve. Ms. Should, who has a master's degree in education, also worked nightly to
   remediate Jessica' s reading, writing and spelling problems throughout elementary school. She regularly
   reviewed Jessica's work in middle and high school, as well as her essays throughout college and for medical
   school applications. Jessica's parents did not pursue an evaluation for her learning problems because her hard
   work in the evenings and the informal accommodations she received masked the degree of academic struggle
   she experienced.

   Jessica managed to get good grades during her elementary, middle and high school years with the aid of these
   accommodations, which were provided on an informal basis. While Jessica's elementary, middle school and
   high school records do not reflect the struggle she reported, the early onset and chronic struggle that
   necessitated the accommodations, her teachers' verbal descriptions of Jessica's difficulty, and her mother's
   remedial efforts were corroborated by her mother.


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l     essica graduated from high school in 2008 with a 3.75 grade point average. Because she did not have any
     type of formal diagnosis or accommodations, she did not know about the possibility of accommodations such
     as extended time and did not apply for or receive any type of accommodations when she took the ACT
     entrance exam for college.

     During her freshman undergraduate year at Ohio State University, her compensatory strategies were
     overwhelmed by academic demands and her personal life. She experienced pronounced difficulty maintaining
     attention during tasks and activities, repeatedly misplaced things, lost track of completed assignments, made
     seemingly careless mistakes in her work, often misunderstood test questions and assignment directions and
     could not organize her tasks and activities. She spent increasingly more time on her schoolwork trying to
     compensate for these difficulties and neglected other important tasks, such as paying bills, cooking, cleaning,
     or engaging in leisure, recreational, social activities and sleep.

      Jessica subsequently consulted her primary care physician, Dr. Allen Smiy, who diagnosed her with ADHD on
      March 24, 2009, and began pharmacological treatment. Jessica applied to the college's Office of Disability
      Services (ODS) and Dr. Smiy completed the Ohio State University ADD/ADHD Verification Form on August 13,
      2010, which identified a DSM-IV diagnosis of ADHD, Inattentive Type and stated that Jessica often exhibited
      the DSM-IV inattention symptoms of having difficulty sustaining attention in tasks or other activities, having
      difficulty organizing tasks and activities, avoiding or disliking tasks that required sustained mental effort, being
      easily distracted by extraneous stimuli and being forgetful in daily activities. Jessica was approved by Ohio
    , State University (OSU) to formally receive the accommodations of priority class scheduling, access to an
      yssigned Office of Disabilities Services advisor, 50% additional testing time, a distraction reduced testing
      space, ear plugs for all quizzes or tests, supportive materia ls such as scrap paper for notetaking, colored
      pencils and highlighters to reword and draw diagrams on test questions for better understanding.

     Jessica graduated from Ohio State University in 2012 with a 3.56 grade point average . With these formal
     accommodations, Jessica was better able to compensate for her inattention, distractibility, hyperactivity, and
     difficulties in reading and writing. However, there were still many tests that required a large amount of
     reading and/or writing that Jessica was unable to complete because there was still not adequate time for her
     to read all of the questions and/or write sufficient responses, though she understood the material being
     tested. In these instances, Jessica reached out to her professors about this continued struggle, and often her
     professors provided additional informal accommodations such as altered grading schemes or more time to
     complete unattempt portions, to allow Jessica to achieve a grade that better represented her competency.

     Jessica did not find out that applying for accommodations for the MCAT was even a possibility until, near the
     end of her MCAT prep course through Princeton Review, one of the course instructors mentioned it while
     discussing Jessica's difficulty with reading. Jessica was advised not to apply or take the MCAT with
     accommodations unless she was unable tq achieve an acceptable score after multiple attempts because her
     score report would show that she had received accommodations and that would hurt her chances of getting
     offered interviews. Jessica then made an appointment with her advisor at the OSU Office of Disability Services
     (ODS) to verify the possibility of receiving accommodations and the affect it would have on her application.
     Jessica's ODS advisor cautioned against taking the MCAT with accommodations for the same reason and also




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,,,-1 xplained that, while Jessica had adequate documentation from her initial diagnosis by Dr. Smiy to qualify for
     accommodations through OSU, the AAMC would likely require a full neuropsychology evaluation which would
     be expensive and was unlikely to be completed in time to apply for accommodations before her scheduled
     MCATexam.

   Because Jessica receive advice against receiving appropriate accommodation from multiple informed sources,
   she decided to try the MCAT without accommodations. When she took the exam, she relied on strategies
   suggested by her Princeton Review instructors in addition to her own established methods to compensate for
   her ADHD and difficulties with reading and writing. Like she had done for prior standardized tests, her
   Princeton Review instructors suggested that Jessica not read the passages until she had first answered all the
   questions she could without reading the passage. Only then with any remaining time, she could go back and
   try to answer the passage-dependent questions starting with the shortest passages. Finally, with the last
   minute, it was recommended that she randomly fill in answers to any questions she wasn't able to get to.
   Using this strategy, Jessica was able to obtain a good score in the 79 th percentile (30M) of students who take
   the exam. This, however, was not the exceptional MCAT scores that would have been expected with her
   intelligence and understanding of the material. Jessica's performance on the MCAT component sections
   reflected her relative weakness specific to reading tasks with a Verbal Reasoning score at the 67 th percentile, a
   Physical Sciences score at the 79 th percentile and a Biological Sciences score at the 88th percentile.

   Jessica applied to fourteen medical schools the first year after taking the MCAT and was only offered one
   interview, but was not accepted. The next year she again applied to twenty-five schools and received only two
   )nterviews. She was placed on a wait list for two schools, one of which, Western Michigan University,
   ultimately accepted her. Jessica believes that because she took the MCAT under standard time and with no
   accommodations for her ADHD, her modest MCAT score did not reflect how much she knew in the three
   component areas of Physical Sciences, Biological Sciences and Verbal Reasoning. If Jessica had been able to
   take the MCAT with appropriate accommodations, she likely would have achieved a much higher score that
   more accurately represented her intelligence, understanding of the material, and ability to apply the
   information.

   Once accepted, Jessica requested accommodations from Western Michigan University Homer Stryker MD
   School of Medicine because of her ADHD and symptoms of dyslexia when she first began taking classes. She
   was referred to Charles Livingston, MA, for an evaluation to support her application for accommodations.
   Western Michigan University Homer Stryker MD School of Medicine approved her application and she was
   formally granted the accommodations of double exam time and a separate room to minimize distractions for
   all standardized NBME CBSE, Shelf exams and other exams written and administered by the school. Jessica
   applied for the same accommodations for the USMLE Step 1 exam, administered by the National Board of
   Medical Examiners (NBME) in 2016, but was denied accommodations. She attempted the USMLE without any
   accommodations and failed. Jessica is currently on academic leave from medical school because she failed her
   initial United States Medical Licensing Exam (USMLE) Step 1 exam, which is required to continue her fourth
   year rotations and complete her medical degree.




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 MENTAL STATUS & OBSERVATIONS: Jessica was neat in appearance and her demeanor was friendly and
 cooperative throughout the evaluation. She made good eye contact and her speech was at a normal rate,
 expressed in a normal manner and readily understood. Jessica did not have difficulty understanding directions
 and in the infrequent instances in which she appeared uncertain, she requested directions to be repeated or
 clarified. She persisted answering questions and completing tasks for an appropriate amount of time . Her
 answers to this examiner's questions were clear with appropriate, unguarded elaboration. Her mood and
 attitude were normal and her affect was appropriate. Her thought process and content were normal. Jessica
 was oriented to person, place, t ime and date. Jessica made a consistently high level of exertion on all tasks
 and the test results and self-report are an accurate measure of her functioning. Jessica did not take any of her
 ADHD medication on the day of the testing so that the results would more accurately reflect her functioning
 without the mitigating effects of the medications.

                                              ASSESSMENT RESULTS

 Symptom Validity

 Test of Memory Malingering (TOMM)

   The TOMM was administered midway through the exam. Jessica was told that the TOMM measured
   important memory skills needed for efficient reading. Jessica's performance on the TOMM resulted in 50 of
\ 50 items correct on Trial '2. and after a delay of 1~ minutes she correctly answered 50 ot the 50 items on the
 ·,Retention Tria l. This pattern of TOMM scores does not reflect su boptimal effort. Her overall pattern of test
  -scores and behavioral performance reflected strong effort on all te sts administered to her.

 Intellectual Functioning

 The following interpretation is based on the Wechsler Adult Intelligence Scale-Fourth Edition (WAIS-IV) scores
 obtained by Alan Lewandowski, PhD, as part of a neuropsychological evaluation conducted on November 9,
 2017. The Wechsler Adult Intelligence Scale-Fourth Edition (WAIS-IV) provides a general overview of Jessica's
 overall thinking and reasoning skills, encompassing four broad domains: Verbal, Perceptual, Working
 Memory, and Processing Speed. The Verbal Comprehension Index (VCI) provides a measure of how well she
 did on tasks that required her to listen to questions and give oral responses to them. The Perceptual
 Reasoning Index (PRI) indicates how well she did on tasks that required her to examine and think about
 designs, pictures, and puzzles, and to solve problems without using words. Her abil ity t o attend to
 information, to hold and process it in memory, and to give a response is measured by the Working Memory
 Index (WMI). The last index, Processing Speed Index (PSI), provides information regarding her ability to
 process simple visual information quickly and efficiently. When the Index scores are markedly different from
 each other, the Full-Scale IQ score is not the best summary of an individual's performance. Alternate scores or
 the separate index scores should be used.

The scores show how well Jessica performed compared to a group of individuals of the same age from across
the United States. An individual may have WAIS-IV scores that fall within a wide range from Extremely Low to




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' ,.,--)ery Superior. Most individuals, however, perform within the Average range. A percentile rank is also
      reported. This shows where the individual's scores rank relative to the national comparison group. For
      example, if Jessica's percentile rank (PR) was 45, it would mean that she scored higher than approximately 45
      out of 100 individuals her age.

    General Intellectual Ability
    The Full-Scale IQ (FSIQ) composite score is derived from ten subtest scores and is usually considered the most
    representative estimate of global intellectual functioning. Jessica's FSIQ score is within the high average range
    and exceeds those of approximately 87% of individuals her age (FSIQ=117; 95% confidence interval=113-121).
    She performed slightly better on nonverbal than on verbal reasoning tasks, but there is no meaningful
    difference between Jessica's ability to reason with and without the use of words. However, her Processing
    Speed Index score of 79 is significantly and uncommonly below the Verbal Comprehension Index and the
    Perceptual Reasoning Index scores. Consequently, her FSIQ score does not accurately reflect her optimum
    intellectual ability. Jessica's optimum intellectual capacity is most accurately reflected in the General Ability
    Index (GAi), which is calculated from the VCI and PRI subtests and does not include the attention-related
    Working Memory Index and Processing Speed Index subtest scores. Jessica's GAi score is significantly higher
    than her FSIQ score by a very uncommon margin estimated to occur in only 0.4% of the general population.
    Her GAi score of 132 is in the very superior range and is higher than 98% of other adults her age.

      Verbal Comprehension
   -._J essica's verbal reasoning abilities as measured by the Verbal Comprehension Index (VCI) are in the superior
      )ange and above those of approximately 95% of her peers (VCl=125; 95% confidence int erval=118-130). The
      VCI is designed to measure verbal reaso ning and concept formation. Jessica's performan ce on the verbal
      subtests contributing to the VCI presents a diverse set of verbal abilities; she performed much better on some
     verbal tasks than others. The degree of variability is unusual and may be noticeable to those who know her
      well . Examination of Jessica's performance on individual subtests provides additional information regarding
      her specific verbal abilities.

    Jessica achieved her best performance among the verbal reasoning tasks on the Information subtest. Her
    strong performance on the Information subtest was much better than that of most of her peers. The
    Information subtest required Jessica to respond orally to questions about common events, objects, places, and
    people. The subtest is primarily a measure of her fund of general knowledge. Performance on this subtest also
    may be influenced by cultural experience and quality of education as well as her ability to retrieve information
    from long-term memory (Information scaled score=16).

    Perceptual Reasoning
    Jessica's nonverbal reasoning abilities as measured by the Perceptual Reasoning Index (PRI) are in the very
    superior range and above those of approximately 98% of her peers (PRl=131; 95% confidence interval=123-
    136). The PRI is designed to measure fluid reasoning in the perceptual domain with tasks that assess nonverbal
    concept formation, visual perception and organization, visual-motor coordination, learning, and the ability to
    separate figure and ground in visual stimuli. Jessica performed comparably on the perceptual reasoning




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 subtests contributing to the PRI, suggesting that her visual-spatial reasoning and perceptual-organizational
 skills are similarly developed.

  Working Memory
 Jessica's ability to sustain attention, concentrate, and exert mental control is in the high average range. She
 performed better than approximately 77% of her peers in this area (Working Memory Index [WMl]=lll; 95%
 confidence interval=104-117). Jessica's abilities to sustain attention, concentrate, and exert mental control
 are a weakness relative to her nonverbal reasoning abilities. At her level of ability, a relative weakness in
 mental control likely makes the processing of complex information more time consuming for Jessica, draining
 her mental energies more quickly as compared to others.

 Processing Speed
 Processing speed is an indication of the rapidity with which Jessica can mentally process simple or routine
 information without making errors. Jessica's ability in processing simple or routine visual material without
 making errors is in the borderline range when compared to her peers. She performed better than
 approximately 8% of her peers on the processing speed tasks (Processing Speed Index [PSl]=79; 95%
 confidence interval=73-89). Processing visual material quickly is an ability that Jessica performs poorly when
 compared to her verbal and nonverbal reasoning ability.

  Composite Score Summary
                                                                                                95%
                                   Sum of           Composite             Percentile         Confidence       Qualitative
 )            Scale             Scaled Scores         Score                 Rank              Interval        Descri tion
                                                                                                            ---
 Verbal Co":prehension                43               VCI   125             95               118-130        Superior
                                                                             -
 Perceptual Reasoning                 46               PRI   131             98               123-136
 Working Memory                       24           WMI       111             77               104-117
 Processing Speed                     12               PSI   79               8                73-89          Borderline
 Full Scale                           125           FSIQ     117             87               113-121        High Average
 General Ability                      89               GAi   132             98               126-136        Very Superior


 Index level Discrepa ncy Comparisons
                                                                                  Critical    Significant
                                                                                  Value       Difference      Base Rate
      Com arison               Score 1          Score 2      Difference            .05           YJ N        Ability level
 VCI - PRI                      125              131               -6              8.32           N              34.3
 VCI-WMI                        125              111               14              8.81           y              18.4
 VCI - PSI                      125               79               46             10.99           y               2.7
 PRI-WMI                        131              111               20                             y
                                                                    - - - -8.81
                                                                           ----                   y
                                                                                                                  9
 PRI - PSI                      131               79               52             10.99                           1.3
 WMI-PSI                        111               79               32             11.38           y               3.7
 FSIQ-GAI                       117              132               -15             3.51           y               0.4
 Base rate by ability level.



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                                                                   Appx1484                                                   NBME00055
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'1tatistical significance (critical value) at the .05 level.

     Verbal Comprehensio~ Subtests Sum ~ ary
                                          Scaled        Percentile
                  Subtest                 Score           Rank
     ----                             13
                                                   ------
      Similarities
                                    --- - - - -84- -
      Vocabula                               14                91
      Information                            16                98
      (Comprehension)                        15                95

     Perceptual Reasoning Subtests Summary
                                          Scaled        Percentile
                   Subtest                Score           Rank
      Block Desi n
                         - - - - - - -15- - - - 95
      Matrix Reasoning                       16                98
      Visual Puzzles                         15                95
      (Figure Weights)                       15                95
      (Picture Completion)                   14                91

     Wo ~ i~ Me~ ory Subtests Summary
                                           Scaled       Percentile
                   Subtest                 Score          Rank
              ---
    _ D_,,,
       ig_it_S,p_a_n_ _ _ _ _ _ _ _ 12                         75
      Arithmetic                              12               75

     '>recessing Speed Subtests Su mmar"'{
                                             Scaled      Percentile
                   Subtest                   Score         Rank
      S mbol Search                            7                16
      Codin                                    5                5
      (Cancellation)                           9                37



    Sustained Attention

    The IVA+Plus CPT (Integrated Visual & Auditory Continuous Performance Test) is a test of attention that
    measures responses to 500 intermixed auditory and visual stimuli spaced 1.5 seconds apart. The task is to
    click the mouse when the stimulus is an auditory or visual "1" and to refrain from clicking when the stimulus is
    an auditory or visual "2." A correct response is defined as exactly one click to a target stimulus. The individual
    taking the test must be able to discriminate between ls and 2s, switch between sensory modalities, and
    maintain attention for about thirteen minutes. The targets ("1") occur frequently during some sections of the
    test and rarely during other sections, thus testing attention under both high and low demand conditions. The
    high demand condition is defined as a "block" of SO trials when the ls are frequent. The first two target
    presentations are excluded from the measurement of performance under high demand conditions and are
    categorized as being part of the previous low demand conditions block. The reason that these first two




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,,,,~-
     )argets are categorized in this way is that they are still pulling for errors of inattention as the test-taker has not
      yet made the transition to the mode of rapid clicking that is characteristic of the high demand block.

         The quotient scores for all of the IVA+Plus scales are reported as standard scores. Standard scores have a
         mean of 100 and a standard deviation of 15. The Wechsler Intelligence tests, which are commonly used in
         schools to assess Full Scale, Verbal and Performance IQ, also use standard scores (i.e., Mean=l00, SD=lS).

         In addition to reporting standard scores for the IVA+Plus scales, the narrative report below also provides
         percentile rank. A person with a standard score of 100 has a percentile rank of 50, meaning that about half
         the people taking the test scored higher on that scale, and about half scored lower. In this narrative report,
         percentile rank is given in the format "(PR=S0)" immediately following each standard score that is reported.
         For example, "John's Auditory Vigilance Score of 80 (PR=9) fell in the mildly impaired range."

         Jessica was administered the IVA+Plus twice, approximately one hour apart, as a check on the consistency of
         her responses.

         1 st Administration

                                                   VALIDITY OF TEST RESULTS
        Jessica demonstrated sufficient understanding of the task for the test results to be considered valid in both
     -. the auditory and visual modalities for the Global, Primary and Attribute scales. The validity of the IVA+Plus
     ;

       'f PT is assessed by determining whether an individual's responses are characteristic of random responding.
        1'he test is considered valid only when the individual's decision to click to targets and inhibit clicking to non-
        targets is based on self-directed responses in accordance with the test rules. Statistically, the test results for a
        specific sensory modality are considered invalid when the probability of the individual's response pattern
        being self-directed in accordance with the test rules is less than 1 in 1000.

                                         IVA+Plus DIAGNOSTIC INTERPRET/VE GUIDELINES
         A working diagnosis of Attention-Deficit/Hyperactivity Disorder, combined presentation was supported by the
         IVA+Plus test data. Jessica's global Response Control quotient scale score indicated an extreme impairment.
         In addition, her global Attention quotient scale score fell in the extremely impaired range. These impairments
         on the IVA+Plus test indicate that her pattern of responding is likely to impair her functioning and
         performance in the home or work environment.



                                SUMMARY OF TEST RESULTS FOR THE IVA+Plus GLOBAL SCALES
         The Full-Scale Response Control Quotient is a global measure of the overall ability for Jessica to regulate her
         responses and respond appropriately. Factors that load on this scale include the ability to inhibit responses to
         non-targets, the consistency of recognition reaction times and the person's ability to maintain her mental
         processing speed during the IVA+Plus test. Jessica's overall global quotient scale score for the Full-Scale
         Response Control scale was 44 (PR=l). This score fell in the extremely impaired range. Her Auditory Response
         Control quotient scale score was 38 (PR=l). This global scale score fell in the extremely impaired range.




                                                          Appx1486                                                 NBME00057
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)Jessica's Visual Response Control quotient scale score was 65 (PR=l).          This global scale score fell in the
   severely impaired range.

   The Full-Scale Attention Quotient provides a measure of an individual's overall ability to make accurate
   responses, stay focused and sustain her attention. This global scale's factors include the ability to be attentive
   and accurately respond under low demand conditions, remain focused and stay reliably "on task," and, at the
   same time, respond quickly when appropriate. Jessica's overall quotient score on the Full-Scale Attention scale
   was 50 (PR=l). This global scale score fell in the extremely impaired range. Her Auditory Attention quotient
   scale score was 65 (PR=l) and this global scale score fell in the severely impaired range. Jessica's Visual
   Attention quotient scale score was 44 (PR=l). This global scale score was classified as falling in the extremely
   impaired range.

   The Combined Sustained Attention quotient scale score provides a global measure of a person's ability to
   accurately and quickly respond in a reliable manner to stimuli under low demand conditions. In addition, it
   includes the ability to sustain attention and be flexible when things change under high demand conditions.
   Jessica's global quotient score on the Combined Sustained Attention scale was 58 (PR=l). This score fell in the
   extremely impaired range. Her global Auditory Sustained Attention quotient scale score was 65 (PR=l) and it
   fell in the severely impaired range. Jessica's global Visual Sustained Attention quotient scale score was 59
   (PR=l). This score was found to fall in the extremely impaired range.

   2 nd Administration

   )                                          VALIDITY OF TEST RESULTS
   Jessica demonstrated sufficient understanding of the task for the test results to be considered valid in both
   the auditory and visual modalities for the Global, Primary and Attribute scales.

                                   IVA+Plus DIAGNOSTIC INTERPRETIVE GUIDELINES
   A working diagnosis of Attention-Deficit/Hyperactivity Disorder, combined presentation was supported by the
   IVA+Plus test data. Jessica's global Response Control quotient scale score indicated an extreme impairment.
   In addition, her global Attention quotient scale score fell in the extremely impaired range. These impairments
   on the IVA+Plus test indicate that her pattern of responding is likely to impair her functioning and
   performance in the home or work environment.

                            SUMMARY OF TEST RESULTS FOR THE IVA+Plus GLOBAL SCALES
   The Full-Scale Response Control Quotient is a global measure of the overall ability for this individual to
   regulate her responses and respond appropriately. Factors that load on this scale include the ability to inhibit
   responses to non-targets, the consistency of recognition reaction times and the person's ability to maintain
   her mental processing speed during the IVA+Plus test. Jessica's overall global quotient scale score for the Full-
   Scale Response Control scale was 37 (PR=l). This score fell in the extremely impaired range. Her Auditory
   Response Control quotient scale score was 48 (PR=l). This global scale score fell in the extremely impaired
   range. Jessica's Visual Response Control quotient scale score was 44 (PR=l). This global scale score fell in the
   severely impaired range.




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~    The Full-Scale Attention Quotient provides a measure of an individual's overall ability to make accurate
     responses, stay focused and sustain attention. This global scale's factors include the ability to be attentive and
     accurately respond under low demand conditions, remain focused and stay reliably "on task," and, at the
     same time, respond quickly when appropriate. Jessica's overall quotient score on the Full-Scale Attention scale
     was 58 (PR=l). This global scale score fell in the extremely impaired range. Her Auditory Attention quotient
     scale score was 72 (PR=3) and this global scale score fell in the severely impaired range. Jessica's Visual
     Attention quotient scale score was 50 (PR=l). This global scale score was classified as falling in the extremely
     impaired range.

     The Combined Sustained Attention quotient scale score provides a global measure of a person's ability to
     accurately and quickly respond in a reliable manner to stimuli under low demand conditions. In addition, it
     includes the ability to sustain attention and be flexible when things change under high demand conditions.
     Jessica's global quotient score on the Combined Sustained Attention scale was 58 (PR=l). This score fell in the
     extremely impaired range. Her global Auditory Sustained Attention quotient scale score was 73 (PR=4) and it
     fell in the severely impaired range. Jessica's global Visual Sustained Attention quotient scale score was 51
     (PR=l). This score was found to fall in the extremely impaired range.

     Behavioral-Psychological Functioning

     During the diagnostic interview, Jessica indicated that she has exhibited nine of the nine criteria associated
    'I with attention-deficit hyperactivity disorder, predominantly inattentive presentation, and eight of the nine
    1riteria of ADHD, predominantly hyperactive-impulsive presentation. Jessica endorsed the following
    symptoms:
    • Fails to pay close attention to details or makes careless mistakes
    • Has difficulty sustaining attention
    • Often does not listen when spoken to directly
    • Has trouble following through on instructions and often fails to finish school work, chores or work duties
    • Has difficulty organizing tasks and activities
    • Avoids tasks that require sustained mental effort
    • Loses things needed to finish tasks
    • Is easily distracted
    • Is forgetful in daily activities
    • Often fidgets or squirms in seat
    • Has difficulty remaining seated when expected
    • Feels very restless most of the time
    • Talks excessively
    • Has difficulty waiting for her turn
    • Interrupts and intrudes on others


    Jessica's mother endorsed eight of the inattentive symptoms and six of the hyperactive/impulsive symptoms,
    which corroborated many of the difficulties Jessica described. The ratings provided by Jessica's fiance also




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confirms that these symptoms are frequently in evidence.            Her fiance endorsed seven of the inattentive
symptoms and five of the hyperactive-impulsive symptoms.

Symptom Checklist-90-Revised (SCL-90-R)

Overall, Jessica's SCL-90-R symptom profile is not of a nature or magnitude to be considered in the clinical
range. General symptomatic distress levels are average to low-average for her, suggesting good psychological
integration, and little global psychological distress. Jessica's report reflects little evidence of psychological
distress associated with somatic symptoms, or psychosomatic problems. Levels of obsessive-compulsive
symptoms are clearly in the clinical range. However, the symptoms she rated as involving significant distress
are all behaviors she described as either difficulty concentrating or behaviors used to compensate for her
ADHD symptoms. The other behaviors from this scale that directly related to obsessive-compulsive symptoms
were rated as involving no distress. Depressive symptoms are somewhat above average in this individual's
record, but do not appear clinically noteworthy. There are several isolated signs or symptoms of anxiety in the
respondent's test protocol. However, they do not appear to represent clinically significant experiences. There
is little or no evidence of paranoid thinking in this respondent's record.

                      SOM    O-C   1-S   DEP    ANX    HOS PHOB      PAR   PSY     GSI   PSDI    PST


Nonpatient T Score:    41     66    50    56     52     40     44     41   44       55   66      49

 aw Score:            0.08   1.50 0.22   0.54   0.30   0.00   0.00 0.00    0.00 0.38 2.13        16

Outpatient T Score:    34     51   35     36     36     32     38     33   30       35   48      32

Inpatient T Score:     35     51   37     37     38     36     37     33   31       37   48      34



Primary Symptom Dimensions
SOM Somatization
O-C Obsessive-Compulsive
1-5 Interpersonal Sensitivity
DEP Depression
ANX Anxiety
HOS Hostility
PHOB Phobic Anxiety
PAR Paranoid Ideation
PSY Psychoticism
General Indices
GS/ Global Severity Index
PSDI Positive Symptom Distress Index
PST Positive Symptom Total




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Academic Skills

The Wechsler Individual Achievement Test--Third Edition (WIAT-111) is an individually administered instrument
designed to measure academic achievement skills in individuals from age 4 through 50. Descriptive
statements are provided, ranging from Far Below Average to Far Above Average, based on the standard score.
The scores and statements below are primarily based on age-based norms. A percentile rank is also reported
in the table of scores, which shows where the clients score rank compared to a group of clients of the same
age from across the United States. For example, if the percentile rank was 45, it would mean that the
individual scored higher than approximately 45% of individuals her age.

The Total Reading Composite (TRC) is an overall measure of basic reading, fluency and reading
comprehension. It is derived from the Word Reading, Pseudoword Decoding, Reading Comprehension and
Oral Reading Fluency subtests. Jessica's Total Reading Composite score of 85 is at the bottom of the low
average range and is higher than 16% of individuals her age.

   The Basic Reading Composite (BRC) is a measure of applying phonemic knowledge and single word decoding.
   It is derived from the Word Reading and Pseudoword Decoding subtests. Jessica's Basic Reading Composite
   score of 96 is average and is higher than 39% of other individuals her age. The Word Reading subtest
   measures speed and accuracy of single word reading. The individual is asked to read aloud from a list of words
   which yields a score for accuracy and a score for speed. Jessica's Word Reading score of 100 is average and is
;, higher than 50% of other individuals her age. The Pseudoword Decoding subtest measures speed and
 )ccuracy in applying phonemic knowledge to decode pseudoword s. Jessica's Pseudoword Decoding score of
   95 is average, which is the percentile rank of 37. The supplemental scores for speed of performing subtests
   were also calculated. The Word Reading Speed score is the same as or higher than the scores obtained by
   only 2% of individuals in the normative sample. Ninety-eight percent of students in the normative sample
   scored higher than Jessica in the Word Reading Speed score . The Pseudoword Decoding Speed score is the
  same as or higher than the scores obtained by only 5% of students in the normative sample; 95% of individuals
   in the normative sample scored higher than her Pseudoword Decoding Speed score.

Jessica's Reading Comprehension and Fluency Composite score of 74 is in the well below average range and is
higher than only 4% of other individuals her age. The Reading Comprehension subtest is untimed and
measures literal and influential reading comprehension skills using paragraph passages in which she was
verbally asked open-ended questions by the examiner and was allowed to verbally give her answers. The
examiner was allowed and asked for elaboration or clarification of her answers as needed. Jessica's Reading
Comprehension score of 94 is in the average and is higher than 34% of other individuals her age. The Oral
Reading Fluency subtest measu res oral reading fluency of narrative passages and yields separate scores for
overall oral reading accuracy and component scores for oral reading rate and oral reading fluency. Her overall
Oral Reading Fluency score of 67 is far below average and is higher than 1% of other individuals her age. Her
Oral Reading Rate score of 65 is far below average and is higher than 1% of other individuals her age. Her Oral
Reading Accuracy score of 102 is average and is higher than 55% of other individuals her age.




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 f he Written Expression Composite (WEC} is a measure of overall writing skills. It is derived from the Spelling,
Sentence Composition, and Essay Composition subtests. The Spelling subtest measures written spelling of
single words from dictation. The Sentence Composition subtest includes sentence combining and sentence
building components, which measure sentence formulation skills including grammar, syntax, semantics and
mechanics. Jessica's Written Expression Composite score of 100 is average and is higher than 50% of other
individuals her age. Her Spelling score of 108 is average and is higher than 70% of other individuals her age.
Jessica's Sentence Composition score of 104 is average and is higher than 61% of other individuals her age.

The Essay Composition subtest measures spontaneous written expression, which involves productivity, theme
development, text organization, grammar and mechanics. The individual listens to instructions about general
content the essay is to contain and then must plan, write and finalize an essay within a ten-minute time limit.
The Essay Composition required Jessica to write an essay about her favorite game and include at least three
reasons for liking it. The Essay Composition score is significantly influenced by the number of words produced,
regardless of spelling, though theme development and organization contribute to the score. A separate
supplemental component, Theme Development and Text Organization, reflects theme development and
organization. Another supplemental subtest, Grammar and Mechanics, reflects grammar, punctuation,
spelling and capitalization. Jessica's Essay Composition score of 91 is average and is higher than 27% of other
individuals her age. Her Word Count score of 92 is average and higher than 30% of other individuals her age.
Jessica' s Theme & Text Organization score of 94 is average and is higher than 34% of other individuals her age.
Her Grammar & Mechanics score of 91 is average and higher than 27% of other individuals her age.

jhe M athematics Composite (MC} is an overall measure of ability to calculate a variety of different math
procedu res and apply math procedures in tasks that require math reasoning. It is derived from the Numerical
Operations and the Math Problem Solving subtests. The Numerical Operations subtest measures math skills
under untimed conditions. The Math Problem Solving subtest measures mathematics reasoning in solving
math problems that are read to the individual. Jessica's Mathematics Composite score of 133 is far above
average and higher than 99% of other individuals her age. Jessica's Numerical Operations score of 125 is well
above average and is higher than 95% of other individuals her age. Her Math Problem Solving score of 136 is
far above average and is higher than 99% of other individuals her age.




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 WIAT-111                                                            Age Based Scores: age at testing 28 years, 0 months


 Composite Score Summary
                                          90%
                           Standard    Confidence    Percentile       Qualitative
 Composite                   Score      Interval       Rank           Description
 Total Reading                85          81-89         16            Low Average
 Basic Reading                96         92-100         39              Average
 Reading Comprehension
                              74          67-81          4        Well Below Average
 and Fluency
 Written Expression          100         94-106         50              Average
 Mathematics                 133         129-137        99         Far Above Average


 Subtest Score Summary
                                          90%
                           Standard    Confidence   Percentile        Qualitative
 Composite                   Score      Interval      Rank            Description
 Reading Comprehension       94          84-104         34              Average
 Math Problem Solving        136         130-142        99         Far Above Average
: Sentence Composition       104         96-112         61              Average
   ord Reading               100         94-106         50              Average
 Essay Composition           91          82-100         27              Average
 Pseudoword Decoding         95          89-101         37              Average
 Numerical Operations        125         120-130        95        Well Above Average
 Oral Reading Fluency        67           61-73          1         Far Below Average
 Spelling                    108         103-113        70              Average



 Cumulative Percentages
                                   The score is the same as or higher than the scores obtained by 2% of students in the normative
 Word Reading Speed
                                   sample; 98% of students in the normative sample scored higher than this score.
                                   The score is the same as or higher than the scores obtained by 5% of students in the normative
 Pseudoword Decoding Speed
                                   sample; 95% of students in the normative sample scored higher than this score.




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.,ubtest Component Score Summary
                                                  Standard        Percentile       Qualitative
Subtest Component                                   Score           Rank           Description
Ot:al Reading Fluency
Oral Reading Accuracy                               102              55                 Average
Oral Reading Rate                                   65                1         Far Below Average
Ef say Composition
Grammar and Mechanics                               91               27                 Average


Subtest Component Score Summary
                                             Standard        Percentile        Qualitative
Subtest Component                            Score           Rank              Description
Sentence Compos'ltion
Sentence Combining                           105             63                Average
Sentence Building                            104             61                Average
Essay Composltion
Word Count                                   92              30                Average
Theme Development and
                                             94              34                Average
Text Organization



Differences Between Composite Standard Scores
                                                                                                  Critical Value   Significant
                                                                                                  (Significance    Difference
Comparison                                                                     Difference           Level .OS)         V/N          Base Rate
Total Reading vs. Basic Reading                                                   -11                 5.88               y             <=5%
Total Reading vs. Reading Comprehension and Fluency                               11                  7.93               y            <=10%
Total Reading vs. Written Expression                                              -15                 6.83               V              >15%
Total Reading vs. Mathematics                                                     -48                 5.70               y             <=1%
Basic Reading vs. Reading Comprehension and Fluency                               22                  8.06               y            <=10%
Basic Reading vs. Written Expression                                               -4                 6.98               N             >15%
Basic Reading vs. Mathematics                                                     -37                 5.88               y             <=1%
Reading Comprehension and Fluency vs. Written Expression                          -26                 8.77               y             <=5%
Reading Comprehension and Fluency vs. Mathematics                                 -59                 7.93               y             <=1%
Written Expression vs . Mathematics                                               -33                 6.83               y             <=1%

Note. A negative difference ind icates that the second composite has a higher score than the first composite listed in the compari son .




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                                            ABILITY-ACHIEVEMENT DISCREPANCY ANALYSIS

Ability Score :    WAIS-IV FSIQ: 117

Predicted Difference Method
                                Predicted       Actual                  Critical   Significant
                                WIAT-111       WIAT-111                 Value      Difference      Base
                                  Score         Score     Difference      .OS          Y/N         Rate
WIAT-111 Composite
Total Reading                         112         85         27          5.89          y          <=1%
Basic Reading                         110         96         14          4.83          y          <=1S%
Reading Comprehension and
                                      112         74         38          9.26          y          <=1%
Fluency
Written Expression                    111        100         11          7.12          y          >15%
Mathematics                           112        133         -21         5.87          Y*          N/A
Note. Base rates and standard deviation discrepancies are not reported when the actual achievement score equals or
exceeds the predicted achievement score.
*Indicates that the actual achievement score exceeds the predicted achievement score.




                                            ABILITY-ACHIEVEMENT DISCREPANCY ANALYSIS

 bility Score:     WAIS-IV GAi: 132

Predicted Difference Method
                                Predicted       Actual                  Critical   Significant
                                WIAT-111       WIAT-111                 Value      Difference      Base
                                  Score         Score     Difference      .OS          Y/N         Rate
WIAT-111 Composit e
Total Reading                         121         85         36          6.10           y         <=1%
Basic Reading                         118         96         22          5.01          y          <=5%
Reading Comprehension and                                                               y
                                      120         74         46          9.40                     <=1%
Fluency
Written Expression                    119        100         19          7.25           y         <=10%
Mathematics                           120        133         -13         6.05          Y*          N/A

Note. Base rates and standard deviation discrepancies are not reported when the actual achievement score equals or
exceeds the predicted achievement score .
*Indicates that the actual achievement score exceeds the predicted ach ievement score.




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 Woodcock/Johnson IV (WJ-4) Tests of Achievement
 The Woodcock/Johnson IV (WJ-4) Tests of Achievement are untimed, with the exception of the fluency tests,
 and reflect a person's ability to perform tasks when they are able to use any strategies they have developed to
 compensate for any weaknesses they may have in information processing. Descriptive statements are
 provided, ranging from far below average to very superior, based on the standard score. Jessica was
 compared to other adults her age in the general population.

 The Reading Rate Cluster provides a measure of automaticity when reading single words and single sentences.
 It is derived from the Sentence Reading Fluency and Word Reading Fluency subtests. The Word Reading
 Fluency subtest allows three minutes for the examinee to read rows of four words and mark two words in
 each row that are either synonyms, antonyms or members of the same category. The Sentence Reading
 Fluency subtest allows three minutes for the examinee to read sentences and mark them as true or false.
 Jessica's Reading Rate Cluster score of 66 is in the Far Below Average range, which is higher than 1% of other
 individuals her age. Her Word Reading Fluency score of 58 is in the Far Below Average range, which is higher
 than 0.2% of other individuals her age. Her Sentence Reading Fluency score of 78 is in the Well Below Average
 range, which is higher than 7% of other individuals her age.

TABLE OF SCORES
Woodcock-Johnson IV Tests of Achievement Form Band Extended (Norms based on age 28-1)
CLUSTER/Test                      GE RPI        Proficiency      SS (95% Band)       SS Classification    PR
READING RATE                      3.9 1/90 ExLr-ernely Limited      66 (57-75)      Far Below Average   1
' Sentence Reading Fluency        5.2   5/90     Very Limited          78 (67-88)    Well Below Average 7
 )word Reading Fluency            3.0 0/90     Extremely Limited       58 (45-71)    Far Below Average 0.2


GRAY-ORAL READING TESTS-FIFTH EDITION
The Gray-Oral Reading Tests-Fifth Edition (GORT-5) is a comprehensive measure of reading fluency with
separate measures for speed, accuracy, overall fluency of combined speed and accuracy, and comprehension.
Jessica's performance was compared to a group of individuals aged 19 through 23 years, which is the oldest
group available for comparison. The GORT-5 was administered because it is the most comprehensive and
robust measure available that reflects functioning when oral reading fluency and reading comprehension are
simultaneously required. The GORT-5 passages reflect a broader range of complex reading than other
measures of oral reading fluency such as the WIAT-111 Oral Reading Fluency subtest.

The GORT-5 provides separate measurements of speed, accuracy, comprehension, and an overall measure
reflecting the three components combined. The oldest normative age group available for comparison is a
group of 19-year-old to 23 year-11-month-old adults. The GORT-5 scores of Rate, Accuracy, Fluency and
Comprehension were demonstrated to have a strong correlation with age in the normative sample until age
13, with the progression of raw score gains getting smaller with each year of age until plateauing in the ages of
the oldest normative age group.

Jessica's Rate score of 3 is far below average and is higher than 1% of other individuals in the comparison
group. The Accuracy score reflects the number of decoding errors, omitted words, inserted words and
repetitions. Her Accuracy score of 5 is well below average and is higher than 5% of other individuals in the




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/)
     comparison group. The Fluency measure is derived from combining the Rate and Accuracy scores and is a
     measure of overall oral reading fluency. Jessica's Fluency score of 4 is well below average and is higher than
     2% of other individuals in the comparison group. She was able to correctly read most of the words, but her
     reading was slow. Jessica read in short two-to-four words phrases and her oral reading was very halting with
     many repetition of words and self-corrections. The Comprehension measure is derived from open-ended
     questions about the content of each passage. Jessica's Comprehension score of 3 is extremely below average
     and is higher than 1% of other individuals in the comparison group. The Oral Reading Index (ORI) is derived
     from the Fluency and Comprehension subtests. The ORI is an overall measure of oral automaticity and reading
     comprehension. Jessica's Oral Reading Index score of 65 is extremely below average and is higher than 1% of
     other individuals in the comparison group.

     Nelson-Denny Reading Test
   The Nelson-Denny Form H was administered with the standard time administration to Jessica and includes
   three subtests (Vocabulary, Comprehension and Rate). The questions are presented in multiple-choice answer
   options. Four scores are calculated: Rate, Vocabulary, Comprehension and Total Reading. The first subtest,
   Rate, is calculated from the number of words read silently during the first sixty seconds of the Comprehension
   subtest. The Vocabulary subtest has a standard time limit of fifteen minutes and consists of 80 multiple-
   choice items, each with five response options. The words were drawn from high school and college textbooks
   and vary in difficulty. The second subtest, Comprehension, has a standard time limit of twenty minutes and
   requires examinees to read as many of the seven passages as they can (also drawn from high school and
 . college textbooks) and to respond to as many of the total of 38 multiple-choice questions about the contents
     ffthese passages. The Total Reading score is derived by summing the Vocabulary raw score with the
   Comprehension raw score.

     Jessica completed Form H and her performance was compared to second semester grade-16 university
     students. Jessica's Rate score is far below average, at the ist percentile rank. She correctly answered 49 of the
     52 Vocabulary items (94%) she was able to attempt during the standard time limit. Her Vocabulary score is
     below average, at the 11th percentile rank and is a 13.1 grade-equivalent score. She correctly answered 17 of
     the 18 Comprehension items (94%) she was able to attempt during the standard time limit. Jessica's
     Comprehension score is far below average, at the 2nd percentile rank and is an 8.7 grade-equivalent score. Her
     Total Reading score is well below average, at the 4th percentile rank and is a 10.6 grade-equivalent score.

 Jessica's performance was also compared with second semester grade-12 high school students. This
 comparison resulted in a Rate score that is far below average, at the pt percentile rank. Her Vocabulary score
 is average, at the 54th percentile rank compared to high school seniors. Jessica 's Comprehension score is low
 average, at the 18th percentile rank compared to high school seniors. Her Total Reading score is average, at the
 33 rd percentile rank compared to high school seniors.

 The Nelson-Denny was originally normed to allow for the individual's performance to be compared to other
 individuals in grades 9 through 16. Additional norms for healthcare professionals were developed in 2001.
 These norms were developed from a group of 635 medical students, 269 dental students, 176 physical therapy
 students and 42 interns (Haught, P.A., & Walls, R.T. Adult Learners: New Norms on the Nelson-Denny Reading




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 Test For Healthcare Professionals. Reading Psychology 2002, 23, 217-238}. Jessica's performance was
 compared to this group. Her Rate score is in the Far Below Average range, at the pt percentile rank. Her
 Vocabulary score is in the Far Below Average range, at the 1st percentile rank. Jessica's Comprehension score
 is also in the Far Below Average range, at the pt percentile rank. Her Total Reading score is in the Far Below
 Average range, at the 1st percentile rank.

 Discussion and Summary


The Test of Memory Malingering (TOMM) measure is a symptom validity measure and was administered to
detect whether Jessica was making suboptimal effort, either consciously or unconsciously. The examinee is
not informed as to the purpose of this measure and in fact was told that it measured an important memory
component underlying reading skill. The absence of indication of suboptimal effort on the TOMM is an
indication that Jessica's effort was not suboptimal. Her performances on reading and writing tests was also
highly variable, ranging from average to below average. In the context of her request for accommodations
due to a reading impairment, the reading and writing scores that are within the average range are inconsistent
with poor effort from either conscious or unconscious intent. Jessica's overall demeanor and pattern of test
scores reflect maximum effort on her part and it is concluded that her current test scores are an accurate
measure of her functioning.

   The Full-Scale IQ (FSIQ) composite score is derived from ten subtest scores and is usually considered the most
-, representative estimate of global intellectual functioning. Jessica's FSIQ score is within the high average range
   ) nd exceeds those of approximately 87% of individuals her age (FSIQ=117; 95% confidence interval=113-121).
   She performed slightly better on nonverbal than on verbal reasoning tasks, but there is no meaningful
   difference between Jessica's ability to reason with and without the use of words. However, her Processing
   Speed Index score of 79 is significantly and uncommonly below the Verbal Comprehension Index and the
   Perceptual Reasoning Index scores. Consequently, her FSIQ score does not accurately reflect her optimum
   intellectual ability. Jessica's optimum intellectual capacity is most accurately reflected in the General Ability
   Index (GAi}, which is calculated from the VCI and PRI subtests and does not include the attention related
   Working Memory Index and Processing Speed Index subtest score. Jessica's GAi score is significantly higher
   than her FSIQ score by a very uncommon margin estimated to occur in only 0.4% of the general population.
  Jessica's GAi score of 132 is in the very superior range and is higher than 98% of other adults her age .

Current diagnostic criteria for a diagnosis of a specific learning disorder in the DSM-5 requires that reading,
writing or math scores be substantially below average compared to other individuals Jessica's age and cause a
significant interference with academic performance. However, the designation of "average" and "below
average" is acknowledged to be arbitrary with no clear cut-off score to indicate what is below average and
causes significant interference with academic performance. A standard score of 78 or less, which is below the
7th percentile, offers the greatest diagnostic certainty. However, scores vary because of test imprecision, and
clinical judgment is allowed. A more lenient threshold of scores of below one standard deviation (standard
score 84 or lower} is applicable when learning difficulties are supported by converging evidence from
assessment, academic history and school reports. While learning difficulties are generally exhibited during the
early school years, they may not become evident until later school years when demands on academic skills




                                                    Appx1497                                                NBME00068
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-------1xceed the individual's restricted capacities. Some individuals with impaired functioning may obtain average
        or better grades that are achieved through extraordinarily high levels of effort and support until the pace of
        completing tasks and assessment mechanisms that rely on the impaired skill exceeds the individual's
        compensatory strategies. Consequently, the individual with specific impairments is unable to complete tasks
        that rely on the impaired skills or demonstrate what she has actually learned through assessment mechanisms
        that rely on these specific skills. A discrepancy between aptitude and academic achievement scores is no
        longer a DSM-5 diagnostic criteria indicating a specific learning disorder; however, the presence of substantial
        discrepancies between aptitude and achievement skill provide important information reflecting an abnormal
        degree of struggle that persists despite compensatory efforts.

   Jessica's Mathematics Composite (MC) score of 133 is in the far above average range and above those of 99%
   of other adults her age. Consequently, a specific learning disorder with impairment in mathematics is not
   indicated.

    The specific learning disorder of developmental dyslexia is a neurologically-based condition that results in an
    unexpected difficulty acquiring an understanding of letter-phoneme relationships, acquiring a capacity for
    efficiently processing phonological information, or developing rapid, automatic reading fluency (either oral or
    silent). A persistent weakness in phonological processing significantly impedes developing accurate word
    recognition, automatic, effortless word recognition-fluency and reading comprehension. Reading fluency is
    considered to be a complex capacity to read passages rapidly, smoothly, and automatically, with little effort or
  , conscious attention to the mechanics of reading, which then allows the majority of mental capacity to be
  )irected to reading comprehension. Dyslexic readers may be able to acquire the capacity to accurately identify
    or decode words through remedial efforts, but typically have difficult acquiring automatic oral reading fluency
    or rapid silent reading rate. Some dyslexic readers may develop the capacity for rapid oral reading fluency or
    rapid silent reading, but typically at the expense of reading comprehension. The dyslexic reader lags behind
    the non-dyslexic reader in developing automatic word recognition capacity and must use more of his or her
    attention and working memory capacity to the task of identifying words than the non-dyslexic reader, which
    interferes with comprehension.

  Many dyslexic readers compensate for the limitations in automatic word recognition through over-relying on
  the use of the context. The reliance on context results in the reader being hesitant and pausing in order to
  infer the identity of words from the surrounding words they can identify. They may make an "educated guess"
  when they reach an unknown word or correct a word they realize they have misread because of their
  restricted automaticity. They may also misread a word only to read on and realize their mistake from the
  context and then reread the phrase or sentence with the correct word (although sometimes a still incorrect
  word) inserted. The result of such an overreliance on context is a monotone prosody that is characterized by
  short, choppy word groupings, some word-by-word reading, pauses, omissions, added words, rereading or
  self-corrections. By contrast, non-dyslexic readers' phonological skills increase with practice and they become
  automatic in their word recognition with little need to rely on the context of the words previously identified.
  Automaticity occurs without conscious thought or effort and leaves more cognitive resources available for
  attention, comprehension and retention.




                                                       Appx1498                                                NBME00069
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 Dyslexic readers may score well on a test of reading comprehension by using context, but they are spending
 more of their mental energy to do so than the non-dyslexic reader. The dyslexic reader's comprehension
 capacity is therefore fragile and prone to errors. They may manage to function at seemingly adequate levels
 during a relatively brief test of reading, but still have difficulty sustaining such comprehension levels because
 of mental fatigue. Therefore, reading performance can be erratic.

 Impaired dyslexic readers frequently encounters words in print that are within their vocabulary and that they
 have seen before, but remain unfamiliar when presented in print. In place of oral reading fluency that results
 from effortless automatic word recognition, the impaired dyslexic reader has to rely on compensatory
 strategies such as overreliance on the context of the passage and/or repeatedly reading the same passage to
 identify unrecognized words through inference from surrounding words. As a result, the dyslexic reader may
 achieve accurate word reading through very slow, careful reading and rereading of passages. Alternatively,
 when reading rapidly, uncertainty and impaired oral reading fluency will be revealed through limited voice
 inflection (prosody), halting two-to-four word phrases, repetitions, omitted words, added words and
 mispronounced words, which often results in inconsistent reading comprehension.

 Jessica exhibited a pattern of reading scores typical of the dyslexic reader described above. The previous
 evaluation utilized an instrument that did not provide a comprehensive assessment of the component skills
 involved in efficient practical reading exhibited by the non-impaired reader, which encompasses most people
 in the general population. Jessica's basic reading skills are within the average range when not limited by time
 restrictions as measured by the WIAT-111 Basic Reading Composite score of 96, which is higher than 39% of
 )>ther adults her age. Jessica's grasp of basic phonics is in the average range as measured by the WIAT-111
 Pseudoword Decoding score of 95 that is higher than 37% of other adu lts her age. Jessica' s WIAT-111 Word
 Reading score of 100 is in the average range and she was able to read single words fairly accurately.

 The WIAT-111 Word Reading and Pseudoword Decoding subtests also have an additional separate component
 measure of the speed at which she read the list of words. The examinee is covertly timed on the WIAT-111
 Basic Reading subtests. The examinee is instructed to read the lists as well as they can, but the instructions
 specifically avoid any mention of speed, or that they are being timed, and no timing device was visible to
 Jessica. The efficiency and speed at which she read these pseudowords was slower than 95% of other adults
 her age and the efficiency at which she read these real words was slower than 98% of other adults her age.

 Jessica's reading rate and level of oral reading fluency was further assessed through four different measures.
 The WIAT-111 Oral Reading Fluency subtest and the Gray-Oral Reading Tests-Fifth Edition measure speed and
 accuracy of word decoding in passages with conceptually connected content, which allow for observations of
 her degree of automatic oral word recognition and decoding. The WJ-4 Reading Rate Cluster and the Nelson-
 Denny Reading Test are measures of silent reading fluency, which rely on how many reading comprehension
 tasks are correctly completed within a set time limit. Overall, measures of her reading fluency encompassing
 reading speed resulted in performances that were well below average and far below average compared to
 other individuals her age and grade level. Jessica obtained a WIAT-111 Oral Read ing Fluency score of 67, which
 is in the far below average range and reflects a relative weakness with oral reading fluency. Her GORT-5 oral
 read ing was very slow and replete with many accuracy errors. Her GORT-5 Rate scaled score of 3 is higher than




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/.)%  of other individuals from a group of individuals age 19 years through 23 years, and her Accuracy scaled
  score of 5 is higher than 5% of other individuals from that group. Her Fluency scaled score of 4, which is a
  combination of the Rate and Accuracy performance, is in the well below average range and is higher than only
  2% of the comparison group.

  The WJ-4 Reading Rate Cluster and the Nelson-Denny Reading Test are measures of silent reading fluency that
  rely on the number of correct responses to reading comprehension items completed within a time limit. The
  WJ-4 Reading Rate Cluster measures reading speed by way of the number of correct responses completed and
  is derived from the time-limited Sentence Reading Fluency and time-limited Word Reading Fluency subtests.
  Jessica's Reading Rate Cluster score of 66 is in the Far Below Average range and is higher than 1% of other
  adults her age. Jessica was only able to read three of the seven NDRT passages and attempted only 47% of the
  38 Comprehension items on the standard-time Comprehension administration. She correctly answered 94%
  of the Comprehension items she attempted. A majority of high school seniors were found to be able to read
  all seven passages and attempt all 38 Comprehension items. In addition, Jessica's Nelson-Denny Rate score
  was lower than 99% of high school seniors.

  Jessica's reading comprehension was measured both by means that were not influenced by being required to
  read quickly or restricted by time limits and by measures that required her to read quickly or were restricted
  by time limits. Her reading comprehension performance was in the average range when not impacted by
  speed or time limits. Her reading comprehension performance was in the below average range when
 )mpacted by speed or time limits.            The WIAT-111 Reading Comprehension subtest reflects reading
  )omprehension under conditions when reading is untimed. She obtained a WIAT-111 Reading Comprehension
  subtest score of 94 that is in the Average range and is higher than 34% of other individuals her age.

 The GORT-5 Comprehension subtest and the Nelson-Denny Reading Test reflects reading comprehension
 under conditions when speed is emphasized or time is restricted. On the GORT-5, Jessica was specifically
 instructed to read passages out loud "as carefully and as quickly as you can." The GORT-5 passage was then
 removed from sight after she completed the passage and she was asked five open-ended questions about the
 content of the passage. Her GORT-5 Comprehension scaled score of 3 is in the far below average range and is
 higher than only 1% of the comparison group. The Nelson-Denny Reading Test (NDRT) measured her
 performance on a timed test. She correctly answered 94% of the Comprehension items she was able to
 attempt during the standard twenty-minute time limit. Jessica's NDRT Comprehension score is near the
 bottom of the low average range at the 18th percentile compared to grade-12 students, in the Far Below range
 at the 2nd percentile compared to grade-16 university students, and in the Far Below Average range at the pt
 percentile compared to medical and healthcare students.

 Jessica's pattern of reading scores is consistent with the pattern typically exhibited by dyslexic readers who
 have developed strategies to compensate for their reading impairment. Jessica's overall basic reading skills
 are in the average range as measured by the WIAT-111 Basic Reading Composite score of 96, which reflects
 word decoding skills under untimed conditions. She has been able to acquire an average level of reading
 comprehension skills when allowed sufficient time to employ compensatory strategies, but exhibits




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"ipersistently impaired reading rate and reading fluency compared to other adults her age, as reflected in WJ-4
 Reading Rate Cluster, the GORT-5 Fluency and the Nelson-Denny Rate and Comprehension scores.

Although discrepancies between reading scores and aptitude scores are no longer one of the diagnostic
criteria, such discrepancies reflect the frequency of the degree of unexpected struggle that occurs in the
general population. Jessica's WIAT-11I Total Reading Composite score of 85 is significantly below her
Mathematics Composite score of 133 by a very uncommon margin estimated to occur in less than 1% of other
individuals in the general population, which is a reflection of the difficulty she has experienced specific to
acquiring reading skills. Her WIAT-I11 Mathematics Composite score of 133 is commensurate with an expected
score of 120 predicted by her GAi score. However, all of her WIAT-11I reading composite scores are
significantly below expectation whether the expectation is measured with the FSIQ or the GAi score. Jessica is
expected to have a WIAT-11I Reading Comprehension and Fluency Composite score of 112 predicted from her
FSIQ score but her actual Reading Comprehension and Fluency Composite score is 74. This is a very
uncommon discrepancy of 38 points estimated to occur in 1% or less of other adults. Similar very uncommon
discrepancy margins can be seen between her predicted scores and her actual WIAT-I11 Basic Reading
Composite and Reading Comprehension-Fluency Composites with even larger discrepancies based on her GAi
score. Jessica's history and pattern of reading scores indicate and warrant a diagnosis of Specific Learning
Disorder with impairment in reading that involves reading rate, reading fluency and reading comprehension.
Her impairment in reading is exacerbated by the effects of ADHD. The severity of her impairment in reading is
severe.

pouble the usual time for any timed test is recommended because of Jessica's very slow reading speed and
difficulty comprehending the content of passages. The letter of September 11, 2018, from Dr. Farmer denying
extended time stated that the 2017 evaluation by Dr. Lewandowski reported that "your reading, spelling and
arithmetic are normal to above normal."          However, the only test of her reading skills used by Dr.
Lewandowski was the Wide Range Achievement Test-4th Edition (WRAT-4), which does not measure reading
speed, reading fluency or the impact of these on comprehension. The WRAT-4 is considered to be an
insufficient instrument as the primary assessment of reading, writing, or math skills. The USMLE Guidelines
for Testing Accommodations specifically states, "The Nelson-Denny Reading Test (NDRT) and Wide Range
Achievement Test (WRAT) are not comprehensive diagnostic measures of achievement and therefore neither
is considered acceptable if used as the sole measure of reading ability or academic skills."

Dr. Farmer also stated that "documentation does not demonstrate a developmental history of impaired
scholastic skills." Although not formally identified in her academic records, the records she provided this
examiner reflect specific statements by her (and referred to in Dr. Lewandowski's report) about the difficulty
she experienced from her earliest elementary years in acquiring reading and writing skills. Dr. Farmer cited
her high school grade point average as proof that she did not reflect developmental history of impaired
academic functioning when in fact she stated that she achieved her high grades because of the inordinate
amount of time she had to devote to school work when compared to other students, as well as the informal
accommodations she received. Dr. Farmer further cited her scores on the ACT and MCAT as proof that her
academic functioning was not impaired. The ACT and MCAT are not comprehensive diagnostic measures of
reading or other academic skills any more than the WRAT is, and the scores she managed to attain are as




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. ,,,.,.--lnuch a reflection of the compensatory effects of her superior intellect rather than an absence of reading
           impairment. While her scores on the ACT and the MCAT were good, she may have scored significantly higher
           if she had taken these tests with accommodations of a separate room and extended time. Consequently, the
           ACT and MCAT scores do not provide an indication of the negative impact of her reading disability.

    It is noteworthy that recent students with her MCAT score, while good at the 79 th percentile combined with
    her college GPA, only had an acceptance rate of 38% according to the Association of American Medical
    Colleges. Dr. Farmer also stated in reference to Dr. Lewandowski's evaluation that "Your evaluator's
    conclusions not withstanding, he reports that her performances on a computerized measure of attention-
    related problems, the Conners Continuous Performance Test Third Edition (CPT-3} are normal." However,
    according to a leading ADHD researcher and specialist, " ... a sizable minority of adults with ADHD can perform
    these tests sufficiently well to make for an unacceptable level of false negatives for these tests." 1 The DSM-5
    specifically states that, "Inattentive behavior is associated with various underlying cognitive problems on tests
    of attention, executive function, or memory, although these tests are not sufficiently sensitive or specific to
    serve as diagnostic indices." Consequently, neuropsychological tests including continuous performance tests,
    can provide supplementary evidence for ADHD, but seemingly normal performance cannot be used to rule out
    the condition.                ·

   Jessica's writing skills are in the middle of the average range compared to other adults her age as measured by
   the WIAT-11I Written Expression Composite score of 100, which is as high or higher than 50% of other adults
   11er age. The subtests and component scores are also within the average range for her age. Consequently, a
   )ecific learning disorder with impairment in written expression is not indicated. However, Jessica's WIAT-111
   Written Expression Composite score of 100 is signifi cantly below an expected score of 119 pred icted by her
   GAi score of 132 and by an uncommon margin estimated to occur in 10% or less of the general population.
   This pattern represents a significant relative weakness performing writing tasks, which is presumed to be a
   consequence of her reading disorder and the ADHD. Jessica can be expected to be relatively slow at organizing
   and expressing her thoughts in writing at a level commensurate with her intelligence, which is reflected in the
   distinct weakness she exhibited with general processing speed as measured by the WAIS-IV. Consequently,
   additional time is needed on writing tasks in order to perform at a level commensurate with her intelligence.

   Jessica Ramsay is a 28-year-old, single female medical student with superior intelligence who has a long
   history of inattention, distractibility and hyperactivity that have significantly interfered with academic
   functioning since early childhood. Jessica has been able to perform well academically, but has had to rely on
   extraordinary compensatory strategies in order to do so. Jessica's academic and behavioral history reflect
   DSM-5 diagnostic criteria indicating ADHD, Combined Presentation.

   Jessica reported often experiencing 17 of the 18 DSM-5 criteria symptoms associated with ADHD that have
   persisted for at least the past six months with most having been present since her earliest years in school. The
   persistently frequent manifestation of these symptoms was corroborated by her mother and her fiance. On a

   1 Barkley, R., Murphy, K., Fischer, M. (2008). ADHD IN ADULTS: What The Science Says (p. 433). New York, NY: The Guilford

   Press.




                                                          Appx1502                                                   NBME00073
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systematic rating score of the frequency of occurrence of the DSM-5 ADHD symptoms, Jessica endorsed 17
(her mother, 14 and fiance, 11) of the 18 criteria that are associated with a diagnosis of ADHD. Only 5
inattention or 5 hyperactive-impulsive symptoms are required to be frequently and persistently present over
the previous six months. The ADHD symptoms described or endorsed by Jessica, her mother and fiance are
prominently exhibited at school, at her home and with her interpersonal relationships. These symptoms were
reported by Jessica and corroborated by her mother to have interfered with and reduced the quality of her
academic functioning and her daily adaptive functioning since her earliest school years.

 The available school records do not clearly reflect academic struggles in elementary, middle or high school,
  but this is a result of the family obtaining help on an informal basis, which was very successful in preventing
  poor academic grades, and therefore masked the degree of struggle Jessica experienced during these years.
  In addition, the specificity of Jessica's descriptions, which are corroborated by her mother, attest to the
  presence of such struggle. Although Jessica has worked hard at compensating for her deficits, her symptoms
  have continued to significantly interfere with her life. Results of the IVA+Plus, a computerized test of
 sustained attention and distractibility, reflect a severe impairment compared to other adults her age. In
 addition, her WAIS-IV Processing Speed Index score at only the 8th percentile for her age reflects a weak
 cognitive efficiency highly associated with ADHD. Jessica's symptoms are not better explained by any other
 psychiatric or medical condition. Her medical exams with her physician do not indicate a physical disorder or
 disease other than ADHD and a Specific Learning Disorder with impaired reading that would account for her
 ADHD symptoms or academic difficulties, Jessica's mental status and the magnitude of her psychological
;symptoms do not indicate a psychological condition seve re enough to account for her ADHD symptoms or her
 )cademic difficulty. Jessica has also experienced longstanding feelings of discouragement, frustration, and
 anxiety which are best understood to be a direct secondary consequence of her underlying ADHD symptoms.
 Consequently, a diagnosis of ADHD, Combined Presentation is warranted in addition to a Specific Learning
 Disorder with impairment in reading.




Diagnosis: DSM-5 criteria synchronized with ICD-10-CM numerical coding

    1. Specific Learning Disorder with impairment in reading (developmental dyslexia):                          reading
       comprehension, severely impaired reading rate and fluent word recognition, 315.00 (F81.0)

    2. Attention-Deficit/Hyperactivity Disorder Combined Presentation 314.01 (F90.2)




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Recommendations:

    1. Jessica's pattern of reading and writing scores is typical of the intelligent dyslexic reader who struggles
       with effic;ient decoding and processing of the printed words, but can use her intelligence to
       substantially compensate and extract seemingly adequate comprehension from passages. However,
       the intelligent dyslexic reader's reading comprehension is fragile and susceptible to abrupt lapses and
       failure that interferes with academic achievement commensurate with her intelligence. Jessica's level
       of reading impairment is severe and can be expected to significantly and substantially interfere with
       educational efforts without accommodations such as extended time. Her impaired reading skills
       significantly interfered with her performance on the Nelson -Denny Reading Test because of the
       standard time limit. Jessica correctly answered most of the items she attempted on Nelson-Denny
       Reading Test, but she indicated this required her to reread passages multiple times in order to gain
       adequate comprehension. Consequently, her percentile rank scores were severely limited because of
       the time constraints. Jessica correctly completed 94% of the Comprehension items she attempted, but
       was only able to attempt 47% of the Nelson-Denny Comprehension items during the standard time
       limit.

       Consequently, it is recommended that Jessica receive at least double the standard time allowed for
       tests and exams. Any classroom test or standardized test administered without the accommodation of
       extended time (double) will not be an accurate and valid measure of Jessica's knowledge in a given
       area. Likewise, Jessica's weakness in writing can be expected to significantly and substantially interfere
)      with educational and assessment efforts without accommodations such as extended time. Any tests
       administered without extended time (at least double) should be regarded a significant and substantial
       under-representation of Jessica's actual abilities and knowledge, which impairs her access to the exam.
       Therefore, it is also recommended that at a minimum she be allowed extended time (double the
       standard time) for any classroom tests, standardized tests and classroom assignments.

    2. At least 100% additional test time (double time) is also recommended because of her inattention,
       distractibility, and slow information processing. This should be used in conjunction with a private, quiet
       room and additional break time to address basic needs and to adequately manage ADHD symptoms
       and her medical disorders. Any test administered without these accommodations will not be an
       accurate measure of what she knows about the subject being assessed.

    3. The use of a computer, computer word-processing software with spell-check, and extended time is
       recommended for any classroom tests or standardized tests that involves writing. The extended time
       is also necessary to adequately utilize any assistive technology for reading and writing.

    4. Reading material should also be provided to Jessica in audio recorded format. An online certification
       has been completed to allow her to apply for a Learning Ally (learningally.org) membership.




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   5. Tutorial support and assistance from the college academic support services for her reading and writing
      problems is recommended as needed to help Jessica function at a level commensurate with her
      intellectual abilities.

   6. Remedial reading instruction following the Orton-Gillingham approach may be beneficial for her
      dyslexia and is recommended for consideration. This is available through MDI. However, this is a slow
      process and unlikely to benefit her while she is in medical school. Also, improvement of reading
      fluency is uncertain and it is unknown what benefit, if any, she may obtain from such instruction.

   7. Continue treatment through her physician for ADHD with medications such as Concerta, Adderall,
      lntuniv, Strattera, Vyvanse, Wellbutrin or Provigil.




Robert D. Smith, PhD
Licensed Psychologist
Neuropsychologist




                                               Appx1505                                              NBME00076
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                                                  ROBERT D. SMITH, PH.D.


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Birthdate: January 11, 1950                                                      Marital Status: Married

                                                 www.neuro-psychologyservices.com

                                                            EDUCATION

Ph.D. Counseling Psychology (AP A Approved)                 Michigan State University                                 1984
M.A. Clinical Psychology                                    Central Michigan University                               1974
B.S. Psychology                                             Central Michigan University                               1972
Certificate of Specialization in Clinical Neuropsychology   Fielding University                                       1999
(2yr post-doctoral)

                                                             LICENSE

                   Fully Licensed Psychologist, Board of Psychology, State of Michigan License# 6301003249

                                                   PROFESSIONAL EXPERIENCE

Michigan Dyslexia Institute                            Psychologist                                           1994-Present
532 Shiawassee Street Lansing, MI 48933
3384 West 12 Mile, Berkley, MI 48072
  Consultant -Conduct neuropsychological assessments of children and adults with central nervous system dysfunction: learning
  disorders, ADHD. 25 hours per week.

Independent Private Practice                              Psychologist                                        1992-Present
  Neuropsychological Assessment of children and adults with traumatic brain damage, brain damage due to toxic and
  disease. Individual Psychotherapy with adolescents and adults. 25 hours per week

Okemos Counseling Center                                 Psychologist                                          1991-199?
4123 Okemos Rd. Okemos,MI 48864
  Psychological Assessment and Psychotherapy with adults

Michigan Psychotherapy                                  Psychologist                                            1988-1991
335 N. Seymour Lansing, MI 48933
  Psychological Assessment, Individual and Group Psychotherapy, Supervision of other staff psychologists and interns.

Psychological Counseling Center                         Psychologist                                           1986-1988
1004 W.Michigan Ave. Jackson,MI 49202
 Psychological Assessment, Psychotherapy with children and adults

Ingham County Community Mental Health
808-B Southland Lansing, MI 48910                        Psychologist                                          1977-1988
  Psychological Assessment, Individual and Group Psychotherapy, Consultation with social services, vocational rehabilitation
  services and physicians. Supervised doctoral psychology interns and taught weekly psychotherapy seminar for AP A
  Approved Professional Psychology Internship.

Huron County Community Mental Health
Bad Axe, Michigan 48413                                 Psychologist                                             1974 -1976
 Psychological Assessment, Individual and Group Psychotherapy, play therapy, crisis intervention, consultation with public
 schools and with the agency supported pre-school program and consultation with the partial hospitalization program.

Central Michigan University                                Graduate Assistant                                    1972 -1974
  Lectured undergraduate students in psychological testing, prepared presentations and graded papers

                                                   COMMUNITY INVOLVEMENT

Member, Mothers Against Drunk Driving-Ingham County Chapter                                                     1992 -1994
Board of Directors, Mothers Against Drunk Driving-Ingham County Chapter                                         1990 -1992
Board of Directors, Lansing Concert Band                                                                        2005- 2007


                                               PROFESSIONAL AFFILIATION
                               American Psychological Association, Division:Neuropsychology
                                         National Academy ofNeuropsychology




                                                       Appx1506                                                       NBME00077
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                                                 Confidential
February 14, 2019



Via E-mail to jessica.ramsay@med.wmich.edu
Jessica E. Ramsay
6862 Tall Oaks Dr
Apt 3B
Kalamazoo, MI 49009

RE: USMLE Step 1                                   USMLE ID#: 5-366-431-4

Dear Ms. Ramsay:

We have thoroughly reviewed your request for reconsideration of our decision regarding test accommodations for
the United States Medical Licensing Examination (USMLE) Step 1. We conducted an individualized review of
your request and supporting documentation in accordance with the guidelines set forth in the Americans with
Disabilities Act (ADA).

The NBME carefully considers all evidence in determining whether an individual is substantially limited within
the meaning of the ADA and what, if any, accommodations are appropriate to the particular Step exam context.
Submitted documentation including the individual’s personal statements; letters from providers and advocates;
and objective information such as school records and scores obtained on high stakes tests taken with and without
accommodations are thoroughly reviewed.

Supporting documentation submitted from qualified professionals is a necessary part of any request for
accommodations and is carefully reviewed by the NBME. Though not required to defer to the conclusions or
recommendations of an applicant’s supporting professional, we carefully consider the recommendation of
qualified professionals made in accordance with generally accepted diagnostic criteria and supported by
reasonable documentation.

In a November 6, 2018 report of Neuropsychological Evaluation for Learning Problems, Robert D. Smith, Ph.D.
writes that you sought evaluation as part of your appeal for testing accommodations for the USMLE. Dr. Smith
writes, “Jessica’s basic reading skills are within the average range when not limited by time restriction as
measured by the WIAT-III Basic Reading Composite score of 96, which is higher than 39% of other adults her
age…The WJ-4 [sic] Reading Rate Cluster and the Nelson-Denny Reading Test are measures of silent reading
fluency that rely on the number of correct responses to reading comprehension items competed within a time
limit…Jessica was only able to read three of the seven NDRT passages and attempted only 47% of the 38
Comprehension items on the standard-time Comprehension administration. She correctly answered 94% of the
Comprehension items she attempted…In addition, Jessica’s Nelson-Denny Rate score was lower than 99% of high
school seniors…Jessica’s pattern of reading scores is consistent with the pattern typically exhibited by dyslexic
readers who have developed strategies to compensate for their reading impairment...She has been able to acquire
an average level of reading comprehension skills when allowed sufficient time to employ compensatory strategies,
but exhibits persistently impaired reading rate and reading fluency compared to other adults her age, as reflected
on WJ-4 [sic] Reading Rate Cluster, the GORT-5 Fluency and the Nelson-Denny Rate and
Comprehension…Jessica has been able to perform well academically, but has had to rely on extraordinary
compensatory strategies in order to do so.”


                                          Ramsay v. NBME - Exhibit D



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Although your evaluator appears to accept your exceptionally low scores on timed reading tests administered for
the purpose of requesting test accommodations as valid and credible, your average and above average range
performances on timed standardized tests taken for the purpose of gaining admission to college and medical
school demonstrate that your skills are better than most people in the general population. Regarding your
performance on the MCAT taken under standard time conditions, Dr. Smith reports that you relied on strategies
such as answering questions before reading the passages, a common strategy recommended by prep courses and
utilized by savvy students. He writes, “…Jessica was able to obtain a good score in the 79th percentile (30M) of
students who take the exam. This, however, was not the exceptional MCAT scores that would have been expected
with her intelligence and understanding of the material. Jessica’s performance on the MCAT component sections
reflected her relative weakness specific to reading tasks with a Verbal Reasoning score at the 67th percentile, a
Physical Sciences score at the 79th percentile and a Biological Sciences score at the 88th percentile…While her
scores on the ACT and the MCAT were good, she may have scored significantly higher if she had taken these tests
with accommodations of a separate room and extended time.”

It’s not uncommon for students to feel disappointed when they do not achieve the score they expected and believe
that they could or would have obtained an exceptional score with additional testing time. Benefiting from
additional time is not evidence of need for accommodations or evidence of a disability. Research shows that
extended time accommodations benefit students without1 disabilities, and are viewed as beneficial by most
nondisabled postsecondary students2 contemplating taking high-stakes standardized tests.

Accommodations are provided when there is clear and credible documentation of functional impairment and a
rationale to demonstrate that the requested accommodation is appropriate to the setting and circumstance. Your
documentation with regard to learning disabilities and ADHD offers no objective evidence of impaired reading or
pervasive ADHD symptoms that limited any major life activity compared to most people in the general
population. Your request for reconsideration provided no new substantive information or evidence that alters our
decision communicated in my September 11, 2018 letter notifying you that you that we will provide the following
accommodation(s) for the USMLE Step 1 for which you are currently registered:

x   Additional break time - testing over two days: The exam will be administered over two days. Day one
    will be 5 hours in length and will include a 15 minute tutorial and 7 blocks with approximately 20 questions
    per block. Day two will be 4 hours 45 minutes in length and will include 7 blocks with approximately 20
    questions per block. You will have up to 30 minutes to complete each block. You will receive 75 minutes of
    break time each day, including lunch. You may use break time as needed between blocks. If you complete
    the tutorial or an examination block in less time than allotted, the unused time will be added to your available
    break time.

x   Separate testing room in which you may stand, walk or stretch during exam

x   Permission to read aloud

Sincerely,



Catherine Farmer, Psy.D.
Director, Disability Services
ADA Compliance Officer, Testing Programs

C: Lawrence D. Berger, Esq. via e-mail to larry@rcglawoffices.com




1
 See, for instance, Cahan, S., Nirel, R., & Alkoby, M. (2016). The Extra-Examination Time Granting Policy: A
Reconceptualization. Journal of Psychoeducational Assessment, 34(5), 461-472.
2
 See Lewandowski, L., Lambert, T. L., Lovett, B. J., Panahon, C. J., & Sytsma, M. R. (2014). College students’ preferences for test
accommodations. Canadian Journal of School Psychology, 29(2), 116-126.
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LOA Paperwork & Documents




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From:               disabilityservices@nbme.org
To:                 jessica.ramsay@med.wmich.edu
Cc:                 larry@rcglawoffices.com
Subject:            RE: USMLE Step 1 USMLE ID#: 5-366-431-4
Date:               Wednesday, March 27, 2019 1:32:19 PM




ref:_00D46pfBg._5004A1awCpn:ref

RE: Step 1                    USMLE ID#: 5-366-431-4

Dear Ms. Ramsay:

We are in receipt of a letter dated March 19, 2019 from your attorney, Mr. Lawrence D. Berger, requesting further
reconsideration of our decision regarding test accommodations for the USMLE Step 1 communicated in our letters
of September 11, 2018 and February 14, 2019. Although my February 14, 2019 letter is clear with regard to the
utility of the exceptionally low scores obtained by Dr. Smith in 2018, it bears repeating. Although your evaluator
appears to accept your exceptionally low scores on timed reading tests administered for the purpose of requesting
test accommodations as valid and credible, your average and above average range performances on timed
standardized tests taken for the purpose of gaining admission to college and medical school demonstrate that your
skills are better than most people in the general population.

No new information or supporting documentation was provided for our review or reconsideration. Nevertheless, as
requested, Mr. Berger's March 19, 2019 letter has been forwarded to counsel.

All of your submitted documentation, including Dr. Smith's 2018 report of evaluation, was thoroughly reviewed and
carefully considered. Our reviews resulted in approval of additional break time over two days and a separate testing
room in which you may stand, walk, or stretch during the exam, as well as permission to read aloud. Our records
show that you are currently registered for Step 1 with an eligibility period of April 1 through June 30, 2019 and that
your scheduling permit was issued to you on or about February 22, 2019.

Sincerely,
Catherine Farmer, Psy.D.
Director Disability Services
ADA Compliance Officer, Testing Programs
NBME


This email message and any attachments may contain privileged and/or confidential business information and are
for the sole use of the intended recipient(s). Any unauthorized review, use, disclosure or distribution is prohibited. If
you are not the intended recipient, please notify the sender immediately by reply email and destroy all copies of the
original message and any attachments.

--------------- Original Message ---------------
From: Lawrence D. Berger [larry@rcglawoffices.com]
Sent: 3/19/2019 10:02 AM
To: disabilityservices@nbme.org
Cc: jessica.ramsay@med.wmich.edu
Subject: Appeal of Jessica Ramsay, USMLE Step 1, USMLE ID# 5-366-431-4

<<...>>

Attention: Dr. Farmer

Dear Dr. Farmer:




                                            Ramsay v. NBME - Exhibit F



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I am attaching to this e-mail my letter requesting further reconsideration of Ms. Ramsay?s request for extended
testing time. A hard copy is also being sent to you by Priority Mail.

For the reasons stated in the letter, I am requesting that NBME give prompt and meaningful consideration to the
information in Dr. Smith?s report that has not been addressed, and also refer this matter to NBME?s trial attorney to
avoid further delay.

Respectfully,

Lawrence D. Berger

Of Counsel

Reisman Carolla Gran & Zuba LLP

Email: Larry@rcglawoffices.com

Phone: 856-354-0021




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     An Investigation of Methods to Detect Feigned Reading Disabilities
                 Allyson G. Harrison*, Melanie J. Edwards, Irene Armstrong, Kevin C.H. Parker
                                       Department of Psychology, Queen's University, Kingston, Ontario, Canada                                            0

        *Corresponding author at: Department of Psychology, Queen's University, Kingston, Ontario, Canada K7L 3N6. Tel.: +1-613-533-6311;                 ~
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                                    fax: + 1-613-533-6564. E-mail address: harrisna@queensu.ca (A.G. Harrison).                                           0
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Abstract

   No clinically proven method currently exists to determine if a test taker is feigning or exaggerating symptoms of a specific reading dis-
ability (RD) for potential secondary gain (i.e., extra time on examinations, access to bursary funds, or tax benefits). Our objective was to
examine the utility of previously proposed symptom validity measures (i.e., the Dyslexia Assessment of Simulation or Honesty [DASH]
and the resulting Feigning Index [FI]) in discriminating students with genuine RDs from sophisticated simulators given ample time to
prepare, who were warned that noncredible performance could be detected. The DASH correctly classified almost 83% of coached simulators
with no false positives. The FI accurately classified 86% of post-secondary students feigning RD without misidentifying any students with a
genuine RD, resulting in 91.8% overall classification accuracy. These two methods show promise as a means of detecting noncredible per-
formance in the assessment of RD.

Keywords: Developmental and learning disabilities; Malingering/symptom validity testing; Assessment




Introduction

   Students with disabilities are entering the post-secondary educational sector in increasing numbers (Blackorby & Wagner,
1996; Canadian Association of Disability Service Providers in Postsecondary Education, 1999; Harrison & Wolforth, 2006;
McGuire, 1998). Within this population, learning disorders (LDs) are the most frequently accommodated disabilities, affecting
almost half of all students receiving services (Harrison & Wolforth, 2006; Ministry of Training, Colleges and Universities,
2008). Normal learning is affected in these individuals due to impairments of neuropsychological processes (Ghelani,
                                                                                                                                                         (;.)
Sidhu, Jain, & Tannock, 2004; Kibby, Marks, Morgan, & Long, 2004; Leaming Disabilities Association of Ontario, 2003).                                    z
When those impairments are well accommodated, learning improves substantially. Because of the potential economic and aca-                                0
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demic benefits of obtaining an LD diagnosis, concerns have been raised regarding the possibility that unimpaired students                                3
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might feign LDs in order to gain access to these accommodations and supports (Hanison, Edwards, & Parker, 2007;                                          ~
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Mullis, 2003; Sullivan, May, & Galbally, 2007).                                                                                                          ~
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   Students may exaggerate symptoms for a number of reasons and may not always qualify for the label of "malingering"
(Kane, 2008). For instance, students seeking updated psychoeducational assessments may b e motivated to exaggerate or
magnify actual symptoms in order to ensure retention of accommodations provided to them throughout their high-school
career (Harrison, Larochette, & Nichols, 2007). These students often come to rely on accommodations such as extra time
and a computer and may fear losing them if they now perform adequately on tests of reading speed or decoding. This is of
considerable concern because low motivation to perform optimally may invalidate test results and reduce the diagnostic accu-
racy. Another factor that may interfere with accurate interpretation of test scores and, consequently, incorrect diagnosis is
unwillingness to put forth good effort on activities that are frustrating or unappealing (Adelman, Lauber, Nelson, & Smith,
1989).
   Until recently, most clinicians assumed that students could not feign a specific LD, such as a reading disability (RD; Alfano
& Boone, 2007), and that the base rate for such malingering in psychoeducational assessments was very low; however, this has

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9oi:10.1093/arclin/acpl04 Advance Access publication on 10 January 2010

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proven not to be the case. Indeed, Sullivan and colleagues (2007) demonstrated that approximately 16% of post-secondary
students undergoing evaluations for LD at their clinic failed a relatively easy symptom validity test (SVT), calling the
reliability of their remaining scores into question. Similarly, Harrison, Edwards, and Parker (2008) demonstrated that psycho-
logical tests commonly employed in the assessment of RD can be easily manipulated by those instructed to feign a disability.
For example, on tests of reading speed, phonological decoding, and visual processing, such students returned scores that were
equally or more impaired than those produced by students with genuine RD. This clearly demonstrates the need for an SVT
specific to those feigning or exaggerating symptoms of an RD and supports the position taken by Alfano and Boone (2007,
p. 373) that "Effort in specific populations is best detected by tests designed to address layperson notions of the deficits associ-
ated with that population's disorder". Not only will development of such an RD-specific SVT improve diagnostic accuracy, but
it will also ensure that those who are not truly disabled cannot easily obtain the academic accommodations, financial supports,
and other secondary gains derived from being given this diagnosis. A meta-analysis conducted by Alfano and Boone (2007)
found that base rates of malingered LD and/or ADHD in post-secondary settings may equal those found in the medical-legal
arena, indicating that the incidence of feigned RD is much greater than initially suspected.
    In the field of neuropsychology, it is now generally accepted that SVTs must be included in any assessment occurring in a
medico-legal or disability-application context (Bush et al., 2005; Green, 2007; Green et al., 2001; Iverson, 2007; Larrabee,
2003). Unfortunately, most of the currently published tests of effort or symptom validity were developed in the context of eval-
uating individuals feigning memory impairments and may therefore not be sensitive to individuals feigning a specific RD
(Alfano & Boone, 2007). Given that students are successfully able to feign many symptoms of RD (Harrison et al., 2008),
the question that remains is how best to identify such behavior when it occurs, so as to accurately interpret test scores.
    Osmon, Plambeck, Klein, and Mano (2006) were the first to investigate ways to identify those feigning a reading disorder. In
their study, two simulation groups were instructed to feign either reading speed or word decoding impairments. When com-
pared with students told to exert good effort, students simulating an RD showed poor performance on a widely used neurop-
sychological SVT (Green's Word Memory Test [WMT; Green, 2003]). However, although scores on the WMT were highly
specific (96%), they were relatively less sensitive to malingering of RD (65%). In contrast, Osmon and colleagues demon-
strated that an experimental SVT, the Word Reading Test, was 90% sensitive in identifying reading simulators and 74% sensi-
tive to speed simulators as well, both with 100% specificity. These researchers concluded that the Word Reading Test was more
effective than the WMT in detecting feigned RD and advised that any SVT developed to identify individuals feigning RD must
address the layperson's notion of how this disorder presents itself.
    A similar study was conducted by Frazier and colleagues (2008), in which they demonstrated that two commonly used
SVTs (the Victoria SVT [Slick, Hopp, Strauss, & Thompson, 1997] and the Validity Indicator Profile [Frederick, 2003])
could both differentiate simulated RD students from honest respondents at fairly high rates of specificity and sensitivity.
The difficulty with both of these studies, however, is that neither included individuals with RD to ensure that these SVTs
are insensitive to the actual cognitive impairments demonstrated by those with this condition. In other words, any SVT to
be employed in identification of those feigning or exaggerating symptoms of RD must also ensure a low or nonexistent false-
positive rate.
   The Dyslexia Assessment of Simulation or Honesty (DASH) and the Feigning Index (FI) derived from it have already shown
promise as measures of malingered dyslexia, at least in a preliminary investigation (Harrison et al., 2008). The premise of the
DASH is based on the work of Rawlinson (1976), who found that scrambling letters in the middle of words (leaving the first
                                                                                                                                        w
and last letters in place) had little or no effect on the ability of skilled readers to understand the text. Davis (2003) expanded on   z
this early research and noted that adults can read mixed-up words if they are small, if key letters are kept together (like "sh" or
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"th"), or if the word cannot be confused with many other words. The DASH presents Grade 3 reading level passages adapted                3
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from the Gray Oral Reading Test (Wiederholt & Bryant, 2001) that have been randomized in either an easy (letters scrambled              ~
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according to the principles identified by Davis) or difficult (letters within words scrambled randomly) manner, and also                0
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includes two timed practice trials (one with nonscrambled words and one with scrambled words). These passages are presented
on paper to subjects, who are instructed to unscramble the words and read the passages out loud as quickly as possible.
Although this task appears difficult, preliminary investigations showed that post-secondary level students with RD did not
find the practice and easy passages challenging to read and that their rate and accuracy were not substantially different
from that of their nondisabled peers (Harrison et al., 2008). In contrast, students feigning RD read these passages more
slowly and made significantly more errors on other commonly used achievement tests than did either controls or true RD
students.
    Harrison and colleagues (2008) developed an FI derived from the DASH and other achievement test scores to compare
the performance of both honest responders and students diagnosed with RD to those obtained from analog malingerers
asked to feign symptoms of RD. Initial piloting of the DASH showed that although it was not able to accurately
identify all naive simulators feigning RD, the FI demonstrated a 75% hit rate and a 0% false-positive rate. Although a strength




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in the design of this initial study was the inclusion of actual students diagnosed with RD, it remains unclear whether the FI
is able to identify the efforts of more sophisticated malingerers who have researched ways of successfully feigning
symptoms. Moreover, recent research suggests that coached simulators in other contexts may be better able to feign a
disability and avoid detection (e.g., Frederick, Sarfaty, Johnston, & Powel, 1994; Inman & Berry, 2002; Martin, Bolter,
Todd, Gouvier, & Niccolls, 1993; Orey, Cragar, & Berry, 2000; Shum, Gorman, & Alpar, 2004). Further replication of
these findings using a different sample of students with RD, as well as a more sophisticated group of malingerers, was therefore
necessary.
   The present study sought to validate the DASH and the FI to determine how well they could identify individuals who had
taken time to research ways to feign RD. We expected that students who invested more time and effort exploring means of
feigning RD would be able to avoid detection, especially if they were informed ahead of time that noncredible performance
could be detected. It was thought that the DASH and the FI would be less sensitive to these sophisticated simulators compared
with the scores returned by naive simulators as reported by Harrison and colleagues (2008) and that the scores obtained by
the sophisticated malingerers on achievement and processing tests would more closely mirror those returned by students
with true RD.




Materials and Methods

Participants

    We recruited two groups of students for the present study, none of whom had been included in the earlier study investigating
the DASH. Students in both groups consented to participate in the present ethics-approved study: Group 1 were reading dis-
abled students (n = 20) diagnosed at a university-based regional assessment center between 2008 and 2009; Group 2 were
sophisticated malingerers (n = 29), comprised of upper year education or psychology students who had received a l-hr
guest lecture on learning disabilities and then were invited to take part in a study evaluating their ability to successfully
feign an RD. Although each subject in the sophisticated malingering group was informed they would be paid $10 for their
participation, they were additionally motivated to perform well by hearing that they could double this amount if they performed
in a manner that was credible and avoided detection of malingering (c.f. Frederick et al., 1994; Inman & Berry, 2002; Martin
et al., 1993; Orey et al., 2000; Shum et al., 2004). However, all participants received $20 after they completed the task regard-
less of performance.
    None of the sophisticated malingerer group had a current diagnosis of a learning disability nor was any receiving scholastic
accommodation, but one participant had been diagnosed with a learning disability at an earlier time. (This participant self-
described as a good reader, spoke English as a first language and did not have family members with a learning disability.)
All of these students enjoyed reading and only one participant self-described as a poor reader. Two participants' first language
was not English and one of these participants also read first in a language other than English. Three participants had family
members with a learning disability. These participants were not excluded from the analyses because persons who already
have some understanding of reading problems might in fact be better able to dissimulate.
                                                                                                                                    w
    Twenty students were diagnosed with a reading disorder at our clinic during the span of the study, and all agreed to par-       z
ticipate. RD students in Group 1 had met the DSM-IV diagnostic criteria for a reading disorder, demonstrating a significant         ~
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discrepancy between measured intellectual functioning and actual academic achievement. In addition, they also met the               3
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more stringent Leaming Disabilities Association of Ontario (2003) definition of a specific RD, which requires there also be         ~
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evidence that the academic discrepancy is logically related to measurable deficits in the processes underlying reading (e.g.,       0

phonological awareness, naming, or processing speed (PS]). All tests except the DASH had been administered prior to diag-
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nosis. In an effort to ensure that the pattern of test scores obtained from those with RD was an accurate reflection of actual
ability, the validity of the obtained test scores for this group was initially evaluated using the Slick, Sherman, and Iverson
(1999) criteria. A diagnosis of RD was rendered only if the subject failed to show evidence of malingered neurocognitive dys-
function, assessed in part by the Green WMT (Green, 2003), an instrument that has been used in many other studies as a proxy
measure of test taking effort (e.g., Bauer, O'Bryant, Lynch, McCaffrey, & Fisher, 2007; Flaro, Green, & Robertson, 2007;
Iverson, Green, & Gervais, 1999; Suhr et al., 2008; Sullivan et al., 2007). In other words, failure on this or any other of the
criteria outlined by Slick and colleagues meant that a diagnosis was not provided as their was reasons to suspect that low
effort or motivation may have negatively influenced test performance (c.f. Green, Rohling, Lees-Haley, & Allen, 2001).
Furthermore, as an additional safeguard to ensure honest responding, the DASH was administered to RD students only
after they had received a diagnosis and had been given their assessment report.




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Materials

    In order to estimate overall intelligence, the sophisticated malingering group completed the North American Adult Reading
Test (NAART; Uttl, 2002) before receiving specific study instructions. Research has generally reported moderately high cor-
relations between the NAART and the measures of general intellectual ability (Crawford, Stewart, Cochrane, Parker, & Besson,
1989; Strauss, Sherman, & Spreen, 2006; Wiens, Bryan, & Crossen, 1993). RD subjects had already been assessed with the
Wechsler Adult Intelligence Scale-III (Wechsler, 1997) as part of their evaluation, and so did not complete the NAART.
    Subjects in both groups (RD and sophisticated) completed the newly developed DASH (Harrison et al., 2008), which
involves subjects being asked to read.a series of Grade 3 reading level passages aloud as quickly and accurately as possible.
First, participants read a very short (40 words) nonscrambled practice passage (DASH A), followed by a short (52 words) prac-
tice passage (DASH B), where the letters in larger words are scrambled in an easy manner (e.g., baking spelled "bkaing"), but
with two- and three-letter words remaining unchanged, allowing for contextual clues to assist in reading the scrambled words
(e.g., "The boy was bkaing a cake for moethr"). Next, participants read a set of two scrambled reading passages. Passage 1 was
comprised of 104 words, and Passage 2 had 106 words. (To protect the integrity of the DASH, more detail about the content of
the passages has not been included in this paper. Interested readers may contact the corresponding author to obtain a copy of the
DASH.) Completion times for all of the DASH passages were recorded, as were the number of errors made, number of extra
attempts taken, and number of words skipped or passed. (Errors= words pronounced incorrectly; extra attempts= the extra
times words were read or partly read either correctly or incorrectly; skips= words inadvertently missed; passes= words
the subject openly said would be passed.)
   All participants also completed five subtests from the Woodcock Johnson Psychoeducational Battery-ill (WJPB-III;
Woodcock, McGrew, & Mather, 2001). The reading fluency (RF) test is a time-limited, norm-based measure of reading speed
and accuracy. Letter-word identification and word attack measure phonological processing and decoding skills when reading
regular and nonsense words, respectively. Weak ability in these areas is often used as evidence of RD. The PS index is comprised
of two timed measures, visual matching (VM), and decision speed (DS). The WJPB-III tests were chosen because academic
accommodations such as extra time are frequently recommended for students with RD on the basis of poor performance on
timed tests or reading and/or PS. It is also true that speed of information processing deficits have been implicated in LD
(Weiler et al., 2000), and it would be important to know how vulnerable such tests are to deliberate manipulation.

Procedure

   Students comprising the sophisticated malingering group initially met with a research assistant who first administered the
NAART and then provided them with test instructions. These included information regarding the secondary gains that may be
available to students who feign in a believable manner and instructions to use all resources available to them in an effort to
research how best to feign an RD in a nondetectable manner (i.e., without being caught; copies of the specific instructions
given to these participants may be requested from the corresponding author). We asked that they keep track of the websites
from which they derived their information. Similar to the Harrison and colleagues (2008) study, these students were also pro-
vided with the DSM-IV criteria for diagnosis of a reading disorder, and a list of common symptoms found in those with RD. All
other experimental tasks were administered to the sophisticated malingerers seven days later, after they had had time to
research reading disorders.
   Malingering participants completed the remaining tasks in the following order: The DASH, letter-word identification, word
attack, RF, VM, and DS. Participants were debriefed following completion of these measures. During the debriefing, partici-
pants were asked what strategies they used to fake RD, and these responses were recorded. They also answered four post-test
questions pertaining to strategies employed when feigning, perceived motivation associated with cash prize, perceived success
in feigning, and overall effort invested in the task.
    As noted above, all RD subjects had completed these same tests as part of their assessment and were given the DASH only
after being provided with a diagnosis of RD.

Results

    Table 1 shows the demographic information regarding these subjects. The mean level of intelligence in the two groups was
not significantly different, t25 = 1.58, p > .05. When scores were collapsed across all scales, the sophisticated malingerers
scored lower than the RD group on all WJPB-III scales, F(l, 45) = 63.6, p < .001, r = .77, Cohen's d = 2.4. Pairwise com-
parisons by subtest confirmed the difference (all ps :::: .001, see Table 2). Using the WJPB-III subtests, we found that the soph-
isticated malingerers were very good at appearing to have a reading impairment. Given, however, that there was almost no




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Table 1. Demographic details by instructional group

                                                               Group

                                                               Reading disabled                                               Sophisticated malingerers

n                                                               20                                                             29
Age
  M                                                             20.8                                                           20.7
  SD                                                             3.7                                                            1.9
  Min                                                           17                                                             19
  Max                                                           32                                                             28
Sex
  Percent men                                                   50                                                             34.5
  Percent women                                                 50                                                             65.6                       0
FSIQ/NAART                                                                                                                                                ~
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  M                                                            104                                                            108.5                       0
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  SD                                                            12.0                                                            5.5                       a.
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Table 2. Woodcock Johnson Test Battery Mean Scaled Scores and percentage of participants with scores less than 80 and 85, by group                        3

Group                                   Letter-word identification             Word attack              Reading fluency               Processing speed"

WJPB-III subtest
  Reading disabled                      85.1 (11.2)                            80.9 (11.8)              82.9 (8.5)                    93.3 (8.5)
  Sophisticated malingerers             65.6 ( 18.6)*                          64.7 (19.5)*             64.4 (8.6)*                   51.8 (21.1)*
Scaled scores cut at 80
  Reading disabled                         5 (25%)                                 9 (45%)                 9 (45%)                      0
  Sophisticated malingerers               19 (66%)*                               23 (79%)*               25 (86%)*                    26 (90%)*
Scaled scores cut at 85
  Reading disabled                         9 (45%)                                12 (60%)                13 (65%)                      2 (10%)
  Sophisticated malingerers               26 (90%)*                               25 (86%)*               25 (86%)*                    28 (97%)*

Note: WJPB-III = Woodcock Johnson Psychoeducational Battery-III. n = 20 for reading disabled and n = 29 for sophisticated malingerers. Values are given
in Mean scores (SDs).
"Combined score based on performance of WJPB-III visual matching and decision speed.
*RD - malingering difference significant at p ~ .01.

overlap in test scores between groups, they also appeared to overdo the degree of impairment demonstrated. Cut-off values
employed by Harrison and colleagues (2008) for the WJPB-III scaled scores (80 and 85) were again used as proxy measures
of impaired reading or processing, corresponding to scores below the l 0th percentile and scores greater than l SD below the
mean, respectively. Table 2 provides the percentage of each group flagged as having impaired functioning using both cut-off
scores. Of note, the sophisticated malingerers were successful at achieving low scaled scores on each of the four measures using
either cut point criterion. Indeed, 66% of the feigners scored below threshold on all four of the WJPB-III scales, whereas only
65% of the RD group scored below threshold on even one of the WJPB-III scales.
   Performance on the DASH items varied by group. As seen in Fig. 1, the sophisticated malingering group took more time
than the RD group to read both the practice and test passages. As shown in Fig. 2, the sophisticated malingerers made more
errors (p < .001), skips (p < .05), and extra attempts (p < .01) than did the RD group. In contrast, malingerers did not make
more passes than the RD group (p > .75).
   We used the raw DASH scores (i.e., time taken for each passage in seconds, number of errors, skips, extra attempts, and
passes made) in a discriminant function analysis to investigate classification accuracy of participants. Table 3 shows the
result of the "leave out one" classification. No RD participant was incorrectly defined as malingering, and a total of five mal-
ingerers were incorrectly defined as Honest, resulting in a total classification accuracy of 89.8%. Variables that contributed
most strongly to the discrimination included all of the variables that contribute to the FI were weighted highly in the DF A,
as was time to complete the difficult DASH passage. Variables related to the number of passes contributed minimally to
the final discrimination.


Feigning Index

   On the basis of a set of variables that best discriminated between the various groups, Harrison and colleagues (2008) derived
an FI from certain DASH variables as well number of errors and abnormally low scores from the WJPB. This index allowed for




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                                                            Reading isorder - P < .01
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                                                         Easy              Hard               Easy                  Hard
                                                                Practice                              Test Passage
Fig. 1. Reading time on the DASH items as a function of passage difficulty and group membership.




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                                          !                                           Passages         - p< .01
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                                                   Errors                  Skips              Extra                      Passes        3
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Fig. 2. Error measures on the DASH items as a function of passage difficulty and group membership.                                     0
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classification of an individual test taker as belonging to either the feigning or the honestly performing (including RD students)
group. The positive predictive value for this FI was 100%, with a negative predictive value of 65%.
    In the present study, the FI correctly classified 91.8% of the total sample with a positive predictive value of 100% and a
negative predictive value of 90% (Table 4). These figures were consistent with those reported by Harrison and colleagues.
Only four malingerers were incorrectly classified; of these, all but one produced a scaled score below 80 on WJPB subtests
for PS and RF, and only one had a score below 80 on WJPB subtests for letter-word recognition and word attack skills;
this increased to two participants when the cut score was set at 85. A chi-squared analysis C/ = 35.2 p < 0.001, Fishers
exact test p < 0.001) suggests that the rate of identification of feigners by the FI is better than one would expect by chance
alone even in the current sample where feigners outnumbered those with RD.




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Table 3. Discriminant function analysis using raw DASH values

Actual group                                                 Predicted group membership

                                                             Reading disabled (n   = 20)                                   Sophisticated malingerers (n = 29)

Reading disabled                                             20 (100%)                                                    0
Sophisticated ma! ingerers                                   5 (17.2%)                                                    24 (82.8%)
Sensitivity .828                                             PPV LOO                                                      Canonical correlation .806
Specificity 1.00                                             NPV .8                                                       Wilk's Lambda .351
df= 12                                                       p < .001
89.8% correctly classified                                   77.6% cross-validated

Notes: DASH= Dyslexia Assessment of Simulation or Honesty; PPV = the probability that an individual who receives a low score is actually malingering;
NPV = the probability that an individual with a normal score is responding honestly.                                                                              0
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Table 4. Discriminant function analysis using the Feigning Index                                                                                                 ru
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Actual group                                    Predicted group membership

                                                Reading disorder (n = 20)                        Sophisticated malingerers (n = 29)

Reading disorder                                20                                               0
Sophisticated malingerers                       4 (13.8%)                                        25 (86.2%)
Sensitivity= .862                               PPV = 1.00                                       Canonical Correlation = .889                        df= 1
Specificity = 1.00                              NPV= .901                                        Wilk's lambda= .210                                 p < .001

Notes: PPV = the probability that an individual who receives a low score is actually malingering; NPV = the probability that an individual with a normal score
is responding honestly. Overall cases correctly classified: 91.8%.




Table 5. Listing of the strategies (> 10%) used by malingering participants to appear dyslexic

Strategy                                                                                                                              Percentage of reporting

Reversed, mixed letters, and numbers                                                                                                  64.3
Use synonyms or made up words                                                                                                         57.1
Read slowly                                                                                                                           53.6
Read phonetically                                                                                                                     42.9
Skip words, letters, lines                                                                                                            39.3
Look/act stressed/distracted                                                                                                          25
Read haltingly, monotone                                                                                                              17.9
Be accurate with simple words                                                                                                         17.9
Perform better on nonword tests                                                                                                       10.7




Strategies Used by the Sophisticated Malingerers                                                                                                                 w
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   Participants in the malingering group were asked to describe the amount of time spent learning about RD, the amount of                                        Cl)
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effort they put forth, estimate their success at faking an RD, and whether or not the cash incentive motivated their efforts.                                    er
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Table 5 lists the strategies that were used by at least 10% of the group.                                                                                        N

   Scores on the FI were not associated with any of the following measures: Participants' estimate of their success at faking                                    ~
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dyslexia, the amount of time participants spent researching dyslexia, nor the motivational factor attached to the cash incentive.
However, the FI was associated with participants' perception of their effort. Those who perceived their effort to be highest also
scored higher on the FI (r = .39, p < .05). In other words, the harder participants felt they had tried to fake bad, the more easily
they were detected.


Discussion

   We sought to validate the DASH and the FI to determine how well these measures could identify individuals who had taken
time to research ways to feign RD in a credible manner in comparison with students with carefully diagnosed reading
disabilities.




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    In contrast to expectations, sophisticated malingerers were not good at avoiding detection, either by the DASH alone or by
using the FI. This was despite the fact that the sophisticated feigning group were better able to produce achievement scores
lower than those returned by students with true RD, meaning that on the basis of test scores alone these subjects would
have succeeded in feigning RD in almost all cases. The results of the present study therefore provide strong support for the
inclusion of an SVT when evaluating post-secondary students for the presence a reading disorder, and point to the vulnerability
of such tests to manipulation without the addition of valid measures of effort and motivation.
   The DASH appears to work well in large part because those feigning RD tend to overdo the symptoms they are producing,
and this tendency has been documented in feigning of other disorders (c.f. Liljequist, Kinder, & Schinka, 1998; Wiggins &
Brandt, 1988). In general, those feigning RD read even the easy, nonscrarnbled practice passages more slowly than did
almost all of the true RD subjects, and exaggerated their deficits in an even less credible fashion when asked to decode the
scrambled text. Hence, as is true of other popular SVTs, having normative data regarding the performance of those with a
true disability allows for even greater classification accuracy when identifying those who are feigning or exaggerating
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symptoms.                                                                                                                            :J
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    Although the DASH alone achieved an acceptable rate of classifying participants, the present study confirmed that the FI         Ol
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derived from DASH scores plus scores from commonly used WJPB-III subtests produced an even more accurate method of
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identifying students motivated to feign RD. Although the FI achieved a zero percent false-positive rate, it was also able to
accurately classify over 86% of the feigning subjects, a hit rate that is unusual for most SVTs. Further, the 100% positive pre-     ::;
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dictive value coupled with a high negative predictive value is consistent with the previous findings of Harrison and colleagues     "O
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(2008), indicating the excellent ability of the FI to provide an accurate means of identifying those feigning RD for some reason.    ~
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Although Osmon and colleagues (2006) were able to correctly classify between 74% and 90% of simulators in comparison with
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honest students, their experimental Word Reading Test has not yet demonstrated good specificity and sensitivity when discri-         3
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minating malingerers from genuinely disabled students.                                                                               0
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   Of those students who successfully avoided detection, one might suppose that they were not very motivated to feign in            "O
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general, and perhaps simply failed to follow the instructions and just answered all items honestly. This did not prove to be
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the case, as almost all of those who avoided detection by the FI produced scores on the WJPB subtests that fell within the          ()
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impaired range as defined in this study. Clearly, there are some students who are able to produce scores that would be              OJ
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interpreted as indicative of an RD and who would also evade detection using the FI. No observable pattern was found in              a·
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the present study to better identify these individuals; more research is therefore needed to help determine how best to             OJ
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detect such students.                                                                                                               ~
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   Clinicians may worry that the use of SVTs in psychoeducational assessments could wrongly accuse students of "faking;"
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however, the results of this investigation show that while simply using achievement scores can indeed result in misclassification   CJ1
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of true RD, inclusion of scores from an SVT such as the FI were extremely specific, correctly classifying 86% of the feigning       cxi
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group and 100% of the RD subjects. In this sample, no one would have been falsely accused.                                          w
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   The strategies employed by sophisticated malingerers in an effort to convincingly feign RD differed in interesting ways from     U1
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those used by the naive feigners in the Harrison and colleagues (2008) study. Indeed, sophisticated feigners reported that their
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main strategy was to either reverse or mix up letters or numbers, followed by using synonyms or made up words when reading.         C
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Reading slowly was a strategy employed by just over half of the subjects. In contrast, the main feigning strategy reported in the   ~
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original study (employed by 68% of the students) was to just read more slowly, followed by completing timed tasks more              :J

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slowly, mispronouncing words, or skipping words, sentences, or lines. This finding echoes that reported by Osmon and col-           z
leagues (2006) suggesting that there is no consistency with respect to strategies chosen by those attempting to feign RD,
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although all strategies employed seem to mirror the lay person's notions of RD. Given that not all who feign RD use the             3
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same strategy, it was encouraging to find such a high rate of identification when using the DASH and the FI and suggests            ~
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that these may be a useful adjunct to any assessment of such disorders.                                                             ~
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   Unlike studies of sophisticated malingering in the area of brain injury research (e.g., Inman & Berry, 2002; Martin et al.,
1993; Orey et al., 2000; Shum et al., 2004), the present study found that none of the information readily accessed by motivated
students helped them avoid detection of their deceit. The reason for this may be that although information exists to assist stu-
dents in producing credible symptom profiles on standard achievement tests, no information is easily available regarding the
use of SVTs in psychoeducational assessments. Thus, it is possible that even sophisticated malingerers are currently unaware of
the methods used to identify noncredible performance in assessment of RD. Given the research by Ruiz, Drake, Glass,
Marcotte, and Van Gorp (2002) showing how easily students could independently discover information on the internet to
allow them to escape detection when feigning psychiatric symptoms, it was heartening to discover that similar information
about symptom validity testing is not yet widely available in the context of RD assessment. It will therefore be important
to protect the integrity of any SVTs developed in this context to minimize the risk that their use becomes widely known
and publicized.




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Limitations

   Although we tried to ensure that all those diagnosed with RD were performing honestly, it is possible that some may not
have performed in a credible manner on some aspects of the tests administered. Future studies should therefore administer all
WJPB subtests after the diagnosis is rendered to avoid any possible effects of secondary gain on test performance.
   It is also possible that the malingering group did not have the same motivation or access to information as would students
undergoing a re-assessment to determine whether accommodations will be provided at the post-secondary level. Given that stu-
dents at the secondary-school level are currently provided with academic accommodations and supports without requiring a formal
diagnosis of a disability (Harrison, Larochette, et al., 2007), it is possible that such students fear the academic consequences of
losing their long-standing accommodations and may be more savvy regarding the types of deficits expected from persons with RD,
especially if they have been working around and writing tests with those who really do have disabilities. Future studies should
therefore attempt to include a group of students who have specific knowledge of RD based on first-hand experience. Future
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studies should also include groups of poor readers to investigate the specificity of the DASH and the FI in such populations.                                          0
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   Given the relatively small sample size and the overrepresentation of those feigning RD, the classification rates may not be                                         0)
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stable. Replication with a larger sample is therefore warranted.                                                                                                       a.
   In conclusion, our results provide a strong support for the use of the DASH and the FI in the detection of students presenting                                      3
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with noncredible symptoms of a reading disorder. With perfect specificity and a high level of sensitivity, both measures
promise to aid clinicians in more accurately diagnosing specific reading disorders when they are present. The utility of the
DASH and FI should now be investigated more broadly in a variety of settings with different clinical groups.


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Conflict of Interest

   None declared.

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                Medical Student
                Policy Manual

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                    “Education is not the filling of a pail,

                        but the lighting of a fire.”

                          – William Butler Yeats




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applicant to recognize how each may contribute to the medical school learning and
working environment and the practice of medicine.

Admissions Inquiries

The medical school website is the first resource for an interested applicant to learn more
about the medical school, our curriculum, and our application and selection processes.
The website is regularly updated with new information and frequently asked questions.

All inquiries about admissions to Western Michigan University Homer Stryker M.D.
School of Medicine should be directed to the office of Admissions at
admissions@med.wmich.edu or 269.337.6103. Staff from the office of Admissions are
available to meet with potential applicants individually or in groups during designated
times.

Staff from the office of Admissions are available to meet with potential applicants
individually or in small groups during designated times. The director of Admissions
balances the time for staff spent recruiting and coaching future applicants with
management of the application and selection processes.

All applicants are treated consistently following the same defined admissions process
that incorporates a holistic review to give consideration to the breadth of life
experiences, personal attributes, and academic metrics that reflect the breadth and
value that a student brings to the medical school learning and working environment and
as a future physician to improve the health of all.

Transfer Students and Transfer Credit

Our medical school curriculum for the degree of Doctor of Medicine is an integrated
curriculum. Basic sciences and clinical sciences are introduced and reinforced
throughout the four years of medical school. Because of the highly integrated approach,
it is extremely difficult to accommodate advanced placement of medical students from
another medical school into this curriculum. The medical school does not consider
requests of medical students to transfer with advanced standing, and does not accept
transfer credit from other institutions.




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Students

Annually each student in the MD degree program and the MS degree in Biomedical
Sciences (Bridge to MD) program must submit the signed form, “Essential Abilities for
Completion of the Medical Curriculum Attestation.” Failure to provide a signed form in
a timely manner may delay or prohibit advancement and graduation. Falsification of
information on the form is a violation of the Code of Professional Conduct.

Essential Abilities Committee

The charge of the Essential Abilities Committee is to evaluate and determine whether
applicants and students meet the essential abilities for completion of the medical
curriculum and, if not, to define the reasonable accommodations tailored to their
individual needs and circumstances that would allow them to meet the essential
abilities. If the committee determines that an issue is not within the scope of essential
abilities, the committee refers the issue to the associate dean for Educational Affairs and
associate dean for Student Affairs.

The members of the Essential Abilities Committee include two to three faculty and the
director of Human Resources. Members of the committee must disclose conflicts of
interest, and recuse themselves from discussions and decisions for an applicant or
student if there is a material conflict of interest as determined by the chair. If needed
such as for conflicts of interest and non-availability, the dean may appoint ad hoc
members as necessary to have at least three voting members for each issue. The chair
may seek consultation as needed, including legal counsel, and may invite other
individuals to attend meetings.

The chair shall be responsible for calling and conducting all meetings of the committee
as needed to address requests for accommodations, requests for revisions to
accommodations, and continued review of all accommodations at least annually. A
quorum for any committee action shall be three members. Voting may be in person or
by telephone in a committee meeting, or by email submitted to the committee chair. A
majority vote of the members voting shall be sufficient for passage of any action. The
Essential Abilities Committee reviews the Essential Abilities for Completion of the
Medical Curriculum annually and as needed, with recommendations for revisions, if
any, submitted to the dean.

Essential Abilities Committee members must recuse themselves from participating in
the review for students for whom they have provided the student with sensitive health,
psychiatric, or psychological care, including as determined solely by the student; served
as the student’s private tutor or designated individual mentor; or otherwise have a
conflict of interest related to the student.

Request for Accommodations

The medical school may provide accommodation for a student to learn the same
material and achieve the same expectations as for all medical students. An




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accommodation changes how a student learns the material. The medical school does not
make modifications to the curriculum or in testing. Modifications do not change the
content that is taught, or the expectations of student learning. If at any time a medical
student requires reasonable accommodation, it is the medical student’s responsibility to
notify the office of Student Affairs of the disability in writing, and to provide adequate
documentation of the nature and extent of the disability and the functional limitations
that are requested to be accommodated. Applicants who are offered admission as well as
students whose abilities and skills do not meet these essential abilities for completion of
the medical curriculum have an obligation to the medical school to: 1) self-identify and
report the presence of a disability or suspected disability; 2) provide appropriate,
complete, and accurate documentation of the disability in a timely manner; and 3) self-
identify and report the need for reasonable accommodations, including the
accommodations that are requested.

It is the applicant’s and student’s responsibility to provide complete, accurate, and
timely information that documents the nature of the disability, extent of the disability,
ramifications of the disability, anticipated progression of the disability, and functional
limitations that need to be accommodated, and the specific accommodations that are
requested.

Applicants and students acknowledge by seeking accommodations that
accommodations provided by the medical school may not be provided by other entities,
such as for USMLE examinations. Medical students who are provided accommodations
by the medical school are still required to meet all course/clerkship requirements, and
advancement and graduation requirements regardless of whether accommodations are
provided by the medical school and other entities.

Applicants and students seeking accommodations must submit the Essential Abilities
for Completion of the Medical Curriculum Attestation along with a Request for
Reasonable Accommodation providing documentation that verifies that the disability
substantially limits meeting the essential abilities and that supports the requested
accommodation. No other mechanism, whether oral or in writing, constitutes adequate
notification by the applicant or student to the medical school of any disability or request
for accommodation. Complete documentation, meeting all of the criteria below, must be
submitted to the office of Student Affairs at least 20 school days in advance of the
requested start date of the proposed accommodation, including temporary
accommodation, if requested. An applicant’s or student’s documentation shall be at the
applicant’s or student’s expense and must meet all of the following criteria:

      Qualified Professional: The documentation must include an evaluation conducted
       by a qualified professional (the “evaluator”). Documentation must include
       information about the professional credentials of the evaluator, including their
       training and licensure for their area of specialization. Additional information
       about their relevant experience with the diagnosis and treatment of patients with
       similar disabilities is recommended. An appropriate evaluator for learning
       disabilities is generally a licensed clinical, educational, or neuropsychologist. The
       evaluator should not be a family member or have other conflicts of interest with




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       the student. The committee may request further clarification regarding the
       qualifications of the evaluator. Final determination of the appropriateness of the
       evaluator is at the discretion of the Essential Abilities Committee.
      Current Documentation: The current impact of the disability upon the student’s
       ability to meet the essential abilities for completion of the medical curriculum,
       and the impact on the student’s performance to fulfill academic requirements is
       the crux of determining an effective reasonable accommodation. As such,
       documentation and the evaluation must be recent.
           o For accommodation requests for a physical disability, if the physical
               disability is a permanent and static condition, the committee will consider
               documentation from any period. If the physical disability is a new or
               temporary condition, the committee will consider documentation within
               one year.
           o For accommodation requests for a non-physical disability, documentation
               must be within two years.
      Comprehensive Evaluation: The evaluation conducted by a qualified professional
       and submitted by the student must provide information in five areas. The
       committee may, at its discretion, request additional and/or more recent
       documentation.
           o A specific medical diagnosis of a physical, mental, or learning disorder.
           o A description of how the diagnosis was confirmed based on established
               diagnostic criteria. Diagnostic testing and methods must be currently
               utilized and recognized in professional practices in the relevant field.
           o A description of how the diagnosis affects the essential abilities, and the
               expected duration of the limitation.
           o The medical and educational history of the disability.
           o Specific, realistic recommendation(s) for accommodations with a rationale
               for each specific recommendation.

Review of Request for Accommodations

Following submission of the complete required documentation, a student may request
consideration for temporary accommodations pending full review by the Essential
Abilities Committee. The chair of the Essential Abilities Committee, after preliminary
determination by the chair that the documentation is complete, on a case-by-case basis
may temporarily approve such a request until the Essential Abilities Committee is able
to meet and fully consider the student’s request. Such temporary accommodations are
limited to a maximum of 20 school days in duration.

The committee considers the documentation, strives to understand current challenges
and foresee the potential future challenges the student might face, and considers
creating equivalent opportunities through accommodation. The committee must ensure
that the essential aspects of the curriculum as well as the safety of patients, other
students, faculty, and staff are given appropriate consideration in the process. Although
not limited to the following, the Essential Abilities Committee considers the following
aspects:




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      Disabilities that are stable or progressive.
      Health issues that are recurring or unpredictable.
      Diseases that may be treatable but where the treatment itself is known to produce
       a serious impairment of intellectual, physical, psychological, or behavioral
       function.

In order to determine eligibility, the committee reviews the documentation submitted by
the student and the evaluator and determines whether the documentation meets all
requirements. If all documentation requirements are met, the committee determines
whether the student has a disability that is eligible for an accommodation.

The committee may, at its discretion, require additional documentation, more recent
documentation, or an additional evaluation conducted by another qualified professional.
The committee must provide the student with an explanation of why further evaluation
is required. If the documentation provided by the student is incomplete, the committee
may require the student to obtain additional information from the original evaluator,
and the medical student bears the cost. If the documentation is deemed by the
committee to be complete but the committee requires an additional independent
evaluation, the medical school bears the cost. The second evaluator must be a qualified
professional and is of the committee's choosing.

If the student is eligible for accommodation, and after discussion with the student and
others as needed, the committee determines the appropriate and specific
accommodation(s) to be implemented, at the discretion of the committee. The
committee should give priority consideration to the specific accommodation requested
by the student unless it is deemed not appropriate by the committee because other
reasonable accommodations are available. The committee may accept or reject the
findings of evaluators in making the final determination regarding accommodations,
which is at the discretion of the Essential Abilities Committee.

An accommodation is not reasonable if it: fundamentally alters the nature or integrity of
a course, clerkship, program, or event; lowers academic standards; poses a direct threat
to the health or safety of the student and/or others; does not meet the requirement that
students perform their duties unimpaired by the effects of alcohol, tobacco, and
controlled substances (including cannabis or cannabinoids in any form including
medical marijuana); poses an undue financial or administrative burden; or requires the
use of an intermediary. The determination of “reasonable” is individually determined by
the Essential Abilities Committee after a student requests accommodation. Each type of
disability has variable manifestations, and each student’s learning needs are different.
Decisions regarding accommodations are made on a case-by-case basis and there is no
standard accommodation for any particular type of disability.

The decision of the Essential Abilities Committee is final. The student may request
additional review by the committee if there is additional information or a justified
concern that the defined process was not followed. The committee determines whether
to perform a further review based on the additional information and justification
provided by the student.




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The committee provides its decisions regarding the need for accommodation, whether
reasonable accommodation can be made, and approved accommodations, if any, to the
student in writing. The committee findings and approved accommodations are
considered confidential.

If accommodations are approved, changed, or terminated, the specific accommodations
are provided in writing to the associate dean for Educational Affairs and the associate
dean for Student Affairs. This information does not include the underlying basis for the
need for accommodation, including sensitive health, psychiatric, or psychological
information. The associate dean for Educational Affairs is responsible for implementing
the accommodations. The associate dean for Educational Affairs may share the
accommodations with course/clerkship directors, other faculty, and staff who need to
know the approved accommodations.

The committee reviews the accommodation status of each student with approved
accommodations at least annually to ensure that the student is meeting the essential
abilities requirements and that the continued accommodation is necessary and
sufficient. The committee may, at its discretion, require additional documentation, more
recent documentation, or an additional evaluation conducted by another qualified
professional to support continued accommodations. The committee must provide the
student with a written explanation of the additional required evaluation.

Reporting Accommodations

Requests for accommodations, the minutes and actions of the Essential Abilities
Committee, and the accommodations that are provided by the medical school are
considered confidential. Information about accommodations, including requests for
accommodations, is provided only as needed to faculty and staff, is not reported on
transcripts and the Medical Student Performance Evaluation (MSPE), and is not
released to outside persons or entities except in response to an order from a court of
competent jurisdiction.

Courses and Clerkships (Course Catalog)

The first and second year, Foundations of Medicine, and the third and fourth year,
Clinical Applications, provide the minimum credits and weeks of instruction necessary
for advancement and graduation with the MD degree.

This listing of courses and clerkships serves as the course catalog for the medical degree
program. This course catalog is complemented by the online course catalog that
contains additional course/clerkship information. In addition, the medical student
curriculum management system (CLEARvue) provides a full description of each
course/clerkship, course/clerkship learning objectives, learning objectives for all events,
course/clerkship textbooks and other learning resources, and lists course/clerkship
directors with their contact information in the introductory material in CLEARvue for
each course/clerkship. Required and recommended textbooks along with the costs are




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about any medical student using the online Student Feedback Form. This feedback
describes any incident that either reflects exemplary behavior for recognition, or a
concern or problem that reflects attitude or behavior. This form is available on each of
the medical school intranet portals, including the portals for medical students, faculty,
and staff. The feedback is submitted confidentially and reviewed by the associate dean
for Student Affairs. Confidentiality is maintained. Individuals must provide a name in
order to permit the associate dean for Student Affairs to provide follow up as needed.
The medical school does not encourage anonymous feedback.

After review, the associate dean for Student Affairs or designee communicates
confidentially with the student, as appropriate, providing positive recognition or
discussing the concern or problem, and keeping the identity of the person submitting
the feedback anonymous to the student. Based on the assessment, the associate dean for
Student Affairs may involve others as needed and may refer significant concerns and
problems to the Medical Student Performance Committee for further review. The
associate dean for Student Affairs will follow-up with the person who submitted the
form, generally within 30 days, to confirm receipt of the feedback and inform them
generally of the types of steps taken while also maintaining appropriate confidentiality
for the student.

USMLE Examination Requirements

Passing the USMLE Step 1, Step 2 CK, and Step 2 CS examinations are required for
graduation. The National Board of Medical Examiners (NBME) sets the level for passing
the steps of the USMLE examinations. Medical students must be enrolled to be eligible
to take USMLE examinations, or if on leave of absence must have permission of the
associate dean for Educational Affairs.

The USMLE Step 1 and Step 2 CK examinations are administered by computer at
Prometric Test Centers. Testing is available throughout the year except for the first two
weeks in January. Information of availability of testing times at Prometric is posted at
www.prometric.com. Testing for USMLE Step 2 CS is offered at five Clinical Skills
Evaluation Collaboration test centers across the country. Information about these
locations is posted at usmle.org/step-2-cs/#testcenters.

Students are responsible for scheduling the USMLE Step 1, Step 2 CK (Clinical
Knowledge), and Step 2 CS (Clinical Skills) examinations so that they do not interfere
with medical school activities and responsibilities. Students are responsible for all
examination costs and travel expenses to the testing sites for USMLE testing.

USMLE Examination Reporting

The medical accepts and recognizes only USMLE scores that are received directly from
USMLE.




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Students may not withhold reporting of scores by USMLE to the medical school.
Reports of “Withheld by student request” or equivalent are managed by the medical
school as a USMLE attempt and a failing examination score.

USMLE Examination Preparation

Our integrated curriculum provides a solid foundation for students to prepare and
perform well on the USMLE examinations. Reflecting the integration of basic sciences
and clinical sciences even on the USMLE Step 1 exam, in our curriculum clinical
experiences begin in the first weeks of medical school, and basic sciences are reinforced
during each of the core clerkships. The faculty coordinate and closely align curriculum
content with USMLE question content.

Beyond the courses in Foundations of Medicine, events in each of the six core clerkships
brings the entire class back together for unique integrative experiences that reinforce
basic science principles from the first two years. Students don't "forget" during the core
clerkships what they learned in the basic sciences during the first two years because the
principles are reinforced with greater clinical context, specifically preparing students for
the USMLE Step 1 examination. The medical school contracts with an outside
consultant to provide additional strategy-based guidance to students during the core
clerkships to prepare for the USMLE Step 1 examination.

The medical school provides comprehensive testing preparation to facilitate medical
student success on the USMLE examinations. Many assessments incorporate questions
from NBME that mirror actual USMLE questions and provide the most reliable
feedback to the student and the medical school about projected performance on the
actual USMLE examinations.

During Foundations of Medicine courses, students take both formative and summative
examinations. The formative exams are taken weekly. As formative exams, these results
are not used for the course grade. They are used by students as formative feedback to
confirm that they are learning the course content, and to help students identify
individual gaps in knowledge. Summative assessment exams at the end of each course,
as well as mid-course summative assessment exams in some courses, are used to as a
component of the grading of the course and to provide feedback to the student.

The NBME Comprehensive Basic Science Examination (CBSE) is used to assess the
student’s readiness for advancement to Clinical Applications, to guide the student’s plan
for individual study during the core clerkships, and in preparation for the USMLE Step 1
examination. The CBSE is taken as a formative examination twice during Foundations
of Medicine. Each CBSE has different questions. The CBSE is also taken as a summative
examination, once near the end of Foundations of Medicine and again, if necessary or
the student desires, as part of the Transition to Clinical Applications course. Students
must achieve a passing score on one of these two summative attempts of the CBSE to
advance to the core clerkships in Clinical Applications. Each CBSE must be taken as
scheduled, or as re-scheduled by the associate dean for Educational Affairs, to maintain




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satisfactory academic progress. The CBSE is used as a summative written examination
and a grading component of the Transition to Clinical Applications course. Students
achieving a passing score on the first summative attempt may be excused from the
second summative attempt. Students who fail the first and second summative CBSE
attempts, which includes the first attempt taken as part of the Transition to Clinical
Applications course, and pass the CBSE on the second attempt during the course receive
a grade of pass for the course, and students who fail on the second attempt during the
course receive a grade of fail for the course, which may be remediated to a grade of FP
(fail/pass) upon successfully passing the CBSE on the third attempt during the
course (Figure 9). The CBSE is taken again as a formative examination during Clinical
Applications as part of the final preparation for the USMLE Step 1 examination.

The NBME Comprehensive Basic Science Self-Assessment (CBSSA), which resembles
the USMLE Step 1 examination, is optional may be taken in preparation for the
examination at the student’s expense. It may be required by the MSPC as part of a
learning contract, in which case the medical school pays for the CBSSA. The medical
school does not require or use the results of this self-assessment unless it is required as
part of a learning contract.

An NBME self-assessment from the NBME Clinical Science Mastery Series is taken
during the first core clerkships as a formative assessment and preparation for the format
of the NBME Subject Examinations, which are taken at the end of each of the core
clerkships and are a component of the grading for each core clerkship.

The NBME Comprehensive Clinical Science Examination can be taken as a formative
examination, in preparation for the USMLE Step 2 CK examination, after completion of
the core clerkships.

The NBME Comprehensive Clinical Science Self-Assessment (CCSSA) is optional and
resembles the USMLE Step 2 CK examination. It may be taken in preparation for the
examination at the student’s expense. The medical school does not require or use the
results of this self-assessment unless it is required as part of a learning contract.

USMLE Step 1 Examination

Effective May, 2018, all medical students are required to have a passing score on the
USMLE Step 1 examination before advancing to advanced clerkships. Students generally
are not permitted by the medical school to take the USMLE Step 1 examination prior to
successfully completing three blocks of core clerkships. Exceptions must be approved by
the associate dean for Educational Affairs.

A student who fails the USMLE Step 1 examination on the first attempt and receives
notice of the result before beginning the first required or elective advanced clerkship is
not permitted to begin required or elective advanced clerkships. A student who fails the
USMLE Step 1 examination and receives notice after beginning the first required or
elective advanced clerkship may complete the current clerkship in which the student is




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enrolled but is not permitted to enroll in another advanced required or elective
clerkship, at the medical school or elsewhere, until the student takes the USMLE Step 1
examination a second time. The student receives credit for the advanced clerkship if
performance was satisfactory and the student receives a minimum grade of pass. The
student must work with the Medical Student Performance Committee to define a
learning contract that includes a course of study and the schedule to take the USMLE
Step 1 examination the second time. The second attempt should occur generally after
four weeks of additional study but no later than 12 weeks from the end of the current
clerkship. This period may be extended by a leave of absence, which may be part of a
learning contract. The student must acknowledge agreement by signing the learning
contract and must cooperate fully in completing all of the requirements and elements of
the learning contract in accordance with the timetable specified in the learning contract.
Failure to comply with all of the requirements and elements of the learning contract
results in dismissal from the medical school.

Following the second USMLE Step 1 attempt, the student may enroll in an advanced
required or elective clerkship prior to receiving a score on the second attempt. A student
who attains a passing score may start or continue an advanced required or elective
clerkship. A student who fails the USMLE Step 1 examination on the second attempt
may complete a clerkship in which the student is enrolled after the second attempt, but
is not permitted to enroll in another advanced required or elective clerkship, at the
medical school or elsewhere, until the student attains a passing score on the USMLE
Step 1 examination. The student receives credit for the advanced clerkship if
performance was satisfactory and they receive a minimum grade of pass. The student
must work with Medical Student Performance Committee to define a learning contract
including a course of study and the schedule to take the USMLE Step 1 examination the
third time. The student must acknowledge agreement by signing the learning contract
and must cooperate fully in completing all of the requirements and elements of the
learning contract in accordance with the timetable specified in the learning contract.
Failure to comply with all of the requirements and elements of the learning contract, or
failure to take the USMLE Step 1 examination for a third attempt within the prescribed
time period, results in dismissal from the medical school. Upon notification to the
medical school of a passing score on the USMLE Step 1 examination the student may
resume enrollment in advanced required and elective clerkships. A third failure on the
USMLE Step 1 examination results in dismissal from the medical school.

USMLE Step 2 CK and CS Examinations

All students are required to take the USMLE Step 2 CK and CS examinations by
February 1 of the year of graduation, and are strongly encouraged to take the USMLE
Step 2 CK examination by September 1 of the year prior to graduation. Passing USMLE
Step 2 examinations are prerequisites for taking USMLE Step 3 examination during
residency and subsequent licensure. In addition, many residency programs including
the military residency programs, require passing USMLE Step 2 CK and CS
examinations by a specified date. The medical school must receive confirmation of
successfully passing both USMLE Step 2 CK and CS examinations prior to graduation. A




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student is permitted to take the USMLE Step 2 CK and CS examinations generally only
after passing the USMLE Step 1 examination. Exceptions must be approved by the
associate dean for Educational Affairs.

A student is permitted a total of three attempts to pass each the USMLE Step 2 CK and
CS examinations. A student who fails the USMLE Step 2 CK or CS examination must
work with the Medical Student Performance Committee to define a learning contract
that includes a course of study and a schedule to take the USMLE Step 2 CK or CS
examination the second time. The student must acknowledge agreement by signing the
learning contract and must cooperate fully in completing all of the requirements and
elements of the learning contract in accordance with the timetable specified in the
learning contract. While preparing to retake the USMLE Step 2 CK or CS examination,
the student may remain enrolled in Clinical Applications required and elective
clerkships and courses, and may enroll in additional Clinical Applications clerkships and
electives if permitted by the learning contract. A third failure on either the USMLE
Step 2 CK or CS examination results in dismissal from the medical school.

Advance Information to Course/Clerkship Directors

In certain circumstances, it is in the best interest of the student for the medical school to
provide information to course/clerkship directors in advance of the student beginning
the course/clerkship, such as for students who have had significant difficulty in prior
academic coursework or professional and personal conduct. The intent of providing
advance information is to facilitate early intervention to rectify the area(s) of concern
before developing into a sustained or major deficiency that is permanently recorded in
the student’s transcript. The area(s) of concern may be in any area of evaluation,
cognitive or non-cognitive, and may embody a single episode or a pattern of repeated
episodes. The objectives for providing advance information are to facilitate early
intervention for individualized support and assistance for the student in the area(s) of
concern, and to ensure that there is adequate feedback to the student and ongoing
evaluation of the area(s) of concern. Course/clerkship directors should use advance
information to customize the educational experience of the student to facilitate the
student’s ability to strengthen and rectify the area(s) of concern. Advance information
allows the course/clerkship director to make appropriate group assignments, assign
additional tutoring, and directly manage situations that may arise during the
course/clerkship regarding the student’s performance and interactions with faculty,
residents, fellows, and other students.

As part of the continuing evaluation of each student after each course/clerkship, the
Medical Student Performance Committee in collaboration with the assistant dean for
Academic Success shall make determinations of the need for providing advance
information to course/clerkship directors. The Medical Student Performance
Committee may make specific recommendations and set specific requirements for each
course/clerkship to facilitate addressing the area(s) of concern, including the need for
interval reports from the course/clerkship director to the associate dean for Educational
Affairs and the Medical Student Performance Committee. The committee shall approve




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Warning Academic Status

A medical student is placed on warning academic status if the student:

      Fails the initial attempt on more than two course summative examinations within
       two consecutive terms (as taken by the student) during Foundations of Medicine.
      Receives a grade of fail/pass in more than one course within two consecutive
       terms (as taken by the student) during Foundations of Medicine.
      Fails more than one core clerkship summative subject examination on the initial
       attempt; or receives a grade of fail/pass in a core clerkship, advanced clerkship,
       or elective.

Determination of warning academic status may not be appealed. The student is eligible
for financial aid.

A medical student on warning academic status must work with the Medical Student
Performance Committee to define a learning contract including a course of study
defining key milestones, and a timetable that demonstrates appropriate remediation.
The student must acknowledge agreement by signing the learning contract and fully
cooperating in completing all of the requirements and elements of the learning contract
in accordance with the specified timetable. A student who is repeating a
course/clerkship, repeating part or an entire academic year, or preparing to retake a
USMLE examination in accordance with the requirements and elements of a learning
contract is making satisfactory academic progress. A student who is not meeting all of
the requirements and elements of the learning contract in accordance with the specified
timetable is not making satisfactory academic progress and is subject to dismissal
through a formal hearing conducted by the Medical Student Performance Committee.

A medical student who has not received a passing score on the USMLE Step 1
examination within six months of completing all of the core clerkships is placed on
warning academic status. The student is eligible for financial aid. Determination of
warning academic status may not be appealed. A student who has not received a passing
score on the USMLE Step 1 examination within 12 months of completing the core
clerkships has not maintained satisfactory academic progress in the medical school and
is subject to dismissal through a formal hearing conducted by the Medical Student
Performance Committee.

A student who has not received a passing score on USMLE Step 2 CK and/or CS
examinations within 12 months of completing the core clerkships is placed on warning
academic status. The student is eligible for financial aid. Determination of warning
academic status may not be appealed. A student who has not received a passing score on
both the USMLE Step 2 CK and CS examinations within 18 months of completing the
core clerkships has not maintained satisfactory academic progress in the medical school
and is subject to dismissal through a formal hearing conducted by the Medical Student
Performance Committee.




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United States Medical Licensing Examination | Step 1




                                                                                                                                                        Custom Search




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               Step 1
                  Step 1


           Overview        Content Outline and Specifications         Content Description        Test Question Formats

                                                                                                                                                             Step 1 Content Description
         Step 1 assesses whether you understand and can apply important concepts of the sciences
         basic to the practice of medicine, with special emphasis on principles and mechanisms
                                                                                                                                                        Read the Step 1 Content
         underlying health, disease, and modes of therapy. Step 1 ensures mastery of not only the                                                       Description and Sample Items
         sciences that provide a foundation for the safe and competent practice of medicine in the
         present, but also the scientific principles required for maintenance of competence through
         lifelong learning. Step 1 is constructed according to an integrated content outline that organizes
         basic science material along two dimensions: system and process.
                                                                                                                                                              Apply & Prepare for Step 1
         Step 1 is a one-day examination. It is divided into seven 60-minute blocks and administered in
         one 8-hour testing session. The number of questions per block on a given examination form may                                                         Apply for Step 1 »
         vary, but will not exceed 40. The total number of items on the overall examination form will not
         exceed 280.
                                                                                                                                                               Get Practice Materials »
         Practice materials, which include Sample Test Items (PDF) and web-based Tutorial and Practice
         Test Items, as well as other informational materials, are available at the USMLE website. Examinees
         must also read the USMLE Bulletin of Information.

         IMPORTANT:                                                                                                                                            Step 1 Announcements


                  The term item is used to describe a test question in any format.                                                                             Step 1 and Step 2 CK –
                                                                                                                                                               score delays in 2019
                  You must run the web-based Tutorial and Practice Test Items to become familiar with the
                  test software prior to your test date.

                  The tutorial provided at the beginning of the Step 1 Examination has fewer screens and less
                  detailed information than the Step 1 web-based Tutorial and Practice Test Items on the                                                     Bulletin of Information
                  USMLE website.
                                                                                                                                                        The USMLE Bulletin of Information is
                                                                                                                                                        a compilation of all the facts and
                  The web-based Tutorial and Practice Test Items on the USMLE website include items with
                                                                                                                                                        details about the USMLE. Before
                  associated audio findings. Become familiar with how these types of test items function                                                you apply for any of the three steps
                  before your test date.                                                                                                                of the USMLE, you must become
                                                                                                                                                        familiar with the bulletin.

         Please visit the USMLE website often to view announcements, regarding changes in the test
         delivery software, and to access updated practice materials. You must obtain the most recent
         information before taking any USMLE examination.




                                                                                               Announcements    | Frequently Asked Questions | Performance Data
                                                              The Comprehensive Review (CRU)          | Test Accommodations | About | Contact | Privacy Policy
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file:///C/Ramsay/Court%20Complaint/Exhibits%20to%20Complaint/United%20States%20Medical%20Licensing%20Examination%20_%20Step%201.html[5/5/2019 4:34:17 PM]
                                                                            Ramsay v. NBME - Exhibit B



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                                  SAMPLE TEST QUESTIONS




                          Step 1




                                  A Joint Program of the Federation of State Medical Boards of the
                                  United States, Inc., and the National Board of Medical Examiners®
                                                                                  NBME00491



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                                  This booklet updated February 2017.


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                                      USMLE Step 1 Test Question Formats
Single-Item Questions
A single patient-centered vignette is associated with one question followed by four or more response options. The
response options are lettered (A, B, C, D, E). A portion of the questions require interpretation of graphic or pictorial
materials. You are required to select the best answer to the question. Other options may be partially correct, but there is
only ONE BEST answer. This is the traditional, most frequently used multiple-choice question format on the examination.

Strategies for Answering Single One-Best-Answer Test Questions

The following are strategies for answering one-best-answer items:

x     Read each patient vignette and question carefully. It is important to understand what is being asked.

x     Try to generate an answer and then look for it in the response option list.

x     Alternatively, read each response option carefully, eliminating those that are clearly incorrect.

x     Of the remaining options, select the one that is most correct.

x     If unsure about an answer, it is better to guess since unanswered questions are automatically counted as wrong
      answers.

Example Item

A 32-year-old woman with type 1 diabetes mellitus has had progressive renal failure over the past 2 years. She has not yet
started dialysis. Examination shows no abnormalities. Her hemoglobin concentration is 9 g/dL, hematocrit is 28%, and
mean corpuscular volume is 94 μm3. A blood smear shows normochromic, normocytic cells. Which of the following is the
most likely cause?

(A)       Acute blood loss                                             (F)   Microangiopathic hemolysis
(B)       Chronic lymphocytic leukemia                                 (G)   Polycythemia vera
(C)       Erythrocyte enzyme deficiency                                (H)   Sickle cell disease
(D)       Erythropoietin deficiency                                    (I)   Sideroblastic anemia
(E)       Immunohemolysis                                              (J)   β-Thalassemia trait


(Answer: D)

NOTE: Some item types that appear on the Step 1 examination are NOT depicted in the sample items provided in this
booklet, eg, items with multimedia features, such as audio. Also, when additional item formats are added to the exam,
notice will be provided at the USMLE Web site: http://www.usmle.org. You must monitor the Web site to stay informed
about the types of items that occur in the exam, and you must practice with the downloadable sample test items available
on the USMLE Web site to be fully prepared for the examination.




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                        Introduction to USMLE Step 1 Sample Test Questions

The following pages include 117 sample test questions. Most of these questions are the same as those you can install on
your computer from the USMLE Web site. Please note that reviewing the sample questions as they appear on pages 7-43
is not a substitute for practicing with the test software. You should download and run the Step 1 tutorial and practice test
items that are provided on the USMLE Web site well before your test date. The sample materials available on the USMLE
Web site include additional items and item formats that do not appear in this booklet, such as items with associated audio
or video findings. You should become familiar with all item formats that will be used in the actual examination.

Although the sample questions exemplify content on the Step 1 examination overall, they may not reflect the content
coverage on individual examinations. In the actual examination, questions will be presented in random order; they will not
be grouped according to specific content. The questions will be presented one at a time in a format designed for easy on-
screen reading, including use of the Normal Laboratory Values table (included here on pages 5 and 6) and some pictorials.
Photographs, charts, and x-rays in this booklet are not of the same quality as the pictorials used in the actual examination.
In addition, you will be able to adjust the brightness and contrast of pictorials on the computer screen.

To take the following sample test questions as they would be timed in the actual examination, you should allow a
maximum of 1 hour for each 40-item block, and a maximum of 55 minutes, 30 seconds, for the 37-item block, for a total
of 2 hours, 55 minutes, 30 seconds. Please note that the third block has 37 items instead of 40 because the multimedia
items have been removed, and the recommended time to complete the block has been adjusted accordingly. Please be
aware that most examinees perceive the time pressure to be greater during an actual examination. All examinees are
strongly encouraged to practice with the downloadable version to become familiar with all item formats and exam timing.
An answer form for recording answers is provided on page 44. An answer key is provided on page 45. In the actual
examination, answers will be selected on the screen; no answer form will be provided.




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                                                                     LABORATORY VALUES
                                                             * Included in the Biochemical Profile (SMA-12)

                                                                                REFERENCE RANGE                                              SI REFERENCE INTERVALS
BLOOD, PLASMA, SERUM
* Alanine aminotransferase (ALT), serum .................8-20 U/L ................................................... 8-20 U/L
  Amylase, serum .......................................................25-125 U/L ................................................ 25-125 U/L
* Aspartate aminotransferase (AST), serum ..............8-20 U/L .................................................... 8-20 U/L
  Bilirubin, serum (adult) Total // Direct ...................0.1-1.0 mg/dL // 0.0-0.3 mg/dL ................ 2-17 μmol/L // 0-5 μmol/L
* Calcium, serum (Ca2+) ............................................8.4-10.2 mg/dL .......................................... 2.1-2.8 mmol/L
* Cholesterol, serum ..................................................Rec:<200 mg/dL ...................................... <5.2 mmol/L
  Cortisol, serum ........................................................0800 h: 5-23 μg/dL // 1600 h: 3-15 μg/dL 138-635 nmol/L // 82-413 nmol/L
                                                                                2000 h: < 50% of 0800 h ........................... Fraction of 0800 h: < 0.50
  Creatine kinase, serum ............................................Male: 25-90 U/L ....................................... 25-90 U/L
                                                                                Female: 10-70 U/L ................................... 10-70 U/L
* Creatinine, serum ....................................................0.6-1.2 mg/dL ........................................... 53-106 μmol/L
  Electrolytes, serum
    Sodium (Na+) ........................................................136-145 mEq/L ......................................... 136-145 mmol/L
* Potassium (K+) ......................................................3.5-5.0 mEq/L ........................................... 3.5-5.0 mmol/L
    Chloride (Cl–) ........................................................95-105 mEq/L .......................................... 95-105 mmol/L
    Bicarbonate (HCO3–) .............................................22-28 mEq/L ............................................ 22-28 mmol/L
    Magnesium (Mg2+) ................................................1.5-2.0 mEq/L ........................................... 0.75-1.0 mmol/L
  Estriol, total, serum (in pregnancy)
    24-28 wks // 32-36 wks .........................................30-170 ng/mL // 60-280 ng/mL ................ 104-590 nmol/L // 208-970 nmol/L
    28-32 wks // 36-40 wks .........................................40-220 ng/mL // 80-350 ng/mL ................ 140-760 nmol/L // 280-1210 nmol/L
  Ferritin, serum .........................................................Male: 15-200 ng/mL ................................ 15-200 μg/L
                                                                                Female: 12-150 ng/mL ............................. 12-150 μg/L
  Follicle-stimulating hormone, serum/plasma .........Male: 4-25 mIU/mL ................................. 4-25 U/L
                                                                                Female: premenopause 4-30 mIU/mL ...... 4-30 U/L
                                                                                  midcycle peak 10-90 mIU/mL ............... 10-90 U/L
                                                                                  postmenopause 40-250 mIU/mL ........... 40-250 U/L
  Gases, arterial blood (room air)
    pH .........................................................................7.35-7.45 .................................................. [H+] 36-44 nmol/L
    PCO2 ......................................................................33-45 mm Hg ............................................ 4.4-5.9 kPa
    PO2 ........................................................................75-105 mm Hg .......................................... 10.0-14.0 kPa
* Glucose, serum ........................................................Fasting: 70-110 mg/dL ............................. 3.8-6.1 mmol/L
                                                                                2-h postprandial: < 120 mg/dL ................ < 6.6 mmol/L
  Growth hormone - arginine stimulation ..................Fasting: < 5 ng/mL ................................... < 5 μg/L
                                                                                  provocative stimuli: > 7 ng/mL ............. > 7 μg/L
  Immunoglobulins, serum
    IgA .......................................................................76-390 mg/dL ............................................ 0.76-3.90 g/L
    IgE ........................................................................0-380 IU/mL ............................................ 0-380 kIU/L
    IgG .......................................................................650-1500 mg/dL ....................................... 6.5-15 g/L
    IgM .......................................................................40-345 mg/dL ........................................... 0.4-3.45 g/L
  Iron .........................................................................50-170 μg/dL ............................................ 9-30 μmol/L
  Lactate dehydrogenase, serum ................................45-90 U/L .................................................. 45-90 U/L
  Luteinizing hormone, serum/plasma ......................Male: 6-23 mIU/mL ................................. 6-23 U/L
                                                                                Female: follicular phase 5-30 mIU/mL .... 5-30 U/L
                                                                                  midcycle 75-150 mIU/mL ...................... 75-150 U/L
                                                                                  postmenopause 30-200 mIU/mL ........... 30-200 U/L
  Osmolality, serum ...................................................275-295 mOsmol/kg H2O ......................... 275-295 mOsmol/kg H2O
  Parathyroid hormone, serum, N-terminal ...............230-630 pg/mL ......................................... 230-630 ng/L
* Phosphatase (alkaline), serum (p-NPP at 30°C) .....20-70 U/L ................................................. 20-70 U/L
* Phosphorus (inorganic), serum ................................3.0-4.5 mg/dL ........................................... 1.0-1.5 mmol/L
  Prolactin, serum (hPRL) .........................................< 20 ng/mL ............................................... < 20 μg/L
* Proteins, serum
   Total (recumbent) .................................................6.0-7.8 g/dL .............................................. 60-78 g/L
    Albumin ................................................................3.5-5.5 g/dL ............................................... 35-55 g/L
    Globulin ...............................................................2.3-3.5 g/dL ............................................... 23-35 g/L
  Thyroid-stimulating hormone, serum or plasma .....0.5-5.0 μU/mL .......................................... 0.5-5.0 mU/L
  Thyroidal iodine (123I) uptake ..................................8%-30% of administered dose/24 h .......... 0.08-0.30/24 h
  Thyroxine (T4), serum .............................................5-12 μg/dL ................................................ 64-155 nmol/L
  Triglycerides, serum................................................35-160 mg/dL ............................................ 0.4-1.81 mmol/L
  Triiodothyronine (T3), serum (RIA) .......................115-190 ng/dL .......................................... 1.8-2.9 nmol/L
  Triiodothyronine (T3) resin uptake ..........................25%-35% .................................................. 0.25-0.35
* Urea nitrogen, serum ..............................................7-18 mg/dL ............................................... 1.2-3.0 mmol/L
* Uric acid, serum ......................................................3.0-8.2 mg/dL ........................................... 0.18-0.48 mmol/L
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                                                    LABORATORY VALUES (continued from previous page)

                                                                               REFERENCE RANGE                                                    SI REFERENCE INTERVALS
BODY MASS INDEX (BMI)
 Body mass index ...................................................... Adult: 19-25 kg/m2
CEREBROSPINAL FLUID
 Cell count ................................................................. 0-5/mm3 ............................................................ 0-5 x 106/L
 Chloride ................................................................... 118-132 mEq/L ................................................ 118-132 mmol/L
 Gamma globulin ....................................................... 3%-12% total proteins ...................................... 0.03-0.12
 Glucose ................................................................... 40-70 mg/dL .................................................... 2.2-3.9 mmol/L
 Pressure ................................................................... 70-180 mm H2O .............................................. 70-180 mm H2O
 Proteins, total .......................................................... <40 mg/dL ...................................................... <0.40 g/L
HEMATOLOGIC
 Bleeding time (template) ......................................... 2-7 minutes ....................................................... 2-7 minutes
 Erythrocyte count ..................................................... Male: 4.3-5.9 million/mm3 ............................... 4.3-5.9 x 1012/L
                                                                               Female: 3.5-5.5 million/mm3 ............................ 3.5-5.5 x 1012/L
 Erythrocyte sedimentation rate (Westergren)........... Male: 0-15 mm/h ............................................. 0-15 mm/h
                                                                               Female: 0-20 mm/h .......................................... 0-20 mm/h
 Hematocrit ............................................................... Male: 41%-53% ............................................... 0.41-0.53
                                                                               Female: 36%-46% ............................................ 0.36-0.46
 Hemoglobin A1c ....................................................... < 6% ................................................................. < 0.06
 Hemoglobin, blood................................................... Male: 13.5-17.5 g/dL ....................................... 2.09-2.71 mmol/L
                                                                               Female: 12.0-16.0 g/dL .................................... 1.86-2.48 mmol/L
 Hemoglobin, plasma ................................................ 1-4 mg/dL ......................................................... 0.16-0.62 mmol/L
 Leukocyte count and differential
  Leukocyte count ..................................................... 4500-11,000/mm3 ............................................. 4.5-11.0 x 109/L
   Segmented neutrophils ......................................... 54%-62% ......................................................... 0.54-0.62
   Bands.................................................................... 3%-5% ............................................................. 0.03-0.05
   Eosinophils .......................................................... 1%-3% ............................................................. 0.01-0.03
   Basophils .............................................................. 0%-0.75% ......................................................... 0-0.0075
   Lymphocytes ....................................................... 25%-33%.......................................................... 0.25-0.33
   Monocytes ........................................................... 3%-7% ............................................................. 0.03-0.07
 Mean corpuscular hemoglobin ................................. 25.4-34.6 pg/cell .............................................. 0.39-0.54 fmol/cell
 Mean corpuscular hemoglobin concentration ......... 31%-36% Hb/cell ............................................ 4.81-5.58 mmol Hb/L
 Mean corpuscular volume ....................................... 80-100 μm3 ....................................................... 80-100 fL
 Partial thromboplastin time (activated) ................... 25-40 seconds ................................................... 25-40 seconds
 Platelet count ............................................................ 150,000-400,000/mm3 ...................................... 150-400 x 109/L
 Prothrombin time ..................................................... 11-15 seconds ................................................... 11-15 seconds
 Reticulocyte count.................................................... 0.5%-1.5% ........................................................ 0.005-0.015
 Thrombin time ......................................................... <2 seconds deviation from control .................. <2 seconds deviation from control
 Volume
  Plasma ................................................................... Male: 25-43 mL/kg........................................... 0.025-0.043 L/kg
                                                                               Female: 28-45 mL/kg ....................................... 0.028-0.045 L/kg
  Red cell .................................................................. Male: 20-36 mL/kg .......................................... 0.020-0.036 L/kg
                                                                               Female: 19-31 mL/kg ...................................... 0.019-0.031 L/kg
SWEAT
 Chloride.................................................................... 0-35 mmol/L .................................................... 0-35 mmol/L
URINE
 Calcium ................................................................... 100-300 mg/24 h .............................................. 2.5-7.5 mmol/24 h
 Chloride.................................................................... Varies with intake ............................................. Varies with intake
 Creatinine clearance ................................................. Male: 97-137 mL/min
                                                                               Female: 88-128 mL/min
 Estriol, total (in pregnancy)
  30 wks .................................................................... 6-18 mg/24 h .................................................... 21-62 μmol/24 h
  35 wks .................................................................... 9-28 mg/24 h .................................................... 31-97 μmol/24 h
  40 wks .................................................................... 13-42 mg/24 h .................................................. 45-146 μmol/24 h
 17-Hydroxycorticosteroids ...................................... Male: 3.0-10.0 mg/24 h .................................... 8.2-27.6 μmol/24 h
                                                                               Female: 2.0-8.0 mg/24 h................................... 5.5-22.0 μmol/24 h
 17-Ketosteroids, total ............................................... Male: 8-20 mg/24 h .......................................... 28-70 μmol/24 h
                                                                               Female: 6-15 mg/24 h....................................... 21-52 μmol/24 h
 Osmolality ............................................................... 50-1400 mOsmol/kg H2O
 Oxalate ..................................................................... 8-40 μg/mL ...................................................... 90-445 μmol/L
 Potassium ................................................................ Varies with diet ................................................ Varies with diet
 Proteins, total .......................................................... <150 mg/24 h .................................................. <0.15 g/24 h
 Sodium .................................................................... Varies with diet ................................................ Varies with diet
 Uric acid ................................................................... Varies with diet ................................................ Varies with diet

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                                  USMLE STEP 1 SAMPLE TEST QUESTIONS

                                                BLOCK 1, ITEMS 1-40

1.   An otherwise healthy 26-year-old woman has had petechiae on her legs during the last 24 hours. Laboratory studies show:

                                  Hemoglobin                                 13.1 g/dL
                                  Hematocrit                                 39.7%
                                  Leukocyte count                            8500/mm3
                                    Neutrophils                              65%
                                    Lymphocytes                              30%
                                    Monocytes                                5%
                                  Mean corpuscular volume                    82.2 μm3
                                  Platelet count                             20,000/mm3

     A peripheral blood smear shows normal red cell morphology; a bone marrow smear shows mature megakaryocytic
     hyperplasia. Which of the following is the most likely diagnosis?

        (A)   Acute megakaryocytic leukemia
        (B)   Acute myelogenous leukemia
        (C)   Aplastic anemia
        (D)   Immune thrombocytopenic purpura
        (E)   Epstein-Barr viral infection
        (F)   Papovavirus infection
        (G)   Thrombotic thrombocytopenic purpura


2.   An 83-year-old man comes to the physician because of a 2-day history of constant severe pain of his right knee. He had a
     similar episode 1 year ago that subsided in 1 month without treatment. His temperature is 37.7°C (99.9°F). Examination of
     the right knee shows swelling; there is no overlying warmth or apparent deformity. Palpation and movement of the right knee
     produce pain; range of motion is limited by pain. An x-ray of the right knee shows large subchondral cysts and linear
     meniscal calcifications. Examination of fluid obtained on joint aspiration of the knee shows:

          Amount                                        2 mL
          Appearance                                    cloudy with diminished viscosity and crystals present
          Leukocyte count                               49,000/mm3
            Segmented neutrophils                       65%
            Lymphocytes                                 35%

     His pain is moderately improved after the joint aspiration and injection of corticosteroids. Treatment with ibuprofen during
     the next week significantly improves his condition. Histologic examination of the joint fluid aspirate is most likely to show
     which of the following types of crystals?

        (A)   Calcium pyrophosphate
        (B)   Cholesterol
        (C)   Oxalic acid
        (D)   Potassium phosphate




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3.   A 16-year-old boy comes to the physician because of a rash on his left inner thigh that first appeared 2 days after he returned
     from a hunting trip with friends in Minnesota. A photograph of the rash is shown. Without treatment, this patient is at
     increased risk for which of the following?

        (A)   Carditis
        (B)   Glomerulonephritis
        (C)   Hepatitis
        (D)   Pancreatitis
        (E)   Thrombocytopenia


4.   A previously healthy 24-year-old woman comes to the emergency department because of fever and diarrhea for the past
     5 days. She has more than 10 bowel movements daily, accompanied by abdominal cramping and the passage of mucus and
     blood clots. She has not traveled out of the United States. Tympanic temperature is 39°C (102.2°F). Bowel sounds are
     increased. Test of stool for occult blood is positive. Which of the following is the most likely causal organism?

        (A)   Bacillus cereus
        (B)   Cryptosporidium parvum
        (C)   Giardia lamblia
        (D)   Shigella sonnei
        (E)   Staphylococcus aureus


5.   An 84-year-old woman who resides in an assisted living facility is brought to the emergency department because of fever and
     cough for 1 week. The cough has been productive of foul-smelling, yellow-green sputum for 24 hours. She has a 2-year
     history of dementia, Alzheimer type. Her temperature is 38.5°C (101.3°F), pulse is 80/min, respirations are 20/min, and
     blood pressure is 116/66 mm Hg. Coarse inspiratory crackles are heard over the right lung field. Laboratory studies show a
     leukocyte count of 13,500/mm3 (72% segmented neutrophils, 8% bands, 1% eosinophils, 16% lymphocytes, and 3%
     monocytes). A CT scan shows a cavitary lesion in the superior segment of the right lower lobe. The lesion has a thick wall
     and an irregular peripheral margin; there is no displacement of the adjacent bronchovascular bundle. Which of the following
     is the most likely cause of the lung lesion in this patient?

        (A)   Antecedent viral pneumonia
        (B)   Aspiration of gastric contents
        (C)   Bronchial obstruction by metastatic carcinoma
        (D)   Lung infarction secondary to arterial thrombosis
        (E)   Primary carcinoma of the lung
        (F)   Secondary infection of a congenital lung cyst
        (G)   Septic embolism from an extrapulmonary site




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6.   A 55-year-old man comes to the physician because of a 2-week history of recurrent, widespread blister formation. Physical
     examination shows lesions that are most numerous in the flexural areas including the axillae and groin. The blisters do not
     break easily, and there are no oral lesions. These blisters are most likely the result of adhesion failure involving which of the
     following?

        (A)   Basement membrane
        (B)   Dermal papillae
        (C)   Langerhans cells
        (D)   Melanocytes
        (E)   Merkel cells


7.   A 59-year-old man is brought to the emergency department because of a 4-day history of nausea, vomiting, and diarrhea. He
     also has been confused and agitated during this period. He has a history of mild hypertension. His current medication is a
     diuretic. His temperature is 37°C (98.6°F), pulse is 108/min, respirations are 26/min, and blood pressure is 70/47 mm Hg.
     Physical examination shows delayed capillary refill of the lips and nail beds and cool extremities. His oxyhemoglobin
     saturation in a central vein is 60% (N= 70–75). These findings are most consistent with which of the following types of
     shock?

        (A)   Cardiogenic
        (B)   Distributive
        (C)   Hypovolemic
        (D)   Obstructive
        (E)   Septic


8.   A 7-month-old infant is brought to the physician's office because of poor weight gain despite large food intake. He has had
     two episodes of pneumonia and has frequent bulky stools. He coughs frequently. X-rays of the lungs show increased
     markings and hyperinflation. Trypsin is absent in a fresh stool sample, and the fat content is increased. Which of the
     following is the most likely cause of this infant's disorder?

        (A)   Autoimmune disorder
        (B)   Defective ion transport at epithelial surfaces
        (C)   Disaccharidase deficiency
        (D)   Inability to synthesize apolipoprotein B
        (E)   Villous atrophy of the jejunum


9.   A 65-year-old man is brought to the emergency department 30 minutes after the onset of acute chest pain at rest that radiates
     to his left arm. His pulse is 110/min, respirations are 20/min, and blood pressure is 150/80 mm Hg. Physical examination
     shows diaphoresis. The lungs are clear to auscultation of the chest. An ECG shows a new left bundle branch block. The
     tentative diagnosis of acute coronary syndrome is made. Treatment with oxygen via nasal cannula, oral aspirin, and
     sublingual nitroglycerin, followed by an intravenous dose of a β-adrenergic blocker, is begun. Which of the following sets of
     changes is most likely to occur in this patient after the intravenous dose?

                                             Myocardial               Myocardial O2
                   Heart Rate                Contractility            Consumption
      (A)          No change                  increased                 increased
      (B)          No change                  increased                decreased
      (C)          No change                  decreased                 increased
      (D)          No change                  decreased                decreased
      (E)          Decreased                  increased                decreased
      (F)          Decreased                  decreased                 increased
      (G)          Decreased                  decreased                decreased




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10.   A 55-year-old woman with small cell carcinoma of the lung is admitted to the hospital to undergo chemotherapy. Six days
      after treatment is started, she develops a temperature of 38°C (100.4°F). Physical examination shows no other abnormalities.
      Laboratory studies show a leukocyte count of 100/mm3 (5% segmented neutrophils and 95% lymphocytes). Which of the
      following is the most appropriate pharmacotherapy to increase this patient's leukocyte count?

         (A)   Darbepoetin
         (B)   Dexamethasone
         (C)   Filgrastim
         (D)   Interferon alfa
         (E)   Interleukin-2 (IL-2)
         (F)   Leucovorin


11.   A technician wants to determine whether cytomegalovirus (CMV) DNA is present in the blood of a bone marrow transplant
      recipient. DNA purified from the leukocytes of the patient is reacted in a mixture containing oligonucleotides specific for
      CMV DNA, thermostable DNA polymerase, and nucleotides. Repetitive cycles of heating and cooling are performed, and the
      reaction product is detected by gel electrophoresis. The technician most likely used which of the following laboratory
      procedures on this patient's blood?

         (A)   Northern blotting
         (B)   Polymerase chain reaction
         (C)   Reverse transcription
         (D)   Southern blotting
         (E)   Western blotting


12.   Over 1 year, a study is conducted to assess the antileukemic activity of a new tyrosine kinase inhibitor in patients with
      chronic myeloid leukemia in blast crisis. All patients enrolled in the study are informed that they would be treated with the
      tyrosine kinase inhibitor. They are assigned to successive dose cohorts of 300 to 1000 mg/day of the drug. Six to eight
      patients are assigned to each dose. Treatment efficacy is determined based on the results of complete blood counts and bone
      marrow assessments conducted regularly throughout the study. This study is best described as which of the following?

         (A)   Case-control study
         (B)   Crossover study
         (C)   Open-labeled clinical trial
         (D)   Randomized clinical trial
         (E)   Single-blind, randomized, controlled trial




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13.   A 12-year-old boy is brought to the physician by his mother because of a 1-month history of pain below the left knee. His
      mother says, "He can usually walk around, but he hasn't been able to play in any of his soccer games since this all began."
      Examination of the left knee shows warmth, swelling, and tenderness. An x-ray of the knee is shown. Which of the following
      structures is attached to the abnormal anterior tibial area?

         (A)   Anterior cruciate ligament
         (B)   Gastrocnemius muscle
         (C)   Patellar ligament
         (D)   Popliteus muscle
         (E)   Posterior cruciate ligament
         (F)   Soleus muscle


14.   A 45-year-old man comes to the physician for HIV testing. He says that he has been having an extramarital affair with a
      woman for 6 months, and he hopes this affair will continue because it has made him very happy. He has no plans to tell his
      wife about the affair. The wife is also a patient of the physician. Physical examination shows no abnormalities, and the result
      of a serum HIV antibody test is negative. Which of the following is the most appropriate action by the physician?

         (A)   Alert the local public health department to the patient's activities
         (B)   Explain to the patient that one of them must tell the wife about the affair for her own safety
         (C)   Refer the patient for counseling
         (D)   Say nothing about the affair to anyone other than the patient
         (E)   Tell the patient's wife about the affair so she can make an informed decision about possibly being placed at risk in
                  the future




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15.   A 63-year-old homeless man is brought to the emergency department 1 hour after police found him unresponsive. His
      respirations are 30/min. Crackles are heard over the left upper and the entire right lung fields. Despite appropriate lifesaving
      measures, he dies. A photomicrograph of a section of the right lung obtained at autopsy is shown. Which of the following
      mediators is the most likely cause of the position of the cell indicated by the arrow?

         (A)   Bradykinin
         (B)   C5a
         (C)   Histamine
         (D)   Nitrous oxide
         (E)   Prostaglandins


16.   A 63-year-old woman comes to the physician because of a 2-week history of fatigue, malaise, nausea and vomiting, and
      decreased appetite; these symptoms have worsened during the past week. She was diagnosed with tuberculosis 3 months ago;
      a multidrug regimen was initiated at that time. Her temperature is 37.1°C (98.8°F). Physical examination shows scleral
      icterus and tenderness over the right upper quadrant of the abdomen; there is no hepatomegaly. Serum studies show a total
      bilirubin concentration of 6.5 mg/dL, AST activity of 580 U/L, and ALT activity of 650 U/L. Which of the following drugs is
      the most likely cause of these findings?

         (A)   Ethambutol
         (B)   Isoniazid
         (C)   Levofloxacin
         (D)   Streptomycin
         (E)   Vitamin B6 (pyridoxine)


17.   A 48-year-old woman comes to the emergency department because of shortness of breath. She has no history of cardiac or
      pulmonary disease. Her current medication is timolol for glaucoma. Her pulse is 75/min. Diffuse wheezing is heard in the
      lower lung fields. An ECG shows no abnormalities. In addition to discontinuing timolol, which of the following drugs is the
      most appropriate treatment to relieve symptoms at this time?

         (A)   Adenosine
         (B)   Albuterol
         (C)   Beclomethasone
         (D)   Cromolyn
         (E)   Propranolol




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18.   A 55-year-old man is brought to the emergency department because of shortness of breath and confusion for 4 hours. He has
      hypertension and chronic kidney disease requiring hemodialysis. An ECG shows low voltage with electrical alternans.
      Physical examination is most likely to show which of the following findings?

               Blood Pressure (mm Hg)          Pulse (/min)             Jugular Venous Pressure                Pulsus Paradoxus
       (A)              85/60                      120                          increased                          increased
       (B)              85/60                      120                          increased                           normal
       (C)              85/60                      120                           normal                             normal
       (D)             120/80                       80                          increased                          increased
       (E)             120/80                       80                           normal                            increased
       (F)             120/80                       80                           normal                             normal


19.   A healthy 28-year-old woman comes to the physician for advice on losing weight. She is 150 cm (4 ft 11 in) tall and weighs
      56 kg (124 lb); BMI is 25 kg/m2. Physical examination shows no other abnormalities. The physician recommends a diet that
      will restrict her daily intake by 500 kilocalories. Which of the following processes is most likely to increase in this patient as
      a result of following this diet?

         (A)    Adipocyte glucose uptake
         (B)    Cerebral ketone utilization
         (C)    Hepatic lipid oxidation
         (D)    Muscle glucose uptake
         (E)    Resting energy expenditure


20.   A 14-year-old girl with a 9-year history of type 1 diabetes mellitus is brought to the physician by her mother for a follow-up
      examination. She has been admitted to the hospital twice in the past 3 months because of diabetic ketoacidosis. She
      previously had been compliant with monitoring her blood glucose concentration and with her diet and insulin regimen. She
      acknowledges that, when she is with her peers, she eats whatever she wants and does not check her blood glucose
      concentration. She adds, "I'm embarrassed to inject myself in front of them." The physician is having a great deal of difficulty
      with her 15-year-old son who has been truant from school and sneaking out of the house. She says to the patient, "You should
      be ashamed for not taking care of yourself. We've all worked so hard to keep you healthy." Which of the following terms best
      describes the physician's reaction to the patient?

         (A)    Countertransference
         (B)    Identification with the aggressor
         (C)    Projection
         (D)    Splitting
         (E)    Sublimation


21.   A sexually active 23-year-old man with multiple sex partners has dysuria and a yellow urethral exudate. Gram stain of the
      exudate shows numerous neutrophils, many that contain intracellular gram-negative diplococci. He has had three similar
      episodes of urethritis over the past 2 years. Which of the following properties of the infecting organism best explains the
      reinfection?

         (A)    Antigenic variation
         (B)    Catalase
         (C)    Inhibition of B-lymphocyte function
         (D)    Inhibition of T-lymphocyte function
         (E)    Polysaccharide capsule




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22.   A 40-year-old woman receives an intravenous infusion of drug X that selectively constricts the efferent arterioles in her
      kidneys. Following the infusion, total cardiac output and renal afferent arteriolar tone are unchanged, but renal efferent
      arteriolar tone and total renal vascular resistance have both increased. Which of the following sets of changes most likely
      occurred following the infusion of drug X?

                         Glomerular Filtration Rate                   Filtration Fraction             Renal Blood Flow
      (A)                           ↓                                          ↓                             ↑
      (B)                           ↓                                          ↑                             ↓
      (C)                           ↓                                          ↑                             ↔
      (D)                           ↑                                          ↓                             ↔
      (E)                           ↑                                          ↑                             ↓


23.   A 23-year-old woman comes to the physician for genetic counseling prior to conception. Her brother and maternal uncle had
      Duchenne muscular dystrophy (DMD) and died at the ages of 28 and 17 years, respectively. Genetic analysis was not
      performed on either relative prior to death. Serum studies show a muscle creatine kinase concentration of 120 U/L (N=22–
      198). The patient's 50-year-old mother has a serum muscle creatine kinase concentration of 300 U/L. Which of the following
      is the most appropriate assessment of this patient's carrier status for this disease?

            (A)   The patient has a 50% risk for developing DMD
            (B)   The patient has a 50% risk of having a child with DMD
            (C)   The patient is a carrier of the disease based on her family history of DMD
            (D)   The patient is not a carrier of the DMD based on her normal creatine kinase concentration
            (E)   The patient's DMD carrier status is uncertain because of random X inactivation


24.   A 45-year-old man comes to the physician because of right shoulder pain that began after he chopped wood 2 days ago.
      Examination of the right upper extremity shows no obvious bone deformities or point tenderness. The pain is reproduced
      when the patient is asked to externally rotate the shoulder against resistance; there is no weakness. In addition to the teres
      minor, inflammation of which of the following tendons is most likely in this patient?

            (A)   Infraspinatus
            (B)   Pectoralis
            (C)   Subscapularis
            (D)   Supraspinatus
            (E)   Trapezius


25.   A 39-year-old woman with a 1-month history of itching, watery eyes, nasal congestion, runny nose, and sneezing undergoes
      hypersensitivity testing. During the test, allergens are introduced by pricking the skin with lancets coated with pollen and
      grass extracts. Within 30 minutes, a visible reddening reaction of the skin occurs at the sites of allergen introduction. Which
      of the following most likely initiates the inflammatory response to these allergens in this patient?

            (A)   C3
            (B)   IgE
            (C)   Interferon gamma
            (D)   Interleukin-2 (IL-2)
            (E)   Tumor necrosis factor




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26.   A 26-year-old man is brought to the emergency department by ambulance 30 minutes after being shot in the leg. He is
      unconscious and appears markedly pale. His pulse is 120/min, respirations are 16/min, and blood pressure is 80/60 mm Hg.
      Compared with a healthy adult, which of the following findings is most likely in this patient?

               Arterial Baroreceptor           Systemic Vascular               Pulmonary Vascular        Systemic Capillary
                    Firing Rate                    Resistance                      Resistance              Fluid Transfer
      (A)                ↑                             ↑                               ↑                      filtration
      (B)                ↑                             ↓                               ↑                     absorption
      (C)                ↑                             ↓                               ↓                      filtration
      (D)                ↓                             ↑                               ↑                     absorption
      (E)                ↓                             ↑                               ↓                      filtration
      (F)                ↓                             ↓                               ↓                     absorption


27.   A 1-day-old newborn is evaluated for possible sepsis. Blood cultures grow gram-positive cocci in pairs and chains that
      agglutinate with group B antiserum. The most likely epidemiologic risk factor for this infection involves bacterial
      colonization of which of the following?

         (A)    Mother's vagina
         (B)    Newborn's gastrointestinal tract
         (C)    Newborn's nasopharynx
         (D)    Placenta
         (E)    Umbilical cord remnant


28.   A 14-year-old boy is brought to the physician because of a 2-day history of a sore throat and fever that peaks in the late
      afternoon. He also has a 1-week history of progressive fatigue. He recently began having unprotected sexual intercourse with
      one partner. He appears ill. His temperature is 39°C (102.2°F). Physical examination shows cervical lymphadenopathy and
      pharyngeal erythema with a creamy exudate. Which of the following is the most likely diagnosis?

         (A)    Candidiasis
         (B)    Herpangina
         (C)    Infectious mononucleosis
         (D)    Mumps
         (E)    Syphilis


29.   A 50-year-old man comes to the physician because of a persistent cough for the past 2 months. He has had a 5-kg (11-lb)
      weight loss during this period. He is a poultry farmer. Current medications include atenolol, enalapril, hydrochlorothiazide,
      and omeprazole for hypertension and gastroesophageal reflux. Physical examination shows no other abnormalities.
      Laboratory studies show histoplasmosis infection. Itraconazole therapy is initiated and omeprazole is discontinued. Which of
      the following best describes the reason for removing omeprazole from this patient's medication regimen?

         (A)    It decreases distribution volume of itraconazole
         (B)    It decreases gastrointestinal absorption of itraconazole
         (C)    It decreases partitioning from blood to lung of itraconazole
         (D)    It enhances hepatic metabolism of itraconazole
         (E)    It enhances protein binding of itraconazole
         (F)    It enhances renal elimination of itraconazole




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30.   A 25-year-old woman comes to the physician because of a 10-year history of frequent occurrences of fever blisters. Physical
      examination shows perioral vesicles. Microscopic examination of culture of scrapings from three vesicles shows herpes
      simplex virus 1. Which of the following patterns in the figure shown was most likely observed when the viral DNA from the
      cultures was examined by restriction enzyme analysis on polyacrylamide gels?




31.   An investigator is studying the effect of parathyroid hormone (PTH) in experimental animals. During an 8-hour period,
      Animal X is infused with PTH and Animal Y is infused with 5% dextrose in water. Which of the following sets of findings
      best describes the most likely serum concentrations in Animal X compared with Animal Y at the end of the infusion?

                      Calcium                   Phosphorus                  1,25-Dihydroxyvitamin D
         (A)          Increased                  increased                          increased
         (B)          Increased                  increased                          decreased
         (C)          Increased                  decreased                          increased
         (D)          Increased                  decreased                          decreased
         (E)          Decreased                  increased                          increased
         (F)          Decreased                  increased                          decreased
         (G)          Decreased                  decreased                          increased
         (H)          Decreased                  decreased                          decreased


32.   A study of a new antihypertensive drug is being conducted in experimental animals. It is found that one of its pharmacologic
      effects is a decrease in plasma renin activity and serum angiotensin II concentration. A possible mechanism of action that
      would produce this effect is blockade of which of the following?

         (A)   α1-Adrenoreceptor
         (B)   β1-Adrenoreceptor
         (C)   Angiotensin-converting enzyme
         (D)   Angiotensin II AT1 receptor
         (E)   Renal tubular Cl− reabsorption
         (F)   Renal tubular Na+ reabsorption




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33.   A 19-year-old man is brought to the emergency department because of a 12-hour history of severe headache and double
      vision. He underwent extraction of all four third molars 1 week ago. Ophthalmologic examination shows exophthalmos on
      the right and weakness with abduction of the right eye. Further studies confirm the diagnosis of cavernous sinus thrombosis.
      Which of the following is the most likely cause of the diplopia in this patient?

         (A)   Compression of the oculomotor nerve
         (B)   Compression of the trochlear nerve
         (C)   Compression of the ophthalmic division of the trigeminal nerve
         (D)   Compression of the abducens nerve
         (E)   Infection of the inferior oblique muscle
         (F)   Infection of the inferior rectus muscle
         (G)   Infection of the lateral rectus muscle
         (H)   Infection of the medial rectus muscle
         (I)   Infection of the superior oblique muscle
         (J)   Infection of the superior rectus muscle


34.   A 44-year-old man is brought to the emergency department because of a 2-day history of severe headache and blurred vision.
      His blood pressure is 185/95 mm Hg. Physical examination shows no other abnormalities. His plasma renin activity is 210
      μU/mL (N=5–97). Losartan therapy is initiated. Which of the following sets of findings is most likely in this patient after 28
      days of treatment?

                  Total Peripheral                   Sodium                        Plasma
                    Resistance                      Excretion                    Aldosterone
      (A)            Increased                      increased                     increased
      (B)            Increased                      increased                     decreased
      (C)            Increased                      decreased                     increased
      (D)            Decreased                      increased                     decreased
      (E)            Decreased                      decreased                     increased
      (F)            Decreased                      decreased                     decreased


35.   A 31-year-old woman comes to the physician because of a 2-week history of malaise, nausea, vomiting, and decreased
      appetite. She is a known user of intravenous heroin. She appears chronically ill. She is 165 cm (5 ft 5 in) tall and weighs
      47 kg (103 lb); BMI is 17 kg/m2. Her temperature is 36.7°C (98.1°F), pulse is 90/min, respirations are 18/min, and blood
      pressure is 114/68 mm Hg. Physical examination shows scleral icterus and a liver span of 16 cm. The spleen is not palpable.
      Serum studies show:

                                  Total bilirubin                                  3.2 mg/dL
                                  AST                                              774 U/L
                                  ALT                                              820 U/L
                                  HIV antibody                                     negative
                                  Hepatitis B surface antigen                      negative
                                  Hepatitis B surface antibody                     positive
                                  Anti-hepatitis B core antibody                   positive
                                  Hepatitis B DNA                                  negative
                                  Anti-hepatitis C virus                           positive
                                  Hepatitis C RNA                                  positive

      Which of the following is the most likely outcome of this patient's infection?

         (A)   Complete resolution of infection
         (B)   Latent infection with intermittent viremia
         (C)   Lifelong persistent infection
         (D)   Patient death from acute infection




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36.   A 62-year-old woman comes to the physician because of low back pain for 1 week. Menopause occurred 10 years ago.
      Physical examination shows localized tenderness over the lumbar spine after movement. X-rays of the spine show a
      compression fracture of L1-2. A DEXA scan shows decreased bone mineral density. Serum calcium and phosphorus
      concentrations and serum alkaline phosphatase activity are within the reference ranges. A bisphosphonate drug is prescribed.
      The expected beneficial effect of this drug is most likely due to which of the following actions?

            (A)   Decreased insulin-like growth factor-1 concentration
            (B)   Decreased osteoclast activity
            (C)   Decreased osteoprotegerin production
            (D)   Increased 1,25-dihydroxycholecalciferol concentration
            (E)   Increased osteoblast activity
            (F)   Increased receptor activator of NF-κB ligand (RANKL) production


37.   A 22-year-old woman contacts a medical student and asks if he would like to join her for dinner. The student met the woman
      when he was assigned to her care during her 2-week hospitalization for treatment of major depressive disorder. He has not
      treated or seen the patient since she was discharged from the hospital. He is attracted to this former patient and would be
      interested in dating her. Which of the following is the most appropriate action by the medical student regarding this patient's
      invitation?

            (A)   He can date her because he was a medical student, not a physician, when he contributed to her care
            (B)   He can date her because she is no longer his patient
            (C)   He can date her, but only after at least 1 year has passed since he treated her
            (D)   He cannot date her because she was once his psychiatric patient
            (E)   He cannot date her unless she agrees never to seek care at his hospital in the future


38.   A 26-year-old woman is brought to the emergency department 3 hours after ingesting approximately 50 tablets of aspirin in a
      suicide attempt. She is nauseated, confused, and sleepy. Her pulse is 130/min, respirations are 30/min, and blood pressure is
      100/60 mm Hg. Which of the following sets of laboratory values is most likely on evaluation of blood obtained before
      treatment?

                       Serum              Arterial Blood
                       HCO3−            pH           PCO2
      (A)                ↑               ↓             ↑
      (B)                ↓               ↓             ↓
      (C)                ↑               ↑             ↓
      (D)                ↓               ↓             ↑
      (E)                ↑               ↑             ↑


39.   A 32-year-old woman with rheumatoid arthritis comes to the physician for a follow-up examination. Six months ago, she
      began treatment with a drug that blocks tumor necrosis factor. She says that initially her symptoms improved, but her joint
      pain has increased during the past 3 weeks. Physical examination shows swollen, tender, stiff joints in the hands and knees.
      Which of the following is the most likely cause of the loss of drug efficacy in this patient?

            (A)   Decreased B-lymphocyte sensitivity to the drug
            (B)   Decreased T-lymphocyte sensitivity to the drug
            (C)   Development of antibodies to the drug
            (D)   Impaired absorption of the drug from the gastrointestinal tract
            (E)   Increased elimination of the drug from the body




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40.   An otherwise healthy 45-year-old man comes to the physician because of a 3-week history of progressive epigastric heartburn
      and a 4.5-kg (10-lb) weight loss. The pain tends to be more severe at night and occurs 1 to 3 hours after meals during the day.
      He has had similar episodes with lesser intensity during the past year. Abdominal examination shows tenderness to deep
      palpation. Test of the stool for occult blood is positive. Endoscopy shows a bleeding 3-cm ulcer in the antrum of the stomach.
      A photomicrograph of Steiner silver-stained tissue (400x) from a biopsy of the gastric mucosa adjacent to the ulcer is shown.
      Which of the following processes is most likely to be involved?

         (A)   Elaboration of proteases and urease with local tissue destruction
         (B)   Hyperacidity and gastric ulcer development
         (C)   Ingestion of preformed toxins in contaminated well water
         (D)   Spirochete invasion of gastric cells




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                                   USMLE STEP 1 SAMPLE TEST QUESTIONS

                                                 BLOCK 2, ITEMS 41-80
41.   A new blood test to detect prostate cancer is evaluated in 300 male volunteers. A needle biopsy of the prostate gland is done
      on all men with serum prostate-specific antigen concentrations greater than 5 ng/mL (N<4). One hundred men undergo
      biopsy procedures; 90 are found to have prostate cancer, and five are found to have chronic prostatitis. Which of the
      following is necessary to calculate the sensitivity of this test?

         (A)   Incidence of chronic prostatitis in the general population
         (B)   Number of men with test results greater than 5 ng/mL and a normal biopsy specimen
         (C)   Prevalence of chronic prostatitis in the general population
         (D)   Prostate biopsies of men with test results equal to or below 5 ng/mL




42.   A 64-year-old man comes to the physician because of swelling in his feet for the past 2 years. He says that his skin is dry and
      itchy and his feet "feel heavy." One of his legs is shown. Which of the following is the most likely cause of his condition?

         (A)   Arteriolar constriction and arteriolar hypertension
         (B)   Arteriolar dilation and venous hypertension
         (C)   Venous constriction and arteriolar constriction
         (D)   Venous hypertension and incompetent valves
         (E)   Venous hypertension and venous constriction




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43.   A 32-year-old woman with HIV infection is brought to the emergency department 15 minutes after she had a generalized
      tonic-clonic seizure. She has a 1-day history of right-sided weakness. Her temperature is 38.5°C (101.3°F). Muscle strength is
      4/5 in the right upper extremities and 4/5 in the right lower extremity. Laboratory studies show a positive anti-Toxoplasma
      IgG and positive anti-cytomegalovirus IgG. Her CD4+ T-lymphocyte count is 32/mm3 (N≥500), and plasma HIV viral load is
      84,000 copies/mL. A gadolinium-enhanced MRI of the brain shows multiple ring-enhancing lesions. Infection with which of
      the following agents is the most likely cause of the findings in this patient?

         (A)   Cryptococcus neoformans
         (B)   Cytomegalovirus
         (C)   Epstein-Barr virus
         (D)   Neisseria meningitidis
         (E)   Streptococcus pneumoniae
         (F)   Toxoplasma gondii


44.   A previously healthy 27-year-old man is brought to the emergency department 30 minutes after sustaining stab wounds to the
      right side of his neck and arm. He has lost approximately 1000 mL of blood. His pulse is 110/min, respirations are 22/min,
      and blood pressure is 95/65 mm Hg. Physical examination shows lacerations of the right side of the neck and right upper
      extremity. Which of the following responses by the kidneys is most likely?

         (A)   Acute tubular necrosis
         (B)   Osmotic diuresis
         (C)   Sodium wasting
         (D)   Vasoconstriction
         (E)   Water conservation


45.   A 57-year-old man receives radiation therapy for a squamous cell carcinoma of the lung. Despite therapy, the tumor
      progressively increases in size, and he dies 6 months later. His tumor cells contain a point mutation in the p53 gene (TP53),
      leading to an inactive gene product. Based on this finding, the progressive tumor growth despite irradiation therapy is most
      likely to be related to a defect in cell cycle arrest in which of the following phases of the cell cycle?

         (A)   G0
         (B)   G1
         (C)   G2
         (D)   M
         (E)   S


46.   A male stillborn is delivered at 32 weeks' gestation to a 30-year-old woman. The pregnancy was complicated by
      oligohydramnios. Examination of the stillborn shows the absence of a urethral opening. Which of the following additional
      findings is most likely in this stillborn?

         (A)   Congenital diaphragmatic hernia
         (B)   Intralobar sequestration
         (C)   Pulmonary hypoplasia
         (D)   Situs inversus
         (E)   Tracheoesophageal fistula




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47.   A 36-year-old man with profound intellectual disability is brought to the physician by staff at his facility because of
      increasing abdominal girth during the past 2 weeks. He is unable to speak, and no medical history is currently available.
      Physical examination shows a protuberant abdomen with a fluid wave and shifting dullness. There are no signs of trauma to
      the area. Laboratory studies show no abnormalities. A CT scan of the abdomen is shown. Fluid is present in which of the
      following areas as indicated by the arrow?

         (A)   Epiploic foramen
         (B)   Gastrosplenic ligament
         (C)   Hepatorenal pouch (of Morison)
         (D)   Omental bursa (lesser sac)
         (E)   Sulcus pericolicus


48.   A 59-year-old woman comes to the physician because of yellow skin for 5 days. Physical examination shows jaundice. There
      is mild epigastric tenderness on deep palpation. Serum studies show:

                                         Bilirubin, total                 9.6 mg/dL
                                           Direct                         8.9 mg/dL
                                         Alkaline phosphatase             310 U/L
                                         AST                              29 U/L
                                         ALT                              31 U/L

      A CT scan of the abdomen shows a 3-cm mass at the head of the pancreas. Examination of material from the mass obtained
      by fine-needle aspiration shows numerous anaplastic cells. These cells most likely originated from which of the following
      components of the pancreas?

         (A)   Acinar epithelium
         (B)   Duct epithelium
         (C)   Interstitial adipose tissue
         (D)   Interstitial fibrous tissue
         (E)   Islet of Langerhans
         (F)   Vascular endothelium




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49.   A full-term female newborn is examined shortly after birth. She appears to be small for gestational age, and she has excess
      skin on the nape of the neck and lymphedema of the hands and feet. Chromosomal analysis shows some cells with a normal
      46,XY karyotype and some cells with a 45,X karyotype. Which of the following mechanisms best explains this cytogenetic
      abnormality?

         (A)   Nondisjunction in mitosis
         (B)   Reciprocal translocation
         (C)   Robertsonian translocation
         (D)   Skewed X-inactivation
         (E)   Uniparental disomy


50.   A 49-year-old woman comes to the physician for a follow-up examination. She has a strong family history of coronary artery
      disease. Her blood pressure has ranged from 150/95 mm Hg to 130/85 mm Hg during the previous three visits within the past
      2 months. Her blood pressure today is 140/90 mm Hg. Physical examination shows no other abnormalities. Laboratory
      studies show:

                                       Cholesterol, total                   290 mg/dL
                                         HDL-cholesterol                    40 mg/dL
                                         LDL-cholesterol                    190 mg/dL
                                       Triglycerides                        350 mg/dL

      Treatment with atorvastatin and losartan is initiated. Which of the following serum findings is most likely to occur in this
      patient?

                           HDL-cholesterol                       Triglycerides
         (A)                 Decreased                            decreased
         (B)                 Decreased                             increased
         (C)                 Increased                            decreased
         (D)                 Increased                             increased
         (E)                 No change                            no change


51.   A 12-year-old boy is brought to the physician by his father because of redness and swelling of his left foot for 24 hours.
      Three days ago, the boy scraped his foot while wading in a drainage ditch. Examination of the left foot shows a purulent
      abrasion with edema, erythema, and tenderness on the lateral side. Infection is most likely to next spread from the lateral side
      of the foot to the regional lymph nodes in which of the following areas?

         (A)   Lateral surface of the thigh
         (B)   Medial malleolus, posteriorly
         (C)   Popliteal fossa
         (D)   Sole of the foot
         (E)   Superficial inguinal area


52.   A 6-day-old breast-fed boy is brought to the emergency department by his mother because of poor weight gain and irritability
      since delivery, and a 2-hour history of vomiting. Physical examination shows jaundice and hepatomegaly. A reducing
      substance test result of the urine is positive, and a glucose oxidase test result is negative. The concentration of which of the
      following metabolites in liver is most likely increased in this patient?

         (A)   Fructose 1,6-bisphosphate
         (B)   Galactose 1-phosphate
         (C)   Glucose 1-phosphate
         (D)   Glucose 6-phosphate




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53.   A randomized clinical trial is conducted to assess whether statin use decreases mortality due to myocardial infarction (MI). A
      total of 2000 participants are enrolled: 1000 participants receive treatment with statins, and 1000 participants receive placebo.
      Participants are followed for an average of 5 years. Results are shown:

                                                                           Fatal MI
                                                                     Yes               No          Total
                                            Statins                  15               985          1000
                 Treatment
                                            Placebo                  25               975          1000
                                            Total                    40               1960         2000

      The investigators calculate that the cost of the drug is $1000 per patient per year. Based on these data, which of the following
      best represents the cost of the drug to prevent one death due to MI over the 5-year period?

         (A)   $1500
         (B)   $5000
         (C)   $15,000
         (D)   $50,000
         (E)   $150,000
         (F)   $500,000


54.   A 68-year-old woman has the sudden onset of weakness in her right arm and leg. She can speak, but her words are not
      enunciated clearly. Neurologic examination 6 weeks later shows an extensor plantar reflex on the right. When she is asked to
      protrude her tongue, it deviates to the left, and the muscle in the left side of the tongue shows considerable atrophy. Which of
      the following labeled areas in the transverse sections of the brain stem is most likely damaged?




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55.   A placebo-controlled clinical trial is conducted to assess whether a new antihypertensive drug is more effective than standard
      therapy. A total of 5000 patients with essential hypertension are enrolled and randomly assigned to one of two groups: 2500
      patients receive the new drug and 2500 patients receive placebo. If the alpha is set at 0.01 instead of 0.05, which of the
      following is the most likely result?

         (A)   Significant findings can be reported with greater confidence
         (B)   The study will have more power
         (C)   There is a decreased likelihood of a Type II error
         (D)   There is an increased likelihood of statistically significant findings
         (E)   There is an increased likelihood of a Type I error


56.   A 32-year-old woman and 31-year-old man come to the physician for preconceptional counseling. The man's brother recently
      started dialysis for polycystic kidney disease at age 42 years. Analysis of the man's urine shows 2+ blood and 10-
      20 RBC/hpf. Ultrasonography shows multiple cysts in both kidneys. Which of the following best represents the likelihood
      that this couple will have a child who will develop polycystic kidney disease?

         (A)   0%
         (B)   25%
         (C)   33%
         (D)   50%
         (E)   66%
         (F)   75%
         (G)   100%


57.   An investigator is studying the effect of the number of hours watching television (Factor A) on the percent of hemoglobin A 1c
      in people with type 2 diabetes mellitus. Two different variables, Factor A and hemoglobin A 1c, are compared. The results of
      the study indicate a correlation coefficient of +0.9. Which of the following graphs shown best corresponds to these results?




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58.   A 35-year-old man who works at a facility processing highly radioactive substances accidentally receives a high, whole-body
      dose of ionizing radiation estimated to be 1500 rads (15 gray). He dies 1 week later. At autopsy, histologic examination of the
      skin shows scattered, individual epidermal cells with shrunken, markedly eosinophilic cytoplasm and pyknotic, fragmented
      nuclei. These morphologic changes most likely indicate which of the following processes?

         (A)   Apoptosis
         (B)   Coagulation necrosis
         (C)   Liquefaction necrosis
         (D)   Mutagenesis
         (E)   Tumor initiation




59.   A 47-year-old woman comes to the emergency department because of a 2-week history of intermittent abdominal pain,
      nausea, and vomiting. She has had similar episodes sporadically during the past 4 years. Physical examination shows
      dehydration, jaundice, and upper abdominal distention. Laboratory studies show hyperbilirubinemia. A CT scan and upper
      gastrointestinal series of the abdomen with oral contrast are shown; the arrows indicate the abnormality. Which of the
      following is the most likely cause of these findings?

         (A)   Annular pancreas
         (B)   Cirrhosis of the liver
         (C)   Duodenal constriction by the portal vein
         (D)   Duodenal constriction by the superior mesenteric artery
         (E)   Pyloric stenosis




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60.   A 6-year-old boy is brought to the physician by his parents because of a 3-day history of fever, headache, and cough
      productive of a green, foul-smelling discharge that also exits from his nose. He has had repeated episodes of similar
      symptoms during the past 4 years. He appears pale and lethargic. His height and weight are both below the 10th percentile.
      Coarse rhonchi are heard bilaterally. An x-ray of the chest shows scattered peripheral opacities, dilated and thickened airways
      consistent with bronchiectasis, and a cardiac apex that is directed toward the right. The most likely cause of his recurrent
      infections is a dysfunction of which of the following cell types?

         (A)   Alveolar capillary endothelial cell
         (B)   Alveolar macrophage
         (C)   Chondrocyte
         (D)   Ciliated columnar epithelial cell
         (E)   Clara cell
         (F)   Goblet cell
         (G)   Kulchitsky cell
         (H)   Squamous epithelial cell
         (I)   Type I pneumocyte
         (J)   Type II pneumocyte


61.   A 4-year-old boy is brought to the physician because of slow growth during the past year. He has had recurrent urinary tract
      infections since the age of 1 year. He is at the 10th percentile for height and 25th percentile for weight. Physical examination
      shows pallor. Laboratory studies show a normochromic, normocytic anemia and increased serum concentrations of urea
      nitrogen and creatinine. Urinalysis shows a low specific gravity. Which of the following sets of additional serum findings is
      most likely in this patient?

                 Calcium            Inorganic Phosphorus              1,25-Dihydroxycholecalciferol              Erythropoietin
       (A)          ↑                         ↑                                    ↑                                   ↓
       (B)          ↑                         ↑                                    ↓                                   ↓
       (C)          ↑                         ↓                                    ↓                                   ↑
       (D)          ↓                         ↑                                    ↑                                   ↓
       (E)          ↓                         ↑                                    ↓                                   ↓
       (F)          ↓                         ↓                                    ↑                                   ↑


62.   A 14-year-old boy is brought to the physician for a physical examination prior to participating in sports. He appears reluctant
      to remove his shirt for the examination, and says that he is embarrassed because he has grown breasts during the past year.
      He is at the 50th percentile for height and weight. Physical examination shows bilateral 1.5-cm fibroglandular masses located
      beneath the nipple-areolar complex and normal penis and testes. Pubic hair development is Tanner stage 3. Serum
      concentrations of gonadotropic hormones, estrogens, and testosterone are within the reference ranges. Which of the following
      is the most likely cause of this patient's breast enlargement?

         (A)   Breast adenocarcinoma
         (B)   Estradiol-secreting Leydig cell tumor
         (C)   Peutz-Jeghers syndrome
         (D)   Seminiferous tubule dysgenesis (Klinefelter syndrome)
         (E)   Normal development


63.   A 23-year-old woman with bone marrow failure is treated with a large dose of rabbit antithymocyte globulin. Ten days later,
      she develops fever, lymphadenopathy, arthralgias, and erythema on her hands and feet. Which of the following is the most
      likely cause of these symptoms?

         (A)   Cytokine secretion by natural killer cells
         (B)   Eosinophil degranulation
         (C)   Immune complex deposition in tissues
         (D)   Polyclonal T-lymphocyte activation
         (E)   Widespread apoptosis of B lymphocytes



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64.   A 31-year-old woman with type 2 diabetes mellitus comes to the physician because of an oozing, foul-smelling wound on her
      foot for 2 days. Physical examination shows a 4-cm, necrotizing wound with a purplish black discoloration over the heel.
      Crepitant bullae producing profuse amounts of serous drainage are seen. A Gram stain of a tissue biopsy specimen shows
      gram-positive rods. The causal organism most likely produces which of the following virulence factors?

         (A)   Endotoxin
         (B)   Fimbriae
         (C)   Pneumolysin
         (D)   Polysaccharide capsule
         (E)   α-Toxin


65.   A 35-year-old man comes to the physician because of pain and swelling of his right arm where he scraped it on a tree branch
      2 days ago. His temperature is 38.3°C (101°F). Examination of the right forearm shows edema around a fluctuant
      erythematous lesion at the site of trauma. The area is extremely tender to palpation. Which of the following is most likely the
      primary mechanism of the development of edema in this patient?

         (A)   Degranulation of eosinophils
         (B)   Disruption of vascular basement membranes
         (C)   Increased hydrostatic pressure
         (D)   Release of thromboxane
         (E)   Separation of endothelial junctions


66.   A 6-month-old male infant is admitted to the hospital for treatment of bacterial pneumonia. Examination shows absence of B
      lymphocytes and surface immunoglobulins; there are minimal CD3+ T lymphocytes. An x-ray of the chest shows absence of
      the thymic shadow and a right lower lobe infiltrate. Which of the following is the most likely diagnosis?

         (A)   AIDS
         (B)   Chronic granulomatous disease
         (C)   DiGeorge syndrome
         (D)   Severe combined immunodeficiency
         (E)   X-linked agammaglobulinemia


67.   A 64-year-old man with non-Hodgkin lymphoma comes to the physician because of a 3-week history of progressive
      numbness in his hands and feet and weakness in his legs when he stands. He received his third course of chemotherapy
      4 weeks ago. Physical examination shows areflexia. Which of the following drugs is the most likely cause of these adverse
      effects?

         (A)   Bleomycin
         (B)   Cyclophosphamide
         (C)   Cytarabine
         (D)   Doxorubicin
         (E)   Fluorouracil
         (F)   Methotrexate
         (G)   Vincristine


68.   A 45-year-old man has abnormal circadian variation in body temperature, disruption of the sleep-wake cycle, and an impaired
      nocturnal surge of secretion of melatonin. An MRI of the brain is most likely to show a lesion involving which of the
      following nuclei?

         (A)   Accessory optic
         (B)   Lateral preoptic
         (C)   Pretectal
         (D)   Suprachiasmatic
         (E)   Supraoptic

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69.   Six healthy subjects participate in a study of muscle metabolism during which hyperglycemia and hyperinsulinemia is
      induced. Muscle biopsy specimens obtained from the subjects during the resting state show significantly increased
      concentrations of malonyl-CoA. The increased malonyl-CoA concentration most likely directly inhibits which of the
      following processes in these subjects?

         (A)   Fatty acid oxidation
         (B)   Fatty acid synthesis
         (C)   Gluconeogenesis
         (D)   Glycogenolysis
         (E)   Glycolysis
         (F)   Oxidative phosphorylation


70.   After being severely beaten and sustaining a gunshot wound to the abdomen, a 42-year-old woman undergoes resection of a
      perforated small bowel. During the operation, plastic reconstruction of facial fractures, and open reduction and internal
      fixation of the left femur are also done. Thirty-six hours postoperatively, she is awake but not completely alert. She is
      receiving intravenous morphine via a patient-controlled pump. She says that she needs the morphine to treat her pain, but she
      is worried that she is becoming addicted. She has no history of substance use disorder. She drinks one to two glasses of wine
      weekly. Which of the following initial actions by the physician is most appropriate?

         (A)   Reassure the patient that her chance of becoming addicted to narcotics is minuscule
         (B)   Maintain the morphine, but periodically administer intravenous naloxone
         (C)   Switch the patient to oral acetaminophen as soon as she can take medication orally
         (D)   Switch the patient to intramuscular lorazepam
         (E)   Switch the patient to intravenous phenobarbital




71.   A 42-year-old woman is brought to the emergency department because of double vision that began 20 minutes after she fell
      from her horse and landed on the left side of her face. Examination of the face shows ecchymoses over the left zygomatic
      arch. A CT scan of the head is shown. Which of the following arteries is at greatest risk for injury in this patient?

         (A)   Facial
         (B)   Frontal
         (C)   Infraorbital
         (D)   Lacrimal
         (E)   Ophthalmic



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72.   A 17-year-old girl is brought to the physician by her mother because she has not had a menstrual period for 6 months. The
      patient is unconcerned about the lack of menses. Menarche occurred at the age of 12 years, and menses had occurred at
      regular 28-day intervals until they became irregular 1 year ago. She is a member of her high school gymnastics team. She
      appears emaciated. She is 163 cm (5 ft 4 in) tall and weighs 40 kg (88 lb); BMI is 15 kg/m2. Her pulse is 54/min, and blood
      pressure is 80/50 mm Hg. Which of the following is the most likely cause of this patient's amenorrhea?

         (A)   Hyperthyroidism
         (B)   Hypogonadotropic hypogonadism
         (C)   Hypothyroidism
         (D)   Polycystic ovarian syndrome
         (E)   Prolactinoma


73.   A 26-year-old woman is brought to the emergency department because of an 8-hour history of severe back and abdominal
      pain and mild but persistent vaginal bleeding. Ultrasonography of the abdomen shows a 2-cm ectopic pregnancy in the
      ampulla. The ampulla has ruptured into the surrounding tissue. Fluid from this rupture will most likely be found in which of
      the following locations?

         (A)   Lesser peritoneal cavity
         (B)   Mesometrium
         (C)   Pouch of Douglas
         (D)   Uterine cavity
         (E)   Vagina




74.   A 30-year-old man is admitted to the hospital for evaluation. He has a 6-week history of colicky abdominal pain and diarrhea
      with occasional blood. Three days after admission, he suddenly develops peritonitis and sepsis. Despite appropriate care, he
      dies. At autopsy, examination shows a fibrinous exudate over the peritoneal and serosal surfaces, and a punctate opening is
      seen in the wall of a thickened loop of small intestine. Several lengths of the small and large intestines are also thickened and
      adherent to one another, with marked areas of narrowing. Photomicrographs of a section of the colon are shown. Which of
      the following is the most likely diagnosis?

         (A)   Colon cancer
         (B)   Crohn disease
         (C)   Diverticulitis
         (D)   Ischemic necrosis
         (E)   Ulcerative colitis




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75.   A 55-year-old man who is a business executive is admitted to the hospital for evaluation of abdominal pain. He is polite to
      the physician but berates the nurses and other staff. The patient's wife and two of his three adult children arrive for a visit.
      The patient says with disgust that the missing child is and always has been worthless. Which of the following is the most
      likely explanation for this patient's behavior?

         (A)   Countertransference
         (B)   Projection
         (C)   Projective identification
         (D)   Reaction formation
         (E)   Splitting


76.   A patient being treated with clindamycin for aspiration pneumonia develops diarrhea. The stool contains a toxin that kills
      cultured epithelial cells. Stool culture grows an anaerobic gram-positive rod. The same organism is cultured from his bedpan.
      Which of the following is most likely to sterilize the bedpan?

         (A)   Boiling for 45 minutes
         (B)   Exposure to benzalkonium chloride for 1 hour
         (C)   Exposure to ethyl alcohol for 1 hour
         (D)   Exposure to saturated steam (121°C) for 15 minutes
         (E)   Heating in an oven at 150°C for 30 minutes


77.   A 2-year-old boy is brought to the physician for a well-child examination. He was delivered at term after an uncomplicated
      pregnancy. His birth weight was 3500 g (7 lb 11 oz), and Apgar scores were 8 and 10 at 1 and 5 minutes, respectively. At the
      age of 15 months, physical examination showed no abnormalities, but he was not yet talking. Both of his parents had learning
      difficulties in school, and his mother stopped attending after the 10th grade. He has a maternal uncle with cognitive
      disabilities. He is at the 25th percentile for height, 15th percentile for weight, and 90th percentile for head circumference. He
      appears irritable, he resists making eye contact, and he is flapping his hands. Which of the following is the most likely cause
      of this patient's condition?

         (A)   Creation of an alternative splice site
         (B)   Frameshift mutation
         (C)   Missense mutation
         (D)   Nonsense mutation
         (E)   Trinucleotide repeat expansion


78.   A 17-year-old boy is brought to the emergency department 30 minutes after being found with a "blank stare" and flat facial
      expression at a party. His pulse is 72/min, and blood pressure is 104/68 mm Hg. He is sitting upright and appears catatonic.
      Physical examination shows rigidity. During the examination, he becomes hostile and attempts to assault the physician. This
      patient most likely ingested which of the following drugs?

         (A)   Cocaine
         (B)   Diazepam
         (C)   Methamphetamine
         (D)   Oxycodone
         (E)   PCP (phencyclidine)




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79.   A 52-year-old man with a 15-year history of hypertension, type 1 diabetes mellitus, and hyperlipidemia comes to the
      physician because of a 2-month history of shortness of breath. He underwent coronary artery bypass grafting 5 years ago. His
      pulse is 90/min, respirations are 22/min, and blood pressure is 160/86 mm Hg. Jugular venous pressure is 20 cm H2O. There
      are crackles bilaterally halfway up the chest. Cardiac examination shows a grade 2/6 holosystolic murmur and an S3 gallop at
      the apex. Which of the following is most likely to be helpful in establishing the most appropriate treatment at this time?

         (A)   Assessment of blood pressure readings over the past 2 years
         (B)   Determination of hemoglobin A1c
         (C)   Evaluation of left ventricular ejection fraction
         (D)   Measurement of fasting serum cholesterol concentration
         (E)   Review of the operative report of the bypass surgery


80.   A previously healthy 40-year-old man is brought to the emergency department because of constant substernal chest pain for
      12 hours that is exacerbated by coughing and inspiration. The pain is relieved with sitting up and leaning forward. There is no
      family history of heart disease. His temperature is 38°C (100.4°F), pulse is 120/min, and blood pressure is 110/60 mm Hg.
      The lungs are clear to auscultation. Cardiac examination shows distant heart sounds. An ECG shows diffuse ST-segment
      elevation in all leads. An x-ray of the chest shows normal findings. The most likely cause of his condition is injury to which
      of the following tissues?

         (A)   Aortic intima
         (B)   Esophageal sphincter
         (C)   Myocardium
         (D)   Pericardium
         (E)   Pleura




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                                   USMLE STEP 1 SAMPLE TEST QUESTIONS

                                                BLOCK 3, ITEMS 81-117

81.   A 20-year-old woman comes to the physician because of a 5-year history of heavy bleeding with menses that often requires
      her to change her sanitary pads three times hourly. Menses occur at regular 28-day intervals. She recently sustained a minor
      cut to her finger, and the bleeding took longer to stop than usual. She has not had easy bruising or change in weight. She only
      takes an oral contraceptive, but she has not been sexually active for the past 6 months. Her temperature is 37.5°C (99.5°F),
      pulse is 72/min, respirations are 12/min, and blood pressure is 120/66 mm Hg. Physical examination shows mildly pale
      conjunctivae. Pelvic examination shows no abnormalities. Laboratory studies show:

               Hemoglobin                                                           10.5 g/dL
               Hematocrit                                                           31.3%
               Mean corpuscular hemoglobin concentration                            28% Hb/cell
               Mean corpuscular volume                                              70 μm3
               Leukocyte count                                                      5500/mm3
               Platelet count                                                       275,000/mm3
               Platelet aggregation studies                                         normal
               Prothrombin time                                                     10.5 sec (INR=1.0)
               Partial thromboplastin time                                          28 sec

      A Pap smear shows no abnormalities. Which of the following hematologic disorders is the most likely cause of this patient's
      menorrhagia?

         (A)   Afibrinoginemia
         (B)   Hemophilia A
         (C)   Intravascular coagulation
         (D)   Vitamin K deficiency
         (E)   von Willebrand disease


82.   A 40-year-old woman comes to the physician because of a 6-month history of increased facial hair growth. Her last menstrual
      period was 4 months ago. She is 165 cm (5 ft 5 in) tall and weighs 70 kg (154 lb); BMI is 26 kg/m 2. Her pulse is 80/min, and
      blood pressure is 130/82 mm Hg. Physical examination shows temporal balding and coarse dark hair on the upper lip and
      chin. Pelvic examination shows clitoral enlargement. Her serum testosterone concentration is increased. Serum
      concentrations of androstenedione, dehydroepiandrosterone, and urinary 17-ketosteroids are within the reference ranges.
      Ultrasonography of the pelvis shows a 12-cm ovarian mass. Which of the following best describes this mass?

         (A)   Granulosa tumor
         (B)   Ovarian carcinoid
         (C)   Sertoli-Leydig tumor
         (D)   Teratoma
         (E)   Thecoma




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83.   A 35-year-old man who recently immigrated to the USA from Mexico comes to the physician because of a 6-month history
      of lesions on his face and chest. He has a history of asthma and atopic dermatitis. Physical examination shows the findings in
      the photograph. Which of the following cytokines is most likely to be increased in these lesions?

         (A)   Interferon gamma
         (B)   Interleukin-4 (IL-4)
         (C)   IL-12
         (D)   Transforming growth factor (TGF)-α
         (E)   TGF-β


84.   A 45-year-old woman with systemic sclerosis (scleroderma) comes to the physician because of a 3-week history of
      progressive shortness of breath and nonproductive cough. Her temperature is 36.9°C (98.4°F), pulse is 82/min, respirations
      are 20/min, and blood pressure is 136/85 mm Hg. Crackles are heard in both lower lung fields. Pulmonary function tests
      show total lung capacity is 80% of predicted, and diffusing capacity for carbon monoxide, corrected for alveolar volume, is
      65% of predicted. Histologic examination of a lung biopsy specimen is most likely to show which of the following findings?

         (A)   Diffuse interstitial fibrosis
         (B)   Intra-alveolar exudates
         (C)   Multiple thromboemboli
         (D)   Necrotizing vasculitis
         (E)   Non-necrotizing interstitial granulomas


85.   A 52-year-old man comes to the emergency department because he has had vomiting, nausea, and abdominal pain for the past
      12 hours. He says he attempted suicide 3 days ago by "taking everything in the medicine cabinet." He was stuporous for
      approximately 12 hours after the overdose but felt better the following day. At this time, he has jaundice and pain in the right
      upper quadrant. Which of the following drugs is most likely to have caused the pain, vomiting, and jaundice?

         (A)   Acetaminophen
         (B)   Aspirin
         (C)   Cimetidine
         (D)   Diphenhydramine
         (E)   Triazolam


86.   In a cohort study of elderly women, the relative risk ratio for hip fractures among those who exercise regularly is 1.2 (95%
      confidence interval of 1.1 to 1.8). Which of the following is the most appropriate conclusion about the effect of regular
      exercise on the risk for hip fracture?

         (A)   Statistically nonsignificant increase in risk
         (B)   Statistically nonsignificant overall decrease in risk
         (C)   Statistically significant overall decrease in risk
         (D)   Statistically significant overall increase in risk


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87.   A study is designed to evaluate the feasibility of acupuncture in children with chronic headaches. Sixty children with chronic
      headaches are recruited for the study. In addition to their usual therapy, all children are treated with acupuncture three times a
      week for 2 months. Which of the following best describes this study design?

         (A)   Case-control
         (B)   Case series
         (C)   Crossover
         (D)   Cross-sectional
         (E)   Historical cohort
         (F)   Randomized clinical trial


88.   A 52-year-old woman is admitted to the hospital because of breast cancer metastatic to the liver. Her prognosis is poor. She
      begs her husband to stay with her at the hospital because she is afraid to be left alone. Which of the following defense
      mechanisms best explains her behavior?

         (A)   Denial
         (B)   Displacement
         (C)   Regression
         (D)   Repression
         (E)   Sublimation


89.   A 42-year-old man comes to the physician for a follow-up examination 1 week after he passed a renal calculus. X-ray
      crystallographic analysis of the calculus showed calcium as the primary cation. Physical examination today shows no
      abnormalities. A 24-hour collection of urine shows increased calcium excretion. Which of the following is the most
      appropriate pharmacotherapy?

         (A)   Carbonic anhydrase inhibitor
         (B)   Na+–Cl− symport inhibitor
         (C)   Na+–K+–2Cl− symport inhibitor
         (D)   Osmotic diuretic
         (E)   Renal epithelial sodium channel inhibitor




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90.   A 67-year-old woman is brought to the emergency department 30 minutes after she had a generalized tonic-clonic seizure.
      Her family says that she seemed mildly confused before her eyes rolled backward and she had the onset of uncontrollable
      jerking movements of her arms and legs and loss of consciousness. During the seizure, she passed urine and bit her tongue.
      At the scene, her vital signs were within normal limits. She has a 6-month history of a 7-kg (15-lb) weight loss despite no
      changes in appetite. She received the diagnosis of small cell carcinoma of the lung last week and has not begun treatment.
      She has hypertension well controlled with lisinopril. On arrival, she is awake but does not respond to verbal stimuli. She is
      not in distress. Her temperature is 37°C (98.6°F), pulse is 70/min, and blood pressure is 130/88 mm Hg while supine.
      Examination shows no abnormalities. Laboratory studies show:

                                  Serum
                                    Na+                            115 mEq/L
                                    K+                             4 mEq/L
                                    Cl−                            81 mEq/L
                                    HCO3−                          25 mEq/L
                                    Urea nitrogen                  9 mg/dL
                                    Glucose                        102 mg/dL
                                    Creatinine                     0.6 mg/dL
                                  Urine
                                    Sodium                         60 mEq/L
                                    Potassium                      20 mEq/L
                                    Osmolality                     900 mOsmol/kg H2O

      Which of the following is the most likely diagnosis?

         (A)   Adrenal insufficiency
         (B)   Diuretic abuse
         (C)   Heart failure
         (D)   Syndrome of inappropriate secretion of ADH (vasopressin)
         (E)   Water intoxication


91.   A 15-year-old girl comes to the physician because of a 3-month history of acne. Breast and pubic hair development began at
      the age of 12 years. Menarche occurred at the age of 14 years. Physical examination shows scattered open and closed
      comedones over the cheeks and forehead. Breast and pubic hair development are Tanner stage 5. Which of the following is
      the most likely underlying cause of this patient's acne?

         (A)   Decreased parasympathetic stimulation to the sebaceous glands
         (B)   Increased estrogen stimulation of the sebaceous glands
         (C)   Increased responsiveness of the sebaceous glands to follicle-stimulating hormone
         (D)   Increased sympathetic stimulation to the sebaceous glands
         (E)   Stimulation of the sebaceous glands by androgens


92.   A 20-year-old man with a history of intermittent asthma comes to the physician because of a 1-week history of chest
      tightness, wheezing, malaise, and a cough productive of clear sputum. He does not appear to be in distress. His pulse is
      72/min, respirations are 14/min, and blood pressure is 120/70 mm Hg. Physical examination shows clear tympanic
      membranes and no exudates in the oral pharynx. Diffuse expiratory wheezes are heard on auscultation. When asked to take a
      deep breath, the patient coughs with forced expiration. Which of the following substances is most appropriate to treat this
      patient's cough at this time?

         (A)   Albuterol
         (B)   Dextromethorphan
         (C)   Guaifenesin
         (D)   Pseudoephedrine
         (E)   Theophylline




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93.   A 62-year-old man comes to the physician for a follow-up examination after he was diagnosed with chronic inflammatory
      interstitial pneumonitis. Following pulmonary function testing, a biopsy specimen of the affected area of the lungs is
      obtained. Compared with a healthy man, analysis of this patient's biopsy specimen is most likely to show which of the
      following patterns of changes in the cell populations of alveoli?

                 Type I Pneumocytes                   Type II Pneumocytes                Fibroblasts
       (A)                ↑                                    ↑                              ↑
       (B)                ↑                                    ↑                              ↓
       (C)                ↑                                    ↓                              ↑
       (D)                ↑                                    ↓                              ↓
       (E)                ↓                                    ↑                              ↑
       (F)                ↓                                    ↑                              ↓
       (G)                ↓                                    ↓                              ↑
       (H)                ↓                                    ↓                              ↓


94.   A 14-year-old girl has had nausea, intermittent diarrhea, and a 2.2-kg (5-lb) weight loss over the past 4 weeks. Examination
      shows a migrating serpiginous pruritic perianal rash. Her leukocyte count is 8000/mm 3 with 20% eosinophils. Which of the
      following tests is most likely to yield an accurate diagnosis?

         (A)   Blood smear
         (B)   Bone marrow biopsy
         (C)   KOH preparation
         (D)   Microscopic examination of the stool
         (E)   Skin snip


95.   A 73-year-old woman comes to the physician because of a 2-month history of diffuse weakness and tingling of her arms and
      legs. Neurologic examination shows weakness of the extensor and flexor muscles of the lower extremities. Knee and ankle
      deep tendon reflexes are exaggerated. Sensation to vibration and position is decreased in all extremities, but the decrease is
      more prominent in the lower extremities than in the upper extremities. This patient most likely has a deficiency of which of
      the following vitamins?

         (A)   Niacin
         (B)   Vitamin B1 (thiamine)
         (C)   Vitamin B2 (riboflavin)
         (D)   Vitamin B6 (pyridoxine)
         (E)   Vitamin B12 (cyanocobalamin)


96.   A 60-year-old woman develops fever and chills 1 week after completing cytotoxic induction chemotherapy for acute
      myelogenous leukemia. Her temperature is 39°C (102.2°F). Her leukocyte count is 100/mm3 (25% neutrophils and 75%
      lymphocytes). Physical examination and an x-ray of the chest show no abnormalities. This patient's profound
      granulocytopenia is most likely to predispose her to infection with which of the following organisms?

         (A)   Bacteria
         (B)   Dimorphic fungi
         (C)   Nontuberculous mycobacteria
         (D)   Protozoa
         (E)   Viruses




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97.   A 42-year-old woman comes to the physician because of anxiety, tremor, and a 5-kg (11-lb) weight loss over the past
      4 months despite good appetite. Physical examination shows fine thin hair, exophthalmos, goiter, and warm moist skin.
      Cardiac examination shows tachycardia and a widened pulse pressure. Which of the following sets of laboratory values is
      most likely in this patient's serum?

                 Thyroid-stimulating               Total Thyroxine             Free                    Thyroid-binding
                     Hormone                             (T4)                Thyroxine                    Globulin
      (A)                 ↑                               ↑                      ↑                            ↑
      (B)                 ↑                               ↑                   normal                          ↓
      (C)                 ↑                            normal                    ↑                            ↓
      (D)                 ↓                               ↑                      ↑                         normal
      (E)                 ↓                            normal                 normal                          ↑
      (F)                 ↓                            normal                 normal                       normal


98.   A 42-year-old man comes to the physician for a follow-up examination. Four months ago, he underwent repair of a
      Dupuytren contracture. Physical examination shows decreased range of motion in the affected hand. The patient is upset that
      his hand has not fully healed, and he files a malpractice suit against the physician. Which of the following is the most likely
      precipitating factor in this patient's decision to file a malpractice suit?

         (A)   The patient's perception that the physician is incompetent
         (B)   The patient's perception that the physician is uncaring
         (C)   The patient's socioeconomic status
         (D)   The physician's amount of experience in the medical field
         (E)   The physician's inability to screen out problem patients


99.   An investigator is studying the incidence of the common cold among medical students at various time points during the
      school year. Results show an increased incidence of upper respiratory tract infections among these students during finals
      week. It is hypothesized that the stress of studying for examinations adversely affects the immune system, making the
      students more susceptible to infection. Which of the following laboratory findings in these students during examination week
      is most likely to support this hypothesis?

         (A)   Decreased AM serum cortisol concentration
         (B)   Decreased macrophage activity
         (C)   Increased basophil count
         (D)   Increased lymphocyte count
         (E)   Increased natural killer cell activity




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100.   A 28-year-old man comes to the physician because of a 1-year history of pain with urination that has increased in severity
       during the past month. He also has had episodes of blood in his urine during the past 5 years. He lived in sub-Saharan Africa
       until he came to the USA 6 months ago for graduate school. His temperature is 38°C (100.4°F), pulse is 80/min, respirations
       are 16/min, and blood pressure is 110/84 mm Hg. Physical examination shows suprapubic tenderness. Laboratory studies
       show:

                                     Hemoglobin                                  12.3 g/dL
                                     Hematocrit                                  37%
                                     Leukocyte count                             13,400/mm3
                                       Segmented neutrophils                     65%
                                       Bands                                     5%
                                       Eosinophils                               5%
                                       Lymphocytes                               22%
                                       Monocytes                                 3%
                                     Serum
                                       Urea nitrogen                             75 mg/dL
                                       Creatinine                                3.8 mg/dL
                                     Urine
                                       Blood                                     3+
                                       RBC                                       200/hpf
                                       WBC                                       100/hpf
                                       RBC casts                                 absent
                                       WBC casts                                 absent

       Imaging studies show bilateral hydroureter and hydronephrosis and foci of calcification in the region of the bladder. A biopsy
       specimen of the bladder shows marked chronic inflammation with fibrosis and scattered granulomas. Which of the following
       best explains the biopsy findings?

          (A)   Exposure to a chemical toxin
          (B)   Interstitial cystitis
          (C)   Malacoplakia
          (D)   Schistosomiasis
          (E)   Vesicoureteral reflux


101.   A 2-day-old male newborn delivered at term develops mild jaundice and scleral icterus. Pregnancy and delivery were
       uncomplicated. His vital signs are within normal limits. Physical examination shows no other abnormalities. This patient
       most likely has an excess amount of which of the following in his blood?

          (A)   Biliverdin
          (B)   Direct bilirubin
          (C)   Indirect bilirubin
          (D)   Stercobilin
          (E)   Urobilin
          (F)   Urobilinogen


102.   A 29-year-old man is brought to the physician for removal of a cast from his left leg. He sustained a fracture of the left lower
       extremity 6 weeks ago and was immobilized in a cast that extended from just below the knee to the foot. At the time of
       injury, there was severe pain but normal strength in the extremity. When the cast is removed today, physical examination
       shows a pronounced left footdrop with paresthesia and sensory loss over the dorsum of the left foot and lateral leg. Injury to
       which of the following nerves is the most likely cause of this patient's condition?

          (A)   Common fibular (peroneal)
          (B)   Femoral
          (C)   Obturator
          (D)   Sciatic
          (E)   Tibial


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103.   A 16-year-old boy is admitted to the emergency department because of a knife wound to the left side of his chest. An x-ray of
       the chest shows an air-fluid level in the left side of the chest, partial collapse of the left lung, and elevation of the stomach
       bubble. The mediastinum is in the midline. Which of the following is the most likely diagnosis?

          (A)   Hemopneumothorax, not under tension
          (B)   Hemothorax, not under tension
          (C)   Pneumothorax, not under tension
          (D)   Tension hemopneumothorax
          (E)   Tension hemothorax
          (F)   Tension pneumothorax


104.   A 56-year-old man comes to the emergency department because of a 4-day history of colicky right flank pain that radiates to
       the groin and hematuria. Ultrasound examination of the kidneys shows right-sided hydronephrosis and a dilated ureter.
       Which of the following is most likely to be found on urinalysis?

          (A)   Erythrocyte casts
          (B)   Glucose
          (C)   Leukocyte casts
          (D)   Oval fat bodies
          (E)   Uric acid crystals


105.   A 17-year-old girl has never had a menstrual period. Physical examination shows a normal female body habitus, normal
       breast development, and normal appearing external genitalia. She has no axillary or pubic hair. The patient refuses to have a
       pelvic or rectal examination. Which of the following is the most likely explanation for the clinical presentation?

          (A)   Androgen insensitivity
          (B)   Congenital adrenal hyperplasia
          (C)   Ectodermal dysplasia
          (D)   A psychiatric disorder
          (E)   A sex chromosome mosaicism


106.   A 52-year-old man with recently diagnosed type 2 diabetes mellitus comes to the physician for a follow-up examination.
       Physical examination shows no abnormalities. Laboratory studies show an increased hemoglobin A 1c despite patient
       compliance with diet and exercise recommendations. Treatment with a sulfonylurea is started. Which of the following is most
       likely to occur in this patient?

          (A)   Decreased entry of glucose into the muscle cells
          (B)   Decreased production of glucose from the liver
          (C)   Decreased secretion of insulin from the pancreas
          (D)   Decreased speed of carbohydrate absorption from the intestines
          (E)   Increased entry of glucose into the muscle cells
          (F)   Increased production of glucose from the liver
          (G)   Increased secretion of insulin from the pancreas
          (H)   Increased speed of carbohydrate absorption from the intestines




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107.   A 2-year-old boy is brought to the emergency department because of shortness of breath and left-sided abdominal pain for
       3 hours. He appears pale. Physical examination shows hypotension and tachycardia. There is splenomegaly with the spleen
       tip palpated 8 cm below the left costal margin. Laboratory studies show:

                             Hemoglobin                        5.1 g/dL (N=12.1–14.9)
                             Hematocrit                        16% (N=37%–44.4%)
                             Leukocyte count                   4500/mm3 (N=4000–11,500)
                             Platelet count                    87,000/mm3 (N=150,000–400,000)

       A photomicrograph of a Wright-stained peripheral blood smear is shown. Which of the following is the most likely cause of
       this patient's current condition?

          (A)   Aplastic crisis
          (B)   Autoimmune hemolysis
          (C)   Congestive heart failure
          (D)   Salmonellal sepsis
          (E)   Splenic sequestration


108.   A 42-year-old woman comes to the physician for a routine examination. She says that she has felt well except for occasional
       episodes of constipation, abdominal discomfort, and mild fatigue. She was treated for a renal calculus 10 years ago and was
       told she had a "lazy gallbladder." Her pulse is 82/min, and blood pressure is 150/80 mm Hg. Physical examination shows no
       other abnormalities. Laboratory studies show:

                                     Erythrocyte count                        3 million/mm3
                                     Serum
                                       K+                                     4.5 mEq/L
                                       Cl–                                    107 mEq/L
                                       Ca2+                                   12 mg/dL
                                       Phosphorus                             2.2 mg/dL
                                       Alkaline phosphatase                   95 U/L

       The most likely cause of this patient's condition is a small, well-defined nodule in which of the following locations?

          (A)   Adrenal gland
          (B)   Anterior pituitary gland
          (C)   Gallbladder
          (D)   Kidney
          (E)   Parathyroid gland
          (F)   Thymus




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109.   A 24-year-old woman comes to the physician for a follow-up examination. One week ago, she was treated in the emergency
       department after she accidentally spilled hot grease on her left leg while working at a fast-food restaurant. Examination of the
       left lower extremity shows a 7-cm, pink, soft, granular, edematous wound. The formation of this tissue was most likely
       caused by increased activity of which of the following?

          (A)   Complement C3b
          (B)   Glycosylation-dependent cell adhesion molecule-1
          (C)   P-selectin
          (D)   Stromelysin
          (E)   Vascular endothelial growth factor


110.   A 37-year-old woman with right lower extremity edema is evaluated because of the sudden onset of shortness of breath and
       pleuritic chest pain. A diagnosis of pulmonary embolism is made. Which of the following signs, if present on physical
       examination, would be the most specific indicator of pulmonary arterial hypertension in this patient?

          (A)   Increased jugular venous pressure
          (B)   P2 louder than A2
          (C)   Peripheral edema
          (D)   Presence of an S3
          (E)   Pulmonary crackles


111.   Vascular control is studied in an intact hind extremity of an anesthetized experimental animal. After a normal control period,
       the blood flow to the extremity is completely occluded for 1 minute. When the occlusion is released, blood flow increases
       abruptly and exceeds the control value for several minutes (reactive hyperemia). After an appropriate recovery period, the
       procedure is repeated and the extremity is actively exercised during the occlusion period. Which of the following best
       describes the reactive hyperemia after the second occlusion compared with that after the first occlusion?

          (A)   Abolished
          (B)   Decreased but not abolished
          (C)   Increased
          (D)   Unchanged


112.   A 72-year-old man collapses while playing golf. He has a 5-year history of angina and type 2 diabetes mellitus. Paramedics
       arrive in 10 minutes. Examination shows no respirations or blood pressure; an ECG shows asystole. Cardiopulmonary
       resuscitation is attempted for 10 minutes without success. Which of the following is the most likely cause of death in this
       patient?

          (A)   Cardiac tamponade
          (B)   Embolus to the right middle cerebral artery
          (C)   Necrosis of the myocardium
          (D)   Rupture of the papillary muscle
          (E)   Ventricular fibrillation


113.   A previously healthy 3-month-old boy is brought to the physician because of a runny nose and a dry cough for 2 days.
       Physical examination shows tachypnea, a nasal discharge, and wheezing. An x-ray of the chest shows hyperexpansion but no
       infiltrates. The causal virus was most likely transmitted by which of the following routes?

          (A)   Blood transfusion
          (B)   Ingestion of contaminated formula
          (C)   Inoculation onto mucous membranes
          (D)   Insect bite
          (E)   Transplacental transfer




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114.   An 18-year-old man is brought to the emergency department 30 minutes after sustaining a closed head injury in a motor
       vehicle collision. Twenty-four hours later, he is noted to be excreting large amounts of urine with an osmolality of
       100 mOsmol/kg. His serum sodium concentration is 154 mEq/L. Which of the following portions of the kidney is the most
       likely site of the excessive loss of fluid in this patient?

          (A)   Afferent arterioles
          (B)   Collecting duct
          (C)   Efferent arterioles
          (D)   Glomeruli
          (E)   Proximal convoluted tubule


115.   A 46-year-old woman receives a non–T-lymphocyte-depleted, allogeneic bone marrow transplant from a matched, unrelated
       donor. Immunosuppressive therapy with cyclosporine is started. One month later, she has fever. Cytolytic destruction of the
       skin, gastrointestinal tract, and liver is seen, with associated dermatitis, enteritis, and hepatitis. Which of the following best
       explains these findings?

          (A)   C3b deposition
          (B)   Cytomegalovirus infection
          (C)   Graft-versus-host disease
          (D)   Tolerance induction
          (E)   Type I (immediate) hypersensitivity


116.   A 33-year-old woman comes to the physician because of a 2-day history of mild nausea, increased urinary urgency and
       frequency, and constipation. She also has had a 4.5-kg (10-lb) weight loss during the past 2 weeks and a 3-week history of
       vaginal bleeding. Pelvic examination shows a nodular cervix with an irregular, friable posterior lip, and a rock-hard,
       irregular, immobile pelvic mass that extends across the pelvis. Examination of biopsy specimens from the cervix and anterior
       wall of the vagina show well-differentiated keratinizing squamous cell carcinoma. Which of the following best describes the
       pathogenesis of this patient's disease?

          (A)   Inactivation of cellular p53
          (B)   Insertion of viral promotors adjacent to cellular growth factor genes
          (C)   Specialized transduction
          (D)   Transactivation of cellular growth factor genes by TAX
          (E)   Translocation of CMYC to an Ig gene promoter


117.   A 5-year-old girl is brought to the physician by her father because of a 6-week history of an increasingly severe itchy rash
       confined to the crease of the elbows and the back of the knees. She has had intermittent episodes of a similar rash since
       infancy. Examination of the rash shows erythematous papules and vesicles overlying an erythematous base. Dermal scrapings
       are negative for fungi and ectoparasites. After a short course of a potent topical corticosteroid, treatment with pimecrolimus
       cream is begun. Which of the following is the primary mechanism of action of this drug?

          (A)   Blockade of histamine-1 receptors on tissue mast cells
          (B)   Blockade of leukotriene receptors in inflamed tissue
          (C)   Blockade of sodium channels in peripheral sensory nerves
          (D)   Inhibition of IgE binding to tissue mast cells and basophils
          (E)   Inhibition of phospholipase A activity in cell membranes
          (F)   Inhibition of proinflammatory cytokine formation by T lymphocytes




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             Answer Form for USMLE Step 1 Sample Test Questions

                                     Block 1 (Questions 1-40)


 1.   ___     11.   ___        21.     ___            31.       ___
 2.   ___     12.   ___        22.     ___            32.       ___
 3.   ___     13.   ___        23.     ___            33.       ___
 4.   ___     14.   ___        24.     ___            34.       ___
 5.   ___     15.   ___        25.     ___            35.       ___
 6.   ___     16.   ___        26.     ___            36.       ___
 7.   ___     17.   ___        27.     ___            37.       ___
 8.   ___     18.   ___        28.     ___            38.       ___
 9.   ___     19.   ___        29.     ___            39.       ___
10.   ___     20.   ___        30.     ___            40.       ___



                                 Block 2 (Questions 41-80)


41.   ___     51.   ___        61.     ___            71.       ___
42.   ___     52.   ___        62.     ___            72.       ___
43.   ___     53.   ___        63.     ___            73.       ___
44.   ___     54.   ___        64.     ___            74.       ___
45.   ___     55.   ___        65.     ___            75.       ___
46.   ___     56.   ___        66.     ___            76.       ___
47.   ___     57.   ___        67.     ___            77.       ___
48.   ___     58.   ___        68.     ___            78.       ___
49.   ___     59.   ___        69.     ___            79.       ___
50.   ___     60.   ___        70.     ___            80.       ___




                                 Block 3 (Questions 81-117)



81.   ___     91.   ___       101.     ___           111.       ___
82.   ___     92.   ___       102.     ___           112.       ___
83.   ___     93.   ___       103.     ___           113.       ___
84.   ___     94.   ___       104.     ___           114.       ___
85.   ___     95.   ___       105.     ___           115.       ___
86.   ___     96.   ___       106.     ___           116.       ___
87.   ___     97.   ___       107.     ___           117.       ___
88.   ___     98.   ___       108.     ___
89.   ___     99.   ___       109.     ___
90.   ___    100.   ___       110.     ___




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                                                                                      NBME00535



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                 Answer Key for USMLE Step 1 Sample Test Questions
                                     Block 1 (Questions 1-40)


1. D                11. B                        21. A                       31. C
2. A                12. C                        22. E                       32. B
3. A                13. C                        23. E                       33. D
4. D                14. D                        24. A                       34. D
5. B                15. B                        25. B                       35. C
6. A                16. B                        26. D                       36. B
7. C                17. B                        27. A                       37. D
8. B                18. A                        28. C                       38. B
9. G                19. C                        29. B                       39. C
10. C               20. A                        30. A                       40. A




                                     Block 2 (Questions 41-80)


41. D               51. C                        61. E                       71. C
42. D               52. B                        62. E                       72. B
43. F               53. F                        63. C                       73. C
44. E               54. B                        64. E                       74. B
45. B               55. A                        65. E                       75. E
46. C               56. D                        66. D                       76. D
47. D               57. A                        67. G                       77. E
48. B               58. A                        68. D                       78. E
49. A               59. A                        69. A                       79. C
50. C               60. D                        70. A                       80. D



                                    Block 3 (Questions 81-117)


81. E               91. E                        101. C                      111. C
82. C               92. A                        102. A                      112. E
83. B               93. E                        103. A                      113. C
84. A               94. D                        104. E                      114. B
85. A               95. E                        105. A                      115. C
86. D               96. A                        106. G                      116. A
87. B               97. D                        107. E                      117. F
88. C               98. B                        108. E
89. B               99. B                        109. E
90. D               100. D                       110. B




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                                                                                     NBME00536



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                                               DEFENDANT’S
                                                 EXHIBIT

                                                  60
                                              _______________




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